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                                                               Dated: March 5th, 2021




                            UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF WEST VIRGINIA


  In re:
                                                             Chapter 11
  BLACKJEWEL, L.L.C., et al.                                 Case No. 19-bk-30289
                                        Debtors              (Jointly Administered)
  --------------------------------------------------------
  DAVID ENGELBRECHT, JOSIAH
  WILLIAMSON, GREGORY MEFFORD on behalf
  of themselves and all others similarly situated,         Adversary Proceeding
                                                           No. 3:19-ap-03002
                                        Plaintiffs,

  v.

  BLACKJEWEL, L.L.C.,


                                        Defendants.
  --------------------------------------------------------


  In re:
                                                             Chapter 11
  BLACKJEWEL, L.L.C., et al.                                 Case No. 19-bk-30289
                                        Debtors              (Jointly Administered)
  --------------------------------------------------------
  SHAWN ABNER, JACOB HELTON, AND BILLY
  HATTON on behalf of themselves and all others
  similarly situated,                                      Adversary Proceeding
                                                           No. 3:19-ap-03003
                                        Plaintiffs,
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  v.

  BLACKJEWEL, L.L.C., REVELATION
  ENERGY, LLC, LEXINGTON COAL CO., LLC,
  JEFF HOOPS, SR., JEFFERS A. HOOPS, II,

                                        Defendants.
  --------------------------------------------------------


   FINAL ORDER APPROVING SETTLEMENT UNDER FEDERAL RULE OF CIVIL
      PROCEDURES 23 AND FEDERAL BANKRUPTCY RULES 7023 AND 9019

         UPON the Order dated February 24, 2021 [Dkt. No. 96] (the “Preliminary Settlement

 Order”) preliminarily approving the Joint Motion of Plaintiffs David Engelbrecht, Josiah

 Williamson, Gregory Mefford, Shawn Abner, Jacob Helton, and Billy Hatton (the “Plaintiffs”),

 together with Blackjewel, L.L.C. and Revelation Energy, LLC (the “Debtors” or “Debtor-

 Defendants”) and Lexington Coal Co., LLC, Jeff Hoops, Sr., and Jeffery A. Hoops, II (the “Non-

 Debtor Defendants” and, collectively with the Debtor-Defendants, the “Defendants” and,

 together with the Plaintiffs, the “Parties”), by and through their respective counsel, pursuant to

 Section 105 of the Bankruptcy Code and Bankruptcy Rules 9019 and 7023 for the entry of an

 Order (1) approving the Settlement, Release and Allowance of Claim Agreement (the

 “Settlement Agreement”); (2) preliminarily approving the Settlement Agreement pursuant to

 Bankruptcy Rule 7023; (3) certifying the WARN Class for settlement purposes only, including

 the appointment of Lankenau & Miller, LLP, The Gardner Firm, P.C., Petsonk PLLC, Mountain

 State Justice, Inc. and Pillersdorf Law Office as Class Counsel and David Engelbrecht, Josiah

 Williamson, Gregory Mefford, Shawn Abner, Jacob Helton, and Billy Hatton as Class

 Representatives; (4) approving the form and manner of notice of the Settlement Agreement to

 the members of the Class (the “Class Notice”); (5) scheduling a fairness hearing to consider final

 approval of the Settlement Agreement (the “Fairness Hearing”); (6) finally approving the
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 Settlement Agreement following the fairness hearing (the “Final Settlement Order”); and (7)

 granting related relief [Dkt. No. 85] (the “Joint Motion”);1 the Court having reviewed the Joint

 Motion and any objections thereto, and being fully advised; the Court finding that: (a) the Court

 has jurisdiction over this matter pursuant to 28 U.S.C. § 1334, (b) this is a core proceeding

 pursuant to 28 U.S.C. § 157(b)(2), (c) notice of the Joint Motion and the hearing thereon was

 sufficient under the circumstances, and (d) the Court having reviewed the terms of the Settlement

 Agreement; and the Court having determined that the legal and factual bases set forth in the Joint

 Motion establish just cause for the relief granted herein; the Court having determined that the

 relief sought in the Joint Motion is in the best interest of the Estates; and after due deliberations

 and sufficient cause appearing therefore,

 IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

           1.    The Joint Motion is GRANTED in its entirety.

           2.    All objections to the Joint Motion or the relief requested in the Joint Motion, if

 any, that have not been withdrawn, waived or settled, and all reservations of rights in such

 objections, if any, shall be and hereby are, OVERRULED in all respects on the merits and

 denied.

           3.    The Settlement Agreement, a true and correct copy of which is attached as Exhibit

 A, is approved in all respects as being fair, reasonable, adequate and falling within the range of

 reasonableness.

           4.    The Settlement Agreement shall become binding upon the Parties and the Class,

 as set forth in the Settlement Agreement.




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  All terms not otherwise defined herein shall have the meaning ascribed to them in the Joint Motion or the
 Settlement Agreement, as applicable.
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        5.      Notwithstanding anything herein or in any pleadings relating to the Settlement

 Agreement, nothing herein or therein shall be deemed to constitute a release by the Debtors or

 any of their affiliates, or their Estates, of any claims whatsoever which such parties may have

 against the Non-Debtor Defendants or any third parties. Nothing herein or therein shall be

 deemed to constitute a release by the Non-Debtor Defendants or any of their affiliates of any

 claims whatsoever which such parties may have against the Debtors or any third parties.

        6.      The entry of this Order is without prejudice to the relief granted in the Preliminary

 Settlement Order, and entry of this Order shall not serve to extend or stay the time of filing any

 appeal regarding any of the relief granted in the Preliminary Settlement Order.

        7.      The Parties are hereby authorized and empowered to take such steps and

 perform such acts as may be necessary to carry out the terms of this Order and the Settlement

 Agreement.

        8.      Upon the Effective Date and except for the rights expressly arising out of,

 provided for, or reserved in the Settlement Agreement, the Class Members (excluding Opt-Outs),

 fully and forever release and discharge the Released Parties of and from the Released Claims.

 Further, upon the Effective Date, as defined in the Settlement Agreement, all Released Claims

 shall be deemed waived and any Released Claims that have been scheduled on behalf of, or filed

 by, any Class Members in the Bankruptcy Case are disallowed in their entirety and shall be

 deemed expunged from the applicable schedule(s) or claims register(s) without the need for any

 further action. Notwithstanding the foregoing, any Class Members’ claims (or any DOL claims

 on their behalf) for benefits pursuant to Section 502(a)(1)(B) of ERISA under either (1) the

 Blackjewel LLC 401(k) Plan (the “Blackjewel LLC 401(k) Plan”) or (2) the Self-Insured Health

 Plan that was in place until August 31, 2019, shall be excluded from the scope of the Released

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 Claims, as defined in the Settlement Agreement, and shall not be deemed released, satisfied or

 expunged by operation of the Settlement Agreement. The Debtors retain the right to respond to

 such claims on an individual basis with respect to, for example, their amount, validity and

 priority status. Nothing in the Settlement Agreement shall be construed to limit any rights, if

 any, that the Non-Debtor Defendants may now have to defend and/or address any claims for

 benefits that may be asserted against them under either the Blackjewel LLC 401(k) Plan or under

 the Self-Insured Health Plan.

           9.    This Court shall retain jurisdiction over all matters arising from or related to

 the interpretation and/or implementation of this Order.

           10.   This Order is effective immediately upon entry.

 Presented By:


 Joe M. Supple (W.Va. Bar No. 8013)
 SUPPLE LAW OFFICE, PLLC
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 joe.supple@supplelawoffice.com

 - and –

 /s/ Stephen D. Lerner
 Stephen D. Lerner
 Nava Hazan
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 Co-Counsel for the Debtors and
 Debtors-in-Possession




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                                      Exhibit A

                                 Settlement Agreement
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        SETTLEMENT, RELEASE, AND ALLOWANCE OF CLAIM AGREEMENT


                                  between and among


   DAVID ENGELBRECHT, JOSIAH WILLIAMSON, GREGORY MEFFORD, SHAWN
 ABNER, JACOB HELTON, AND BILLY HATTON, ON BEHALF OF THEMSELVES AND
   AS CLASS REPRESENTATIVES ON BEHALF OF THE OTHER CLASS MEMBERS,

                                         and

 BLACKJEWEL, LLC; REVELATION ENERGY, LLC; LEXINGTON COAL CO. LLC; JEFF
                   HOOPS, SR. AND JEFFERY A. HOOPS, II,




                          As Amended on January 11, 2021
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       SETTLEMENT, RELEASE, AND ALLOWANCE OF CLAIM AGREEMENT


         This Settlement, Release and Allowance of Claim Agreement, as amended on January 11,

 2021 (the “Settlement Agreement” or “Settlement”), is entered into, by and among: (a) Blackjewel,

 L.L.C. and Revelation Energy, LLC (together, the “Debtors” or “Debtor-Defendants”), in the

 jointly administered Case No. 19-bk-30289 (the “Bankruptcy Case”) pending in the United States

 Bankruptcy Court for the Southern District of West Virginia (the “Bankruptcy Court”) and (b)

 Lexington Coal Co., LLC, Jeff Hoops, Sr. and Jeffery A. Hoops, II (together, the “Non-Debtor

 Defendants,” and collectively with the Debtor-Defendants, the “Defendants”) on the one hand, and

 (c) David Engelbrecht, Josiah Williamson, Gregory Mefford, Shawn Abner, Jacob Helton, and

 Billy Hatton (collectively, the “Plaintiffs” or “Class Representatives”), on behalf of themselves

 and similarly situated class members specifically identified in Section 2 below (together with the

 Class Representatives, but excluding the Opt-Outs, as defined below, the “Class Members” or the

 “Class”), on the other hand. The Defendants and Plaintiffs are collectively referred to herein as

 the “Parties,” or, as to each, a “Party.”

                                              RECITALS


         WHEREAS, on July 1, 2019 and July 24, 2019 (the “Petition Date”), the Debtors and

 certain affiliates filed voluntary petitions for relief under chapter 11 of title 11 of the United States

 Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”) in the Bankruptcy Court initiating the

 Bankruptcy Case;

         WHEREAS, prior to the Petition Date, the Debtors employed approximately 1,700

 employees, both hourly and salaried, including the Class Members, in their business operations;

         WHEREAS, the Plaintiffs contend that, on or about July 1, 2019, and thereafter, the

 Debtors terminated the employment of Plaintiffs and most of the workforce who worked at the


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 Debtors’ facilities in the Central Appalachian Coal Basin in West Virginia, Virginia and Kentucky

 (the “Eastern Division,” encompassing approximately 1,100 employees), and in the Powder River

 Basin in Wyoming (the “Western Division,” encompassing approximately 600 employees);

         WHEREAS, on July 9, 2019, the Plaintiffs filed their Class Action Adversary Proceeding

 Complaints1 (as amended, the “WARN Action”), against the Debtors and Non-Debtor Defendants,

 in which the Plaintiffs asserted a class action claim under the Worker Adjustment and Retraining

 Notification Act, 29 U.S.C. §§ 2101 et seq. (the “WARN Act”) alleging that the Debtors and the

 Non-Debtor Defendants, as a single employer, violated the WARN Act by implementing alleged

 plant closings or mass layoffs, without providing a sixty (60) days advance written notice thereof;

         WHEREAS, the Class Representatives further asserted that, as a consequence of this

 alleged failure, the Class Members have a claim against the Defendants and the Non-Debtor

 Defendants for damages for the alleged sixty (60) day violation period;

         WHEREAS, the WARN Action also includes wage and hour and other employment and

 employee benefits-related claims for the putative class members;

         WHEREAS, the Defendants deny the allegations described above;

         WHEREAS, on September 20, 2019, the Bankruptcy Court entered an order for the Parties

 to commence mediation with Magistrate Judge Omar Aboulhosn [D.I. 17, Case No. 19-ap-03002];

         WHEREAS, on October 25, 2019, the Debtors provided the Plaintiffs with relevant wage

 information concerning the hourly and salaried employees whose employment Plaintiffs contend

 was terminated by the Debtors;



 1
    The adversary proceedings, which have been consolidated for the purposes of this Settlement, are: David
 Engelbrecht, Josiah Williamson and Gregory Mefford, on their own behalf and on behalf of all other persons similarly
 situated v. Blackjewel, LLC; Adversary Proceeding No. 19-ap-3002 and Shawn Abner, Jacob Helton and Billy Hatton
 individually and on behalf of others similarly situated v. Blackjewel, LLC, Revelation Energy, LLC, Lexington Coal
 Co., LLC, Jeff Hoops, Sr., Jeffery A. Hoops, II, Adversary Proceeding No. 19-ap-03003.


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        WHEREAS, on November 4, 2019, the Parties mediated this matter before Magistrate

 Judge Omar Aboulhosn and although the WARN Action was not resolved during the mediation,

 the Parties have been working since that date toward a resolution of the WARN Action; and

        WHEREAS, following extended settlement negotiations, conducted in good faith and at

 arms’ length, on or about March 3, 2020, the Parties reached agreement (the “First Settlement”)

 on a compromise resolving the WARN Action;

        WHEREAS, on July 25, 2020, the Debtors and Plaintiffs filed their Joint Motion to

 Approve Settlement Agreement Pursuant to Bankruptcy Rule 9019 [Docket No. 56] (the “First

 Settlement Motion”) seeking approval of the First Settlement and, on October 2, 2020, the

 Secretary of the United States Department of Labor (the “DOL”) filed an objection to the First

 Settlement Motion [Case No. 19-30289, Docket No. 2417] (the “Objection”);

        WHEREAS, the Parties and the DOL agreed to adjourn the hearing on the First Settlement

 Motion to a later date to allow the Parties to engage in negotiations to resolve the matters addressed

 in the Objection; and

        WHEREAS, following additional settlement negotiations, conducted in good faith and at

 arms’ length, on or about January 11, 2021, the Parties reached the Settlement on a compromise

 that will resolve the WARN Action and address the issues raised by the DOL in the Objection,

 according to the terms set forth herein.

        NOW, THEREFORE, as material consideration and inducements to the execution of this

 Settlement Agreement, and in consideration of the mutual promises and agreements set forth

 herein, and other good and valuable consideration, the receipt and sufficiency of which are hereby

 acknowledged and intended to be binding, the Parties hereby agree, subject to Bankruptcy Court

 approval, as described below:




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        1.      Settlement Filings.     Contemporaneously with the filing of this Settlement

 Agreement, the Parties have filed a revised joint motion in the WARN Action under Rules 9019

 and 7023 of the Federal Rules of Bankruptcy Procedure, and Rule 23 of the Federal Rules of Civil

 Procedure as made applicable by Rule 7023, for approval of the Settlement through a bifurcated

 hearing process (the “Settlement Motion”). The initial hearing (the “Initial Hearing”) requested

 in the Settlement Motion is set to take place on January 21, 2021, at which time the Parties shall

 seek entry of an order from the Bankruptcy Court substantially in the form attached hereto as

 Exhibit A certifying a class of WARN Act claimants for settlement purposes only, preliminarily

 approving the Settlement, and approving the form and manner of notice to the Class Members of

 class certification and the Settlement, including, among other things, their right to opt out of the

 Class, object to the Settlement in person, or appear by counsel (the “Preliminary Settlement

 Order”). The Parties shall also request that the Bankruptcy Court schedule the fairness hearing

 (the “Fairness Hearing”) on March 3, 2021, so that it coincides with the Plan confirmation hearing.

 At the Fairness Hearing, the Bankruptcy Court will consider final approval of the Settlement,

 including the award of Class Counsel’s Fees (as defined below), pursuant to an order substantially

 in the form attached hereto as Exhibit B (the “Final Settlement Order”). This Settlement

 Agreement is subject to, and conditioned upon, entry of the Final Settlement Order by the

 Bankruptcy Court approving this Settlement under Rule 23 of the Federal Rules of Civil Procedure,

 made applicable herein pursuant to Fed. R. Bankr. P. 7023, and Rule 9019 of the Federal Rules of

 Bankruptcy Procedure, after notice and hearing to creditors and parties in interest, in accordance

 with applicable law and local rules.




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        2.      Class Certification. Upon execution of this Settlement Agreement:

                (a)     The Parties consent, for settlement purposes only, pursuant to Rule 23(b)(3)

 of the Federal Rules of Civil Procedure as made applicable to these proceedings by Rule 7023 of

 the Federal Rules of Bankruptcy Procedure, that the Class shall be certified in connection with the

 WARN Action and the Settlement Motion and is comprised of all persons who were employed by

 the Debtors at facilities located in the Eastern Division and the Western Division and who ceased

 working for the Debtors on or after July 1, 2019 solely, and who do not file a timely request to opt

 out of the Class. For the avoidance of doubt, the Class excludes the Debtors’ employees who were

 brought back to work by the Debtors between the dates of July 1, 2019 and November 4, 2019, a

 list of which is provided herein at Exhibit C;

                (b)     The Debtors represent that, to the best of their knowledge, information and

 belief and based solely upon the Debtors’ books and records, all persons (along with their last

 known addresses and wage information) who satisfy the criteria set forth in Section 2(a) above are

 listed on Amended Schedule 1 hereto.

                (c)     Lankenau & Miller, LLP, The Gardner Firm, P.C., Petsonk PLLC,

 Mountain State Justice, Inc. and Pillersdorf Law Office shall be appointed class counsel (together,

 the “Class Counsel”) for the Class created under this Settlement Agreement.

                (d)     David Engelbrecht, Josiah Williamson, Gregory Mefford, Shawn Abner,

 Jacob Helton, and Billy Hatton shall be appointed Class Representatives for the Class created

 under this Settlement Agreement.

        3.      Effective Date. This Settlement Agreement shall become effective upon the date

 on which the Final Settlement Order becomes a “Final Order” (the “Effective Date”). The Final

 Settlement Order shall become a Final Order when the time for taking an appeal has expired or, in




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 the event an appeal has been taken, the day the Final Settlement Order has been affirmed with no

 further right of appeal. In the event the Effective Date does not occur: (i) this Settlement

 Agreement and the recitals contained herein shall be void and without force or effect, and neither

 this Settlement Agreement, nor any of the statements contained herein, shall be admissible in any

 proceeding involving the Parties; (ii) neither the motion to obtain an order approving this

 Settlement Agreement nor any of the pleadings filed in support of such motion shall be admissible

 in any proceeding involving the Parties; and (iii) none of the provisions hereof shall prejudice or

 impair any rights, remedies or defenses of any of the Parties.

      4.      Allowance of WARN Claims and Wage Claims Against Debtors and Cash
 Payment to be Made by Non-Debtor Defendants.

         Pursuant to the terms of this Settlement Agreement, and upon the Effective Date, the Class,

 in full and final settlement of the WARN Action, shall be granted:

         a) an allowed priority claim jointly and severally against the Debtors, in the amount set

             forth on Amended Schedule 1 hereto, pursuant to 11 U.S.C. § 507(a)(4) and (a)(5) of

             the Bankruptcy Code, equal to sixty percent (60%) of sixty (60) days’ of wages and

             certain benefits for each Class Member, in the aggregate amount of $12,298,601.77,2

             and an allowed priority wage claim under 11 U.S.C. § 507(a)(4) of the Bankruptcy

             Code in the aggregate amount of $2,711,494.11 for up to eight (8) days of pay for each

             Class member in resolution of their wage claims (together, the “Allowed Bankruptcy

             WARN and Wage Claims”), which amount shall be subject to the statutory cap in the

             amount of $13,650.00 per employee pursuant to 11 U.S.C. § 507(a)(4) of the

             Bankruptcy Code (the “Statutory Cap”). To the extent any Class Member’s Allowed


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   Subject to the Statutory Cap, as defined below, for employees who had a wage garnishment for domestic support,
 the garnished sums will be treated as a priority claim under 11 U.S.C. § 507(a)(1) of the Bankruptcy Code.



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            Bankruptcy WARN and Wage Claims exceed the Statutory Cap, such claims will be

            deemed and treated as general unsecured claims; and

       b) a cash payment (the “Cash Payment”) from the Non-Debtor Defendants totaling

            $125,000 ($75,000 to be paid by Jeff Hoops, Sr. and Jeffery A. Hoops, II, jointly and

            severally, with the remaining $50,000 to be paid by Lexington Coal Co., LLC).

       5.      Distributions from the Debtors and Non-Debtor Defendants.

       a) The distributions from the Debtors’ estates (the “Estates”) on account of the Allowed

            Bankruptcy WARN and Wage Claims (the “Estates Distribution Payments”) will be

            made by the Debtors in accordance with the priority scheme established by the

            Bankruptcy Code to a qualified settlement fund to be established by Class Counsel in

            conformity with Internal Revenue Code § 468B (the “Qualified Settlement Fund”)

            pursuant to written instructions to be provided by Class Counsel. For the avoidance of

            doubt, the Class acknowledges that the Allowed Bankruptcy WARN and Wage Claims

            is an allowed claim to be paid in accordance with the priority scheme established by

            the Bankruptcy Code and that such claim may or may not be paid depending on the

            distributions available to creditors of the Debtors’ Estates and may not be paid or

            funded in full.

       b) The Cash Payment shall be made via wire transfer by the Non-Debtor Defendants

            within five (5) business days of the Effective Date to the Qualified Settlement Fund

            pursuant to written instructions to be provided by Class Counsel. The name of the

            Qualified Settlement Fund shall be Engelbrecht v. Blackjewel QSF, and Class Counsel

            or the Administrator (as defined below) of the Qualified Settlement Fund shall provide

            the Debtors and the Non-Debtor Defendants with a W-9 form for the Qualified




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          Settlement Fund to enable the Estates Distribution Payments and the Cash Payment,

          respectively to the Qualified Settlement Fund.

       c) Class Counsel shall act as the trustee of the Qualified Settlement Fund. Class Counsel

          shall cause each Class Member’s distribution to be paid from the Qualified Settlement

          Fund, and shall transmit distributions via first class U.S. Mail to the Class Members at

          their last known address as indicated on Amended Schedule 1 hereto (or to such other

          address as the Class Members may indicate to Class Counsel or which Class Counsel

          may locate), in accordance with applicable law. By accepting his or her portion of the

          Qualified Settlement Fund, each Class Member agrees that he or she will be solely

          responsible for any and all tax liabilities stemming from the payment of his or her claim

          under the Settlement Agreement.

       d) The Debtors and Plaintiffs agree that the Estates Distribution Payments shall be the

          only payments to be made by the Debtors under this Settlement Agreement. The Non-

          Debtors Defendants and the Plaintiffs agree that the Cash Payment shall be the only

          payment to be made by the Non-Debtor Defendants under this Settlement Agreement,

          and that such Cash Payment is being provided as a settlement of this litigation and with

          no admission of any liability. Under no circumstances shall the Estates, the Debtors or

          the Non-Debtor Defendants be required under this Settlement Agreement to pay any

          sums or other consideration in addition to the Estates Distribution Payments or the Cash

          Payment, respectively, as described herein, for any purpose whatsoever.

       e) Upon, or before, the entry of an Order granting preliminary approval of this Settlement,

          the Debtors agree to provide Class Counsel with the social security numbers for each

          Class Member to the best of the Debtors’ knowledge based upon the records within the




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          Debtors’ possession. Class Counsel agrees to keep the Class Members’ social security

          information confidential and to use it for the sole purpose of locating the Class

          Members and/or in the preparation of IRS 1099 Forms to reflect the distributions on

          the Allowed Bankruptcy WARN and Wage Claims.

       f) The Debtors agree to provide Class Counsel with an update every six (6) months as to

          (i) the amount of funds in the Debtors’ Estates as of such date, (ii) the amount of

          outstanding claims asserted by creditors holding secured and administrative claims, and

          (iii) any potential recovery the Estates may obtain as of such date. Neither the Estates

          Distribution Payments nor any other consideration or amount paid, credited, offered,

          or expended by or on behalf of the Debtors or the Estates, if any, in the performance of

          this Settlement Agreement constitutes a penalty, fine, punitive damages, or other form

          of penalty for any alleged claim or offense. In the event the amount of the Estates

          Distribution Payment is sufficient to make a full payment on the Allowed Bankruptcy

          WARN and Wage Claims, the total amount distributed to each Class Member on the

          Allowed Bankruptcy WARN and Wage Claims shall equal the amount listed on

          Amended Schedule 1 for those claims. In the event the amount of the Allowed

          Bankruptcy WARN and Wage Claims is greater than the Estates Distribution Payments,

          the Class Members’ distributions shall be reduced on a pro rata basis so all Class

          Members receive an equal percentage of the Estates Distribution Payments. For the

          avoidance of doubt, the Class Counsel’s Fees, Class Counsel’s Expenses and the Class

          Representative Service Payments shall be payable solely out of the Qualified

          Settlement Fund, consistent with the terms of this Settlement Agreement, and such fees,

          expenses and payments are included in the amount of the Allowed Bankruptcy WARN




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             and Wage Claims as set forth in Amended Schedule 1 and not in addition to such

             amount.

        g) The Plaintiffs acknowledge that the payment of the Allowed Bankruptcy WARN and

             Wage Claims may not be made as of the effective date of a proposed plan, if any, but

             will be paid if and when money comes to the Estates in accordance with the priority

             scheme established by the Bankruptcy Code. The Plaintiffs also agree that they will

             support any plan proposed by the Debtors which adheres to, and does not violate, the

             priority rules of the Bankruptcy Code.

        6.      Satisfaction and Expungement of Individual Claims.           The Final Settlement

 Order shall provide that, on the Effective Date, any and all individual claims asserted by Class

 Members against the Debtors related to the Released Claims shall be deemed satisfied and

 expunged from the Debtors’ claims register, and payment on account of such claims shall be

 limited solely to the Estates Distribution Payments and Cash Payment provided for herein.

 Notwithstanding the foregoing, any Class Members’ claims (or any DOL claims on their behalf)

 for benefits pursuant to Section 502(a)(1)(B) of ERISA under either (1) the Blackjewel LLC

 401(k) Plan (the “Blackjewel LLC 401(k) Plan”) or (2) the Self-Insured Health Plan that was in

 place until August 31, 2019, shall be excluded from the scope of the Released Claims, as defined

 herein, and shall not be deemed released, satisfied or expunged by operation of this Settlement

 Agreement. The Debtors retain the right to respond to such claims on an individual basis with

 respect to, for example, their amount, validity and priority status. Nothing in this Agreement shall

 be construed to limit any rights, if any, that the Non-Debtor Defendants may now have to defend

 and/or address any claims for benefits that may be asserted against them under either the

 Blackjewel LLC 401(k) Plan or under the Self-Insured Health Plan. Proofs of claim filed by




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 individuals who choose to timely opt-out of the WARN Class shall be unaffected by the release

 contained in the Settlement.

         7.     Responsibilities of Class Counsel. Class Counsel shall be responsible for the

 production and mailing of all notices required to be provided to the Class Members (the “Class

 Notice”), the cost of which shall be paid solely from the Qualified Settlement Fund. The Class

 Notice shall be mailed within five (5) business days following entry of the order certifying the

 Class for settlement purposes and preliminarily approving the Settlement Agreement. The address

 of Class Counsel will be used as the return address for the Class Notice, and Class Counsel will

 respond to all inquiries of the Class arising from or related to this Settlement. Class Counsel may

 retain the services of a settlement administrator (the “Administrator”) to perform this service and

 other services related to the administration of the Qualified Settlement Fund, and the costs of the

 Administrator acting in this capacity, if applicable, may be deducted from the Qualified Settlement

 Fund.

       8.    Allocation of the Cash Payment and Estates Distribution Payments and
 Disbursement of the Same to Class Members.

                (a)    Allocation of the Cash Payment. The Cash Payment shall be allocated

 towards the Class Representative Service Payments (as defined below), Class Counsel’s Fees, and

 Class Counsel’s Expenses, as set forth on Amended Schedule 1, and in accordance with this

 Settlement.

                (b)    Allocation of the Estates Distribution Payments. The Estates Distribution

 Payments shall be allocated to each Class Member as set forth on Amended Schedule 1, and in

 accordance with this Settlement on a pro rata basis so all Class Members receive an equal

 percentage of the Estates Distribution Payments.




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                (c)     Disbursement of the Cash Payment and Estates Distribution Payments.

 Class Counsel, or its designee, the Administrator, as fiduciary on behalf of the Qualified Settlement

 Fund, shall be responsible for making distributions from the Qualified Settlement Fund of any

 amounts required by this Settlement Agreement, including the preparation and mailing of the

 individual settlement checks to Class Members. For the sake of efficiency, Class Counsel, or its

 designee, the Administrator, as fiduciary on behalf of the Qualified Settlement Fund, may, in their

 discretion, delay the distribution on the Cash Payment so that it can be handled in conjunction with

 the distribution of the Estates Distribution Payments. Class Counsel will also provide each Class

 Member with a notice advising each Class Member to seek his or her own personal tax advice

 regarding the potential tax consequences of the disbursements under the Settlement and an

 explanation of the deduction of Class Counsel’s Fees and Costs. This notice will be included with

 each Settlement disbursement to the Class Members.

                (d)     Residual Funds. Any Class Member distributions which are not deposited,

 endorsed or negotiated within one hundred eighty (180) days of the distribution shall be deemed

 residual funds (the “Residual Funds”) on the 181st day following the Final Distribution and treated

 as follows:

                        (i)     first, used to make distributions to additional Class Members, if any,

                                that may be identified after Class Counsel has made the final

                                distribution from the Qualified Settlement Fund on the Cash

                                Payment and the Estates Distribution Payments and who fall within

                                the Class definition herein but who did not appear on Amended

                                Schedule 1 (“Additional Class Members”),




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                           (ii)     second, distributed to Class Members on a pro rata basis in a

                                    supplemental distribution (the “Supplemental Distribution”) so long

                                    as Class Counsel determines, in their sole discretion, that such

                                    distribution is feasible, and

                           (iii)    if any Residual Funds remain after disbursements to Additional

                                    Class Members or a Supplemental Distribution, then last, distributed

                                    to UMWA Career Centers Inc., which is a 501(c)(3) non-profit

                                    organization established in 1996, which goal is to provide job

                                    training and job placement services to the rural mining communities

                                    of Appalachia. No portion of the Residual Funds shall revert to or

                                    be retained by the Debtors, the Non-Debtor Defendants or Class

                                    Counsel for any reason.

                  (e)      Service Payments to Class Representatives. The Class Representatives

 shall receive an aggregate one-time payment from the first distribution from the Qualified

 Settlement Fund in the amount of $30,000, to be allocated as follows: $5,000 each to David

 Engelbrecht, Josiah Williamson, Gregory Mefford, Shawn Abner, Jacob Helton, and Billy Hatton

 for their service in this matter (together, the “Class Representative Service Payments”). Class

 Counsel shall distribute this payment to the Class Representatives, in addition to each Class

 Representative’s individualized disbursements on account of the Settlement payments

 contemplated herein.3 The Class Representative Service Payments shall be net payment amounts

 and shall not be reduced for Class Counsel Fees (as defined below) or for other reasons. Class



 3
  For the avoidance of doubt, the Class Representative Service Payments shall have no effect on the priority amounts
 available to the Class Representatives for their individualized Allowed Bankruptcy WARN and Wage Claims.



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 Counsel shall issue an IRS Form 1099 to each Class Representative for the amount of the Class

 Representative Service Payments paid to the Class Representative with his or her taxpayer

 identification number. The Class Representative Service Payments shall be paid exclusively by

 the Qualified Settlement Fund.

        9.      Class Counsel’s Fees and Class Counsel’s Expenses. Class Counsel is entitled

 to attorneys’ fees (“Class Counsel’s Fees”) in the amount of one-third (1/3) of each distribution on

 the Allowed Bankruptcy WARN and Wage Claims and Cash Payment, net of the one-time $30,000

 aggregate payment for Class Representative Service Payments. In addition, Class Counsel is

 entitled to its litigation expenses (including costs associated with the production and mailing of

 the Class Notice and the administration of this Settlement, estimated to be approximately $75,000)

 (“Class Counsel’s Expenses”). Class Counsel’s Fees and Class Counsel’s Expenses, as well as the

 Representative Service Payments, shall be paid exclusively by the Qualified Settlement Fund.

 Class Counsel’s Fees and Class Counsel’s Expenses shall constitute payment in full for the Class

 Counsel’s work and expenses in connection with this matter.

        10.     The Class Notice. Class Counsel or the Administrator shall bear the responsibility

 of the preparation of the Class Notices. The Class Notice, which shall include an opt-out notice

 form (“Opt-Out Notice Form”), shall be in substantially the form annexed hereto as Exhibit D or

 such substantially similar form as may be approved by the Bankruptcy Court. In the event that a

 Class Notice is returned as undeliverable, Class Counsel shall mail the Class Notice to the

 corrected address of the intended Class Member recipient as may be determined by Class Counsel

 through a search of a national database or as may otherwise be obtained by the Parties.

                (a)     Contents of the Class Notice. The Class Notice shall contain the following

 information, which shall be individualized for each Class Member:




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                     (i)     That each Class Member has the right to opt out of the Class and

                             preserve all of his or her rights, if any, against the Debtors and Non-

                             Debtor Defendants, including the Released Claims, as defined

                             below (all such persons timely electing to opt out of the Class, the

                             “Opt-Outs”);

                     (ii)    That the Settlement shall become effective only if it is finally

                             approved by the Bankruptcy Court under Rule 7023 and Rule 9019

                             of the Federal Rules of Bankruptcy Procedure, and Rule 23 of the

                             Federal Rules of Civil Procedure, as made applicable by Rule 7023

                             of the Federal Rules of Bankruptcy Procedure;

                     (iii)   That, if so approved, the Settlement shall be effective as to all Class

                             Members who did not timely elect to opt out of the Class;

                     (iv)    The projected net dollar amounts such Class Member would receive

                             under this Settlement, as shown on Amended Schedule 1 assuming

                             that the Allowed Bankruptcy WARN and Wage Claims are paid in

                             full, which may or may not occur depending on numerous factors

                             and circumstances in the Bankruptcy Case;

                     (v)     That the Estates Distribution Payments may or may not equal the

                             Allowed Bankruptcy WARN and Wage Claims depending on

                             various factors and circumstances in the Bankruptcy Case;

                     (vi)    That each Class Member who does not opt out has the right to object

                             to this Settlement either in person or through counsel and be heard

                             at the Fairness Hearing; and




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                       (vii)   That all Released Claims (as defined below) of a Class Member

                               (other than claims with respect to amounts to be paid under the terms

                               of this Settlement) shall be waived and any individual claim of Class

                               Members against the Debtors within the scope of the Released

                               Claims shall be deemed satisfied and expunged from the applicable

                               claims register maintained by the Bankruptcy Court, and that no

                               person, including the Class Member, shall be entitled to any further

                               distribution thereon. Notwithstanding the foregoing, any Class

                               Members’ claims (or any DOL claims on their behalf) for benefits

                               pursuant to Section 502(a)(1)(B) of ERISA under either the

                               Blackjewel LLC 401(k) Plan or the Self-Insured Health Plan that

                               was in place until August 31, 2019, shall be excluded from the scope

                               of the Released Claims, as defined herein, and shall not be deemed

                               released, satisfied or expunged by operation of this Settlement

                               Agreement. The Debtors retain the right to respond to such claims

                               on an individual basis with respect to, for example, their amount,

                               validity and priority status. Nothing in this Agreement shall be

                               construed to limit any rights, if any, that the Non-Debtor Defendants

                               may now have to defend and/or address any claims for benefits that

                               may be asserted against them under either the Blackjewel LLC

                               401(k) Plan or under the Self-Insured Health Plan.

        11.    Objection to Settlement Procedures.         A Class Member may object to this

 Settlement by sending timely written notice of such objection to Class Counsel and counsel to the




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 Debtors and Non-Debtor Defendants at the addresses set forth in Section 18(c) below and filing

 such objection with the Bankruptcy Court. Any such objections shall state (i) the objector’s full

 name, mailing address, and telephone number, (ii) if applicable, the full name, mailing address,

 and telephone number of the objector’s attorney, if any, and (iii) all reasons for objecting to the

 Settlement and any supporting papers, materials, or briefs. Any such objections must be sent/filed

 such that they are received by Class Counsel, the Debtors, Non-Debtor Defendants and the

 Bankruptcy Court by the objection deadline established by the Bankruptcy Court and/or applicable

 law or rules of procedure, and served in accordance with the procedures set forth herein and in the

 Preliminary Settlement Order.

        12.     Right of Employee to Opt Out of Class.

                (a)    Any Class Member may opt out of the Class by mailing to Class Counsel

 the completed and executed Opt-Out Notice Form, contained in the Class Notice, such that it is

 received no later than the opt-out deadline fixed by the Bankruptcy Court (which shall coincide

 with the objection deadline). Upon the timely and proper mailing of the Opt-Out Notice Form to

 Class Counsel, such Class Member shall be classified as an Opt-Out. Class Counsel shall provide

 the Debtors and Non-Debtor Defendants with copies of the Opt-Out Notice Forms received from

 Class Members upon request. Otherwise, if and when the Settlement becomes effective, all Class

 Members shall be bound by the terms of this Settlement.

                (b)    Amounts attributable to Opt-Outs will be deducted from the amount of the

 Allowed Bankruptcy WARN and Wage Claims.

                (c)    Any Opt-Outs shall not have a claim against any of the Parties by reason of

 this Settlement Agreement or otherwise, and shall retain his or her rights, if any, against the

 Debtors and Non-Debtor Defendants. The Debtors, their Estates and the Non-Debtor Defendants




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 reserve all rights against any Opt-Outs. Class Counsel agrees that it will not, directly or indirectly,

 commence any litigation or assert any claims on behalf of any former employees of the Debtors or

 Non-Debtor Defendants who are Opt-Outs, nor any who are not encompassed by the Class as

 defined herein.

        13.        Waiver and Release of Claims.

                   (a)   Released Claims of Class Members. Except for the rights expressly arising

 out of, provided for, or reserved in this Settlement Agreement, upon the Effective Date, the Class

 Members (but not the Opt-Outs), for and on behalf of themselves, and their respective predecessors,

 successors, assigns, heirs, personal representatives and estates (collectively, the “Releasing

 Parties”), do hereby fully and forever release and discharge the Non-Debtor Defendants and each

 of the Estates and Debtors, and each of their respective current and former members, subsidiaries

 and affiliated entities, and each of their respective officers, directors, shareholders, agents,

 employees, partners, members, accountants, attorneys, insurers, financial advisors, representatives

 and other agents, and all of their respective predecessors, successors and assigns (collectively, the

 “Released Parties”), of and from any and all claims, demands, debts, liabilities, obligations, liens,

 actions and causes of action, costs, expenses, attorneys’ fees and damages of whatever kind or

 nature, at law, in equity and otherwise, whether known or unknown, anticipated, suspected or

 disclosed, which the Releasing Parties may now have or hereafter may have against the Released

 Parties which relate to or are based upon the WARN Act or any claim set forth in the WARN

 Action, including any claims relating to wages and benefits as described therein but excluding the

 claims described in the next sentence (the “Released Claims”). Notwithstanding the foregoing,

 any Class Members’ claims (or any DOL claims on their behalf) for benefits pursuant to Section

 502(a)(1)(B) of ERISA under either the Blackjewel LLC 401(k) Plan or under the Self-Insured

 Health Plan that was in place until August 31, 2019, shall be excluded from the scope of the


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 Released Claims, as defined herein, and shall not be deemed released, satisfied or expunged by

 operation of this Settlement Agreement. The Debtors retain the right to respond to such claims on

 an individual basis with respect to, for example, their amount, validity and priority status. Nothing

 in this Agreement shall be construed to limit any rights, if any, that the Non-Debtor Defendants

 may now have to defend and/or address any claims for benefits that may be asserted against them

 under either the Blackjewel LLC 401(k) Plan or under the Self-Insured Health Plan. The Released

 Parties expressly reserve the right to object to, offset or oppose any and all claims, obligations, or

 causes of action, of any type, except those claims expressly allowed hereunder. Upon the Effective

 Date, the Class Members agree that any Released Claims shall be deemed waived without need

 for further court order, and the Class Members agree that any Released Claims that have been

 scheduled on behalf of, or filed by, any Class Members in the Bankruptcy Case are disallowed in

 their entirety and shall be deemed expunged from the applicable schedule(s) or claims register(s).

 In addition, each Releasing Party shall be deemed, upon the Effective Date, to have released each

 of the Class Representatives from any and all claims whether liquidated or unliquidated, contingent

 or non-contingent, asserted or unasserted, fixed or not, matured or unmatured, disputed or

 undisputed, legal or equitable, known or unknown that he or she may have against the Class

 Representatives, any successors or assignees to their legal interests, or any of their present or

 former agents, attorneys or consultants arising out of any Released Claim or the terms of this

 Settlement.

                (b)     To the fullest extent allowed under applicable law, each person and entity

 granting a release under the Settlement hereby: (a) waives and relinquishes all statutory and

 common law protections purporting to limit the scope or effect of a release, whether due to lack of

 knowledge of any claim or otherwise, including, waiving and relinquishing the terms of any law,




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 which provides that a release may not apply to material unknown claims. Accordingly, in the

 event a Class Member should claim additional damages arising out of the matters released by this

 Settlement, or discover new facts or claims, the Class Member will not be able to make any

 additional claims or recover any additional damages. Each Party represents, warrants, and agrees

 that this waiver is a material term of this Settlement Agreement, without which no Party would

 have entered into this Settlement.

                (c)     Notwithstanding anything herein or in any pleadings relating to this

 Settlement, nothing herein or therein shall be deemed to constitute a release by the Debtors or any

 of their affiliates, or their Estates, of any claims whatsoever which such parties may have against

 the Non-Debtor Defendants or any third parties. Nothing herein or therein shall be deemed to

 constitute a release by the Non-Debtor Defendants or any of their affiliates of any claims

 whatsoever which such parties may have against the Debtors or any third parties.

                (d)     Notwithstanding anything herein or in any pleadings relating to this

 Settlement, nothing herein or therein shall be deemed (i) to constitute a release of any claim of the

 DOL against any of the Released Parties or (ii) in any way have an effect upon any claim of the

 DOL against any of the Released Parties.

                (e)     Dismissal of WARN Action as to the Debtors and Non-Debtor Defendants.

 A stipulation of dismissal with prejudice of the WARN Action as to the Debtors and Non-Debtor

 Defendants, substantially in the form attached hereto as Exhibit E (the “Dismissal”), shall be

 executed by the Parties. Class Counsel shall file the Dismissal with the Bankruptcy Court upon

 the Effective Date. Dismissal of the WARN Action as to the Debtors and Non-Debtor Defendants

 shall not abate or limit the effectiveness of this Settlement Agreement and the Final Settlement

 Order, including the releases set forth herein.




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        14.     No Litigation. Except as may be necessary to enforce the terms of this Settlement,

 the Parties agree that they shall not commence or proceed with any action, claim, suit, proceeding

 or litigation, including the filing of any proof of claim in the Bankruptcy Case, with respect to the

 Released Claims, or take any action inconsistent with the terms of the Settlement.

        15.     No Admission of Liability. This Settlement is intended to settle and dispose of

 the Released Claims. Nothing herein shall constitute or be construed as an admission by the

 Estates, Debtors or Non-Debtor Defendants of any facts or liability of any kind. The Parties

 acknowledge and agree that they are entering into this Settlement Agreement to avoid further costs

 of litigation and that the Estates, the Debtors and Non-Debtor Defendants do not admit, and

 specifically deny, any liability under the WARN Act and/or any law pursuant to which claims

 were asserted in the WARN Action.

        16.     Representations and Warranties. The Parties represent and warrant that upon

 Bankruptcy Court approval of this Settlement, all will have the legal right and authority to enter

 into this Settlement and the transactions and releases contemplated hereby.

        17.     Further Assurances. The Parties shall cooperate fully and shall execute and

 deliver any and all supplemental papers, documents, instruments and other assurances and shall

 do any and all acts that may be reasonably necessary or appropriate to give full force and effect to

 the terms and intent of this Settlement.

        18.     Miscellaneous.

                (a)     Continuing Jurisdiction of Bankruptcy Court. The Bankruptcy Court shall

 have full jurisdiction over this Settlement and any dispute or controversy arising from or related

 to the interpretation or enforcement of this Settlement.




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                (b)     Governing Law/Jurisdiction.       Except where superseded by applicable

 federal law, this Settlement shall be governed by the internal laws of the State of West Virginia,

 without regard to conflict of law principles.

                (c)     Notices. Any notice or other communication required or permitted to be

 delivered under this Settlement shall be (i) in writing, (ii) delivered personally, by courier service

 or by certified or registered mail, first-class postage prepaid and return receipt requested,

 (iii) deemed to have been received on the date of delivery, and (iv) addressed as follows (or to

 such other address as the party entitled to notice shall hereafter designate by a written notice filed

 with the Bankruptcy Court):

                If to the Debtors, to

                SQUIRE PATTON BOGGS (US) LLP
                201 E. Fourth Street, Suite 1900
                Cincinnati, Ohio 45202
                Attention: Stephen D. Lerner, Esq.
                           Nava Hazan, Esq.

                If to the Non-Debtor Defendants, to

               LEXINGTON COAL COMPANY, LLC
               Helena R. Jackson, Esq.
               164 Main Street, Suite 401
               Pikeville, Kentucky 41501
               hj@lexingtoncoal.us
               859.533.4901

                DINSMORE & SHOHL LLP
                Janet Smith Holbrook (WVSBN 5853)
                John (J.H.) Harlan Mahaney (WVSBN 6993)
                Alexis B. Mattingly (WVSBN 10286)
                611 Third Avenue
                Huntington, West Virginia 25701
                (304) 529-6181 Phone
                (304) 522-4312 Fax
                Janet.holbrook@dinsmore.com
                John.mahaney@dinsmore.com
                alexis.mattingly@dinsmore.com



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                If to Class Members or Class Counsel, to:

                LANKENAU & MILLER LLP
                132 Nassau Street, Suite 1100
                New York, New York 10038
                Attention: Stuart J. Miller, Esq.

                and

                THE GARDNER FIRM, P.C.
                182 St. Francis Street, Suite 103
                Mobile, Alabama 36602
                Attention: Mary E. Olsen, Esq.

                (d)     Severability. Should any provision(s) of this Settlement Agreement be

 declared or be determined by any court of competent jurisdiction to be illegal, invalid, and/or

 unenforceable, then the legality, validity, and/or enforceability of the remaining parts, terms,

 and/or provisions shall not be affected thereby, and said illegal, unenforceable, and/or invalid part,

 term, and/or provision shall be deemed not to be a part of this Settlement Agreement.

                (e)     Amendments.       This Settlement may not be modified, amended or

 supplemented by the Parties except by a written agreement that the Parties have signed with any

 required approval of the Bankruptcy Court.

                (f)     Integration. This Settlement contains the entire, final, and fully-integrated

 agreement of the Parties with respect to the matters covered by this Settlement, and supersedes all

 prior statements, discussions, agreements, representations, or understandings. No promise,

 understanding, agreement, or representation made by any Party, or any respective agent, director,

 officer, employee, financial advisor or attorney of a Party, that is not expressly contained in this

 Settlement shall be binding or valid. All Parties agree and represent that they are not relying on

 any promise, inducement, or understanding not expressly set forth in the language of this

 Settlement Agreement.



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                (g)     Interpretation. This Settlement was the product of negotiations between the

 Parties and any rule of construction requiring that ambiguities are to be resolved against the

 drafting party shall not apply in the interpretation of this Settlement.

                (h)     Headings. The headings of this Settlement are for convenience only and are

 not part of the Settlement and do not in any way define, limit, extend, describe or amplify the

 terms, provisions or scope of this Settlement and shall have no effect on its interpretation. Where

 appropriate, the use of the singular shall include the plural and the use of the masculine gender

 shall include the feminine gender as well.

                (i)     Signatures. Facsimile or other electronic copies of signatures on this

 Settlement are acceptable, and a facsimile or other electronic copy of a signature on this Settlement

 shall be deemed to be an original.

                (j)     Counterparts.     This Settlement may be executed in one or more

 counterparts, each of which together or separately shall constitute an original and which, when

 taken together, shall be considered one and the same binding agreement.

                (k)     Cooperation. The Parties agree to cooperate with one another to effectuate

 an efficient and equitable implementation of this Settlement.

                (l)     Binding Nature of Settlement. This Settlement shall be binding upon and

 shall inure to the benefit of the Parties and their respective successors, transferees, assigns, heirs

 and estates.

                (m)     Effect of Waiver of Breach. The waiver by one Party of any breach of this

 Settlement Agreement by any other Party shall not be deemed a waiver of any prior or subsequent

 breach of this Settlement Agreement.




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                (n)     Receipt of Advice of Counsel.       The Parties acknowledge, agree, and

 specifically warrant to each other that they have fully read this Settlement Agreement, received

 legal advice with respect to the advisability of entering into this Settlement Agreement and with

 respect to the legal effect of this Settlement Agreement. The Parties further acknowledge, agree,

 and specifically warrant that they fully understand the legal effect of this Settlement Agreement.

                (o)     Opportunity to Investigate.      The Parties acknowledge, agree, and

 specifically warrant to each other that they and their counsel have had adequate opportunity to

 make whatever investigation and inquiries deemed necessary or desirable in connection with the

 subject matter of this Settlement Agreement and the advisability of entering into this Settlement

 Agreement.

                (p)     Good Faith Settlement. The Parties acknowledge, agree, and specifically

 warrant to each other that they are entering into this Settlement Agreement freely, without duress,

 in good faith, and at arms’ length.

                (q)     Preservation of Privilege. Nothing contained in this Settlement Agreement

 or any order of the Bankruptcy Court and no act required to be performed pursuant to this

 Settlement Agreement or any order of the Bankruptcy Court is intended to constitute, cause, or

 effect any waiver (in whole or in part) of any attorney-client privilege, work product protection,

 or common interest/joint defense privilege.

                (r)     Nonadmissibility. The negotiations resulting in this Settlement Agreement

 have been undertaken by the Parties and their respective counsel in good faith and for settlement

 purposes only. No evidence of negotiations or discussions underlying this Settlement Agreement

 shall be offered or received in evidence for any purpose in any action or proceeding.




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        IN WITNESS WHEREOF, the Parties have executed and delivered this Settlement as of

 the date first written above.


                                          On behalf of the Debtors


                                          By:    /s/ David Beckman
                                                 Name: David Beckman
                                                 FTI Consulting, Inc.

                                          DINSMORE & SHOHL LLP
                                          on behalf of Jeff Hoops, Sr. and Jeffery A. Hoops,
                                          II


                                          By:    /s/ Alexis B. Mattingly
                                                 Name: Alexis B. Mattingly
                                                 Title: Counsel for Jeff Hoops, Sr. and
                                                 Jeffery A. Hoops, II

                                          Helena R. Jackson, Esq.
                                          General Counsel,
                                          on behalf of Lexington Coal Co., LLC


                                          By:    /s/ Helena R. Jackson
                                                 Name: Helena R. Jackson
                                                 Title: Counsel for Lexington Coal Co.,
                                                 LLC


                                          LANKENAU & MILLER LLP,
                                          on behalf of the Class Representatives and Class
                                          Members


                                          By: /s/ Stuart J. Miller
                                              Name: Stuart J. Miller
                                              Title: Proposed Class Counsel




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                                     THE GARDNER FIRM, PC,
                                     on behalf of the Class Representatives and Class
                                     Members


                                     By: /s/ Mary E. Olsen
                                         Name: Mary E. Olsen
                                         Title: Proposed Class Counsel


                                     PETSONK PLLC,
                                     on behalf of the Class Representatives and Class
                                     Members


                                     By: /s/ Sam Petsonk
                                         Name: Sam Petsonk
                                         Title: Proposed Class Counsel


                                     MOUNTAIN STATE JUSTICE, INC.,
                                     on behalf of the Class Representatives and Class
                                     Members


                                     By: /s/ Bren J. Pomponio
                                         Name: Bren J. Pomponio
                                                 Clint Carte
                                         Title: Proposed Class Counsel


                                     PILLERSDORF LAW OFFICE,
                                     on behalf of the Class Representatives and Class
                                     Members


                                     By: /s/ Ned Pillersdorf
                                         Name: Ned Pillersdorf
                                         Title: Proposed Class Counsel




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                                   AMENDED
                                  SCHEDULE 1
                                                                                                                                                                                                                                      Gen Unsecured     Priority Allowed
                                                                                                                                                                                                                                        Allowed       Bankruptcy WARN &       Gen Unsecured Allowed
                                                           Exhibit B - Amended Schedule 1                                                   Page 1 of 22                                                           Priority Allowed    Bankruptcy     Wage Claims Net of Bankruptcy WARN & Wage
                                                                             Wage          44 Hourly Days                         Sixty Days’ Pay &   Allowed Bankruptcy   Allowed Bankruptcy Allowed Bankruptcy Bankruptcy WARN &    WARN & Wage     Class Counsel’s Fees Claims Net of Class Counsel’s
            Last Name        First Name   Address   City    State Zip Code   Type   Wage   60 Salary Days   Per Capita Benefits       Benefits            WARN Claim           Wage Claim     WARN & Wage Claims    Wage Claims          Claims           & Expenses                   Fees
 1   Abbott             John M                                                                                                                               8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
 2   Abner              Shawn W                                                                                                                              6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
 3   Absher             Michael H                                                                                                                            6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
 4   Abshire            James C                                                                                                                              6,251.16             1,344.00            7,595.16           7,595.16              -               5,057.50                           -
 5   Adams              Benjamin H                                                                                                                           7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
 6   Adams              Brandon C                                                                                                                            7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
 7   Adams              Enoch O                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
 8   Adams              Frances P                                                                                                                            7,215.96             1,183.56            8,399.52           8,399.52              -               5,593.12                           -
 9   Adams              Gregory S                                                                                                                           11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
10   Adams              Johnny L                                                                                                                             7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
11   Adams              Joshua K                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
12   Adams              Quincy H                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
13   Adams              Todd                                                                                                                                 6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
14   Adams              Tommy N                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
15   Addair             David                                                                                                                                7,940.76             1,856.00            9,796.76           9,796.76              -               6,523.52                           -
16   Addair             James H                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
                                                                                                                                                                                                                                                                                                                             Case 3:19-ap-03002




17   Addair             Timothy M                                                                                                                            6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
18   Addington          Charles E                                                                                                                            6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
19   Adkins             Timothy S                                                                                                                           11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
20   Aistrop            Everett                                                                                                                              6,990.36             1,568.00            8,558.36           8,558.36              -               5,698.89                           -
21   Alger              Gregory J                                                                                                                            6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
22   Alicie             Stacey Wayne                                                                                                                         6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
23   Allen              Bobby W                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
24   Allen              Gary W                                                                                                                               6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
25   Allen              Jarred D                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
26   Allen              Richard C                                                                                                                           12,115.96             2,257.53           14,373.49          13,650.00           723.49             9,089.33                        482.33
27   Allison            Colten N                                                                                                                            11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
28   Amburgey           Gary W                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
29   Amos               Timothy S                                                                                                                            7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
30   Anderson           Aaron                                                                                                                                6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
31   Anderson           Franklin D                                                                                                                          12,815.96             2,410.96           15,226.92          13,650.00         1,576.92             9,089.33                      1,051.28
                                                                                                                                                                                                                                                                                                            Document




32   Anderson           Gretchen A                                                                                                                          10,915.96             1,994.52           12,910.48          12,910.48              -               8,596.90                           -
33   Anderson           Jared R                                                                                                                              8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
34   Anderson           Jeffery Charl                                                                                                                        6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
35   Anderson           Tyrel G                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
36   Anthony            Kyle H                                                                                                                               6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
37   Anton              Karissa J                                                                                                                            6,251.16             1,344.00            7,595.16           7,595.16              -               5,057.50                           -
38   Araujo             Samuel                                                                                                                               8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
39   Arehart            Mark E                                                                                                                               8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
40   Arnett             James R                                                                                                                              7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
41   Arvin              Jimmy J                                                                                                                              6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
42   Arvin              John W                                                                                                                               6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
43   Asbury             Reecy T                                                                                                                             10,815.96             1,972.60           12,788.56          12,788.56              -               8,515.71                           -
44   Asher              Chester D                                                                                                                            7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
                                                                                                                                                                                                                                                                                                                        Page 37 of 90




45   Asher              Derek D                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
46   Asher              Luke                                                                                                                                 9,990.96             1,791.78           11,782.74          11,782.74              -               7,845.95                           -
47   Asher              Roscoe H                                                                                                                             6,145.56             1,312.00            7,457.56           7,457.56              -               4,965.88                           -
48   Ashley             David W                                                                                                                              6,990.36             1,568.00            8,558.36           8,558.36              -               5,698.89                           -
49   Atkins             BIlly Joe                                                                                                                            6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
50   Atwell             Mark A                                                                                                                               7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
51   Baer               Robert S                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
52   Bagwell            Bradee R                                                                                                                             8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
53   Bailes             Jacob David                                                                                                                          6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
54   Bailey             Bryan C                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
55   Bailey             Clyde E                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
56   Bailey             Darwin E                                                                                                                             6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
                                                                                                                                                                                                                                                                                                     Doc 105 Filed 03/05/21 Entered 03/05/21 13:39:02




57   Bailey             Matthew K                                                                                                                            7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
58   Baird              William C                                                                                                                            7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
59   Baity              Benjamin J                                                                                                                           8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
60   Baity              Ronald E                                                                                                                            11,147.46             2,045.26           13,192.72          13,192.72              -               8,784.84                           -
61   Baker              Branden H                                                                                                                            8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
62   Baker              Charles D                                                                                                                           11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
63   Baker              Denver L                                                                                                                             6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
64   Baker              Derek A                                                                                                                              6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
65   Baker              Richard R                                                                                                                            7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
66   Baker              William C                                                                                                                            7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
                                                                                                                                                                                                                                                                                                                             Desc Main




67   Baldwin            Scott A                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
68   Baldwin Jr         Bill J                                                                                                                               7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
69   Ball               Dale A                                                                                                                              11,615.96             2,147.95           13,763.91          13,650.00           113.91             9,089.33                         75.94
70   Ball               Gerald D                                                                                                                            11,165.96             2,049.32           13,215.28          13,215.28              -               8,799.86                           -
71   Ball               Jackie W                                                                                                                            16,815.96             3,287.67           20,103.63          13,650.00         6,453.63             9,089.33                      4,302.42
72   Ball               Jedediah J                                                                                                                          11,321.86             2,083.48           13,405.34          13,405.34              -               8,926.42                           -
                                                                                                                                                                                                                                          Gen Unsecured     Priority Allowed
                                                                                                                                                                                                                                            Allowed       Bankruptcy WARN &       Gen Unsecured Allowed
                                                               Exhibit B - Amended Schedule 1                                                   Page 2 of 22                                                           Priority Allowed    Bankruptcy     Wage Claims Net of Bankruptcy WARN & Wage
                                                                                 Wage          44 Hourly Days                         Sixty Days’ Pay &   Allowed Bankruptcy   Allowed Bankruptcy Allowed Bankruptcy Bankruptcy WARN &    WARN & Wage     Class Counsel’s Fees Claims Net of Class Counsel’s
            Last Name            First Name   Address   City    State Zip Code   Type   Wage   60 Salary Days   Per Capita Benefits       Benefits            WARN Claim           Wage Claim     WARN & Wage Claims    Wage Claims          Claims           & Expenses                   Fees
 73   Ballard               Bobby R                                                                                                                              6,039.96             1,280.00            7,319.96           7,319.96              -               4,874.25                           -
 74   Balthis               Bobby D                                                                                                                              7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
 75   Balthis               Corey N                                                                                                                              7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
 76   Balthis               Timothy W                                                                                                                           11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
 77   Banegas               Jose L                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
 78   Banks                 Tinsley S                                                                                                                            6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
 79   Barbour               Payton J                                                                                                                             7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
 80   Bargo                 Rodney E                                                                                                                             7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
 81   Bargo Jr              Royal                                                                                                                                7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
 82   Barker                Matthew A                                                                                                                            6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
 83   Barnard               Richard A                                                                                                                            6,145.56             1,312.00            7,457.56           7,457.56              -               4,965.88                           -
 84   Barron                James A                                                                                                                              7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
 85   Barron                Roger W                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
 86   Bartelt               Scott D                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
 87   Barton                Eric Clayt                                                                                                                           6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
 88   Barton                Roger L                                                                                                                              6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
                                                                                                                                                                                                                                                                                                                                 Case 3:19-ap-03002




 89   Basner                Elliot J                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
 90   Bass                  Timothy J                                                                                                                            6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
 91   Bates                 Marty H                                                                                                                              7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
 92   Beard                 Richard E                                                                                                                           12,384.96             2,316.49           14,701.45          13,650.00         1,051.45             9,089.33                        700.97
 93   Beck                  William R                                                                                                                            8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
 94   Becker                Kevin L                                                                                                                             13,925.96             2,654.25           16,580.21          13,650.00         2,930.21             9,089.33                      1,953.47
 95   Begley                Jonathan E                                                                                                                           7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
 96   Begley Jr             Therman                                                                                                                              7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
 97   Belcher               James                                                                                                                               11,315.96             2,082.19           13,398.15          13,398.15              -               8,921.63                           -
 98   Belcher               Jarrod N                                                                                                                             6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
 99   Belcher               Joshua                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
100   Belcher               Michael A                                                                                                                            7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
101   Belcher               Ryan A                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
102   Belcher{D29}          David L                                                                                                                              6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
103   Belcher{P8}           David F                                                                                                                              6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
                                                                                                                                                                                                                                                                                                                Document




104   Bellack               Kenneth L                                                                                                                            8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
105   Belt                  James E                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
106   Bennett               Billy J                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
107   Bennett               Cecilia M                                                                                                                            8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
108   Bennett               Shane W                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
109   Bennett               Thomas L                                                                                                                             8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
110   Benson                Dacota R                                                                                                                             6,251.16             1,344.00            7,595.16           7,595.16              -               5,057.50                           -
111   Bentley               Daniel Ryan                                                                                                                          7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
112   Bentley               Douglas                                                                                                                              9,387.86             1,659.59           11,047.45          11,047.45              -               7,356.33                           -
113   Bentley               John M                                                                                                                              12,715.96             2,389.04           15,105.00          13,650.00         1,455.00             9,089.33                        970.00
114   Bentley               Lester R                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
115   Bentley               Matthew                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
116   Bentley Jr            Michael B                                                                                                                            6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
                                                                                                                                                                                                                                                                                                                            Page 38 of 90




117   Bentz                 Ronald L                                                                                                                             7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
118   Bergfield             Kenneth D                                                                                                                            8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
119   Berkey                Amy M                                                                                                                                7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
120   Berkey                David C                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
121   Beverly               David W                                                                                                                              7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
122   Bevins                Bradley E                                                                                                                           10,515.96             1,906.85           12,422.81          12,422.81              -               8,272.17                           -
123   Biley                 Kasey D                                                                                                                              7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
124   Birchfield            Jeffery R                                                                                                                            7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
125   Black Brandi J                                                                                                                                             7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
126   Blackburn             Stephen Boyd                                                                                                                         8,315.96             1,424.66            9,740.62           9,740.62              -               6,486.14                           -
127   Blair                 Michael W                                                                                                                            7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
128   Blake                 Joseph P                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
                                                                                                                                                                                                                                                                                                         Doc 105 Filed 03/05/21 Entered 03/05/21 13:39:02




129   Blakley               Randy W                                                                                                                             12,564.06             2,355.75           14,919.81          13,650.00         1,269.81             9,089.33                        846.54
130   Blankenship           Jeffrey D                                                                                                                            8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
131   Blankenship JR{D17}   Mark A                                                                                                                               7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
132   Blanton               Eric A                                                                                                                               6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
133   Blare                 Jan M                                                                                                                                7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
134   Bledsoe               Keith E                                                                                                                             10,261.96             1,851.18           12,113.14          12,113.14              -               8,065.96                           -
135   Bledsoe Jr            Bradley M                                                                                                                            6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
136   Blevins               Caleb                                                                                                                                5,617.56             1,152.00            6,769.56           6,769.56              -               4,507.75                           -
137   Blevins               Jerod M                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
138   Blevins               Tony                                                                                                                                11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
                                                                                                                                                                                                                                                                                                                                 Desc Main




139   Blevins               Travis L                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
140   Blizzard              Roderick T                                                                                                                           8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
141   Boardwine             George G                                                                                                                             6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
142   Boggs                 Anthony A                                                                                                                            7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
143   Boggs                 Christopher A                                                                                                                        7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
144   Boggs                 Dennis E                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
                                                                                                                                                                                                                                       Gen Unsecured     Priority Allowed
                                                                                                                                                                                                                                         Allowed       Bankruptcy WARN &       Gen Unsecured Allowed
                                                            Exhibit B - Amended Schedule 1                                                   Page 3 of 22                                                           Priority Allowed    Bankruptcy     Wage Claims Net of Bankruptcy WARN & Wage
                                                                              Wage          44 Hourly Days                         Sixty Days’ Pay &   Allowed Bankruptcy   Allowed Bankruptcy Allowed Bankruptcy Bankruptcy WARN &    WARN & Wage     Class Counsel’s Fees Claims Net of Class Counsel’s
             Last Name        First Name   Address   City    State Zip Code   Type   Wage   60 Salary Days   Per Capita Benefits       Benefits            WARN Claim           Wage Claim     WARN & Wage Claims    Wage Claims          Claims           & Expenses                   Fees
145   Boggs              Dustin A                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
146   Boggs              Earl                                                                                                                                 7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
147   Boggs              Leonard E                                                                                                                            6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
148   Boggs              Mark L                                                                                                                               6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
149   Boggs              Matthew D                                                                                                                            6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
150   Bolling            Richard O                                                                                                                            7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
151   Booher             Michael G                                                                                                                            7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
152   Bostic             Marvin W                                                                                                                             6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
153   Bostic             MIchael Cody                                                                                                                         6,356.76             1,376.00            7,732.76           7,732.76              -               5,149.13                           -
154   Bostic             Stephen K                                                                                                                            7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
155   Bowen              Brandon T                                                                                                                            7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
156   Bowen              Michael S                                                                                                                            7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
157   Bowling            Donald R                                                                                                                            15,815.96             3,068.49           18,884.45          13,650.00         5,234.45             9,089.33                      3,489.63
158   Bowling            Eric Dillo                                                                                                                           7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
159   Bowling            James A                                                                                                                              5,723.16             1,184.00            6,907.16           6,907.16              -               4,599.38                           -
160   Bowling            Lonnie W                                                                                                                             6,990.36             1,568.00            8,558.36           8,558.36              -               5,698.89                           -
                                                                                                                                                                                                                                                                                                                              Case 3:19-ap-03002




161   Bowling            Mitchell T                                                                                                                           7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
162   Bowling            Ricky A                                                                                                                             13,415.96             2,542.47           15,958.43          13,650.00         2,308.43             9,089.33                      1,538.95
163   Bowling            William A                                                                                                                           11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
164   Bowman             Bradley R                                                                                                                            6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
165   Bowman             Branden J                                                                                                                            8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
166   Bowman             Bryce L                                                                                                                             11,066.96             2,027.62           13,094.58          13,094.58              -               8,719.49                           -
167   Bowman             Christopher N                                                                                                                        6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
168   Bowman             Greg L                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
169   Boyd               David                                                                                                                                6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
170   Boyd               Justin R                                                                                                                             6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
171   Boyd               Lee G                                                                                                                                8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
172   Boyd               Randall K                                                                                                                            6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
173   Boyer              Frank W                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
174   Brafford           Korey A                                                                                                                              7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
175   Bragg              Edward S                                                                                                                             6,356.76             1,376.00            7,732.76           7,732.76              -               5,149.13                           -
                                                                                                                                                                                                                                                                                                             Document




176   Branham            David S                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
177   Brashears          Arnold H                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
178   Brassfield         David A                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
179   Brassfield Jr      James F                                                                                                                             10,055.96             1,806.03           11,861.99          11,861.99              -               7,898.72                           -
180   Braun              Kasey M                                                                                                                              8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
181   Bray               Robert D                                                                                                                             6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
182   Brewer             Rhonda M                                                                                                                             8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
183   Bridge             Matthew M                                                                                                                            8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
184   Briggs             David G                                                                                                                              8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
185   Briggs             Robert W                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
186   Brigham            Harold D                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
187   Britt              Alisia M                                                                                                                             7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
188   Brock              Billy D                                                                                                                              6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
                                                                                                                                                                                                                                                                                                                         Page 39 of 90




189   Brock              Brandon C                                                                                                                            7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
190   Brock              David L                                                                                                                             13,386.66             2,536.04           15,922.70          13,650.00         2,272.70             9,089.33                      1,515.13
191   Brock              Denver A                                                                                                                             7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
192   Brock              James W                                                                                                                              7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
193   Brock              Johnny J                                                                                                                             7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
194   Brock              Justin D                                                                                                                             6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
195   Brock              Kelly                                                                                                                                6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
196   Brock              Matthew D                                                                                                                            7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
197   Brock              Pete                                                                                                                                 7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
198   Brock              Robert S                                                                                                                             7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
199   Brock              Seth A                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
200   Brock              Travis L                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
                                                                                                                                                                                                                                                                                                      Doc 105 Filed 03/05/21 Entered 03/05/21 13:39:02




201   Brock              Trenton Tyler                                                                                                                        6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
202   Brock Jr           Ballard                                                                                                                              7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
203   Brown              Aaron P                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
204   Brown              Austin C                                                                                                                             9,825.66             1,755.55           11,581.21          11,581.21              -               7,711.76                           -
205   Brown              Billy G                                                                                                                              7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
206   Brown              Donnie                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
207   Brown              Durk F                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
208   Brown              Ethan S                                                                                                                              8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
209   Brown              James D                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
210   Brown              Vealor M                                                                                                                             7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
                                                                                                                                                                                                                                                                                                                              Desc Main




211   Brown {D17}        Kevin R                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
212   Browning           Jimmy J                                                                                                                              6,145.56             1,312.00            7,457.56           7,457.56              -               4,965.88                           -
213   Browning           Richard                                                                                                                              7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
214   Bruns              William A                                                                                                                            8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
215   Bryan              Jerry R                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
216   Bryant             Jeremy                                                                                                                               7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
                                                                                                                                                                                                                                       Gen Unsecured     Priority Allowed
                                                                                                                                                                                                                                         Allowed       Bankruptcy WARN &       Gen Unsecured Allowed
                                                            Exhibit B - Amended Schedule 1                                                   Page 4 of 22                                                           Priority Allowed    Bankruptcy     Wage Claims Net of Bankruptcy WARN & Wage
                                                                              Wage          44 Hourly Days                         Sixty Days’ Pay &   Allowed Bankruptcy   Allowed Bankruptcy Allowed Bankruptcy Bankruptcy WARN &    WARN & Wage     Class Counsel’s Fees Claims Net of Class Counsel’s
             Last Name        First Name   Address   City    State Zip Code   Type   Wage   60 Salary Days   Per Capita Benefits       Benefits            WARN Claim           Wage Claim     WARN & Wage Claims    Wage Claims          Claims           & Expenses                   Fees
217   Bryant             Joshua S                                                                                                                             6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
218   Bryant Jr{D21}     Johnny R                                                                                                                             6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
219   Bryson             Johnny H                                                                                                                             7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
220   Buckner            Charles D                                                                                                                            8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
221   Buechler           Brendon J                                                                                                                            8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
222   Bullinger          Keasha A                                                                                                                             8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
223   Bundy              Bradly M                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
224   Bundy              Brent                                                                                                                                6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
225   Bundy              Michael M                                                                                                                            8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
226   Burgan             Bryan                                                                                                                                7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
227   Burger             Raymond E                                                                                                                            8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
228   Burgess{S7}        Gary Wayne                                                                                                                           6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
229   Burke              Douglas                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
230   Burke              John                                                                                                                                 7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
231   Burke              Joseph E                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
232   Burke              Rondal E                                                                                                                             7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
                                                                                                                                                                                                                                                                                                                              Case 3:19-ap-03002




233   Burkhardt          Travis J                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
234   Burkhart           Daniel D                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
235   Burks              Austin R                                                                                                                             6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
236   Burks              Erik                                                                                                                                 5,617.56             1,152.00            6,769.56           6,769.56              -               4,507.75                           -
237   Burks              Rodney D                                                                                                                             6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
238   Burns              Gillis                                                                                                                               7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
239   Burress            Christopher R                                                                                                                       11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
240   Burton             Andrew J                                                                                                                             7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
241   Burton Jr          Donald R                                                                                                                             7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
242   Bush               Sheldon S                                                                                                                            6,990.36             1,568.00            8,558.36           8,558.36              -               5,698.89                           -
243   Byrd               Jason Wayne                                                                                                                          6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
244   Cafego             Frank D                                                                                                                              6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
245   Caldwell           Bobby                                                                                                                                6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
246   Caldwell           Dana D                                                                                                                               7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
247   Caldwell           George M                                                                                                                             6,251.16             1,344.00            7,595.16           7,595.16              -               5,057.50                           -
                                                                                                                                                                                                                                                                                                             Document




248   Caldwell           Justin                                                                                                                               5,617.56             1,152.00            6,769.56           6,769.56              -               4,507.75                           -
249   Caldwell           Robert A                                                                                                                             7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
250   Calhoun            Tamer                                                                                                                                7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
251   Callahan           Wesley J                                                                                                                             6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
252   Campbell           Donald Dean                                                                                                                          7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
253   Campbell           Polli L                                                                                                                              7,411.46             1,226.41            8,637.87           8,637.87              -               5,751.83                           -
254   Campbell           Steven A                                                                                                                             6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
255   Campbell           Thomas J                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
256   Camphouse          Terry L                                                                                                                              8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
257   Cantrell           Gomer R                                                                                                                              8,815.96             1,534.25           10,350.21          10,350.21              -               6,892.05                           -
258   Cantrell           Matthew D                                                                                                                            7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
259   Carlson            Kendal R                                                                                                                             8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
260   Carmical Jr        Jimmy W                                                                                                                              7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
                                                                                                                                                                                                                                                                                                                         Page 40 of 90




261   Carr               Adam G                                                                                                                              11,267.26             2,071.52           13,338.78          13,338.78              -               8,882.10                           -
262   Carroll            Foriest E                                                                                                                            6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
263   Carroll            Gary H                                                                                                                              11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
264   Carruba            Christopher L                                                                                                                       12,115.96             2,257.53           14,373.49          13,650.00           723.49             9,089.33                        482.33
265   Carstens           Phillip J                                                                                                                            8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
266   Carter             Daniel L                                                                                                                             8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
267   Carter             Steven K                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
268   Case               Dustin G                                                                                                                             8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
269   Casey              Gregory T                                                                                                                            6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
270   Castle             David A                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
271   Castle             Natalie B                                                                                                                            8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
272   Caudill            Caleb                                                                                                                                7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
                                                                                                                                                                                                                                                                                                      Doc 105 Filed 03/05/21 Entered 03/05/21 13:39:02




273   Caudill            Dustin L                                                                                                                             7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
274   Caudill            Robert A                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
275   Caudill            Winston L                                                                                                                            7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
276   Cavanaugh          Seth M                                                                                                                               8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
277   Chaffee            Robert A                                                                                                                             8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
278   Chambers           Jamie A                                                                                                                              6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
279   Chambers           Nathan                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
280   Chandler           Clarence A                                                                                                                          11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
281   Chandler           Gene M                                                                                                                               6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
282   Chandler           Johnny W                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
                                                                                                                                                                                                                                                                                                                              Desc Main




283   Chapell            Jason R                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
284   Chapman            Ryan J                                                                                                                               7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
285   Charles            Billy Ray                                                                                                                            6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
286   Charles            Ricky Andre                                                                                                                          5,723.16             1,184.00            6,907.16           6,907.16              -               4,599.38                           -
287   Charles            Stephen R                                                                                                                            7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
288   Charles            Timothy L                                                                                                                           11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
                                                                                                                                                                                                                                      Gen Unsecured     Priority Allowed
                                                                                                                                                                                                                                        Allowed       Bankruptcy WARN &       Gen Unsecured Allowed
                                                           Exhibit B - Amended Schedule 1                                                   Page 5 of 22                                                           Priority Allowed    Bankruptcy     Wage Claims Net of Bankruptcy WARN & Wage
                                                                             Wage          44 Hourly Days                         Sixty Days’ Pay &   Allowed Bankruptcy   Allowed Bankruptcy Allowed Bankruptcy Bankruptcy WARN &    WARN & Wage     Class Counsel’s Fees Claims Net of Class Counsel’s
            Last Name        First Name   Address   City    State Zip Code   Type   Wage   60 Salary Days   Per Capita Benefits       Benefits            WARN Claim           Wage Claim     WARN & Wage Claims    Wage Claims          Claims           & Expenses                   Fees
289   Charles           Tommy L                                                                                                                              6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
290   Chasteen          Jeff A                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
291   Childers          Robert C                                                                                                                             6,356.76             1,376.00            7,732.76           7,732.76              -               5,149.13                           -
292   Childers          Ronald W                                                                                                                             6,039.96             1,280.00            7,319.96           7,319.96              -               4,874.25                           -
293   Chisenhall        Joshua H                                                                                                                            11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
294   Choate            Robert W                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
295   Church            Kimrick L                                                                                                                            6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
296   Clark             Anthony B                                                                                                                            7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
297   Clark             Dennis R                                                                                                                            10,787.26             1,966.31           12,753.57          12,753.57              -               8,492.41                           -
298   Clark             Kevin                                                                                                                                6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
299   Clark             Lanceston C                                                                                                                          7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
300   Clark             Michael D                                                                                                                           11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
301   Clark             Paul D                                                                                                                               6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
302   Clark             Raleigh K                                                                                                                            7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
303   Clayborn          Jerry                                                                                                                                7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
304   Clem              Travis W                                                                                                                             7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
                                                                                                                                                                                                                                                                                                                             Case 3:19-ap-03002




305   Clevinger         Christopher R                                                                                                                        7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
306   Clifton           Adam J                                                                                                                               6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
307   Cloud             Chris P                                                                                                                             11,113.76             2,037.87           13,151.63          13,151.63              -               8,757.48                           -
308   Cloud             Michael L                                                                                                                            6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
309   Cloud             Mitchell W                                                                                                                           7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
310   Clough            David A                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
311   Clymer            Thomas M                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
312   Coburn            Jerry                                                                                                                                6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
313   Coburn            Terry M                                                                                                                             11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
314   Cochran           Derek A                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
315   Cochran           Gary W                                                                                                                              12,115.96             2,257.53           14,373.49          13,650.00           723.49             9,089.33                        482.33
316   Cochran           Paul J                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
317   Cody              Charles T                                                                                                                            6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
318   Cole              Bobby L                                                                                                                              7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
319   Cole              Charley L                                                                                                                            7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
                                                                                                                                                                                                                                                                                                            Document




320   Cole Jr           Wilburn J                                                                                                                           11,165.96             2,049.32           13,215.28          13,215.28              -               8,799.86                           -
321   Coleman           Charles P                                                                                                                            8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
322   Coleman           Jacob D                                                                                                                              8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
323   Coleman           Kevin A                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
324   Collett           Brandon F                                                                                                                           11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
325   Collett           Carl S                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
326   Collett           Clinton Luke                                                                                                                         7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
327   Collett           Daniel A                                                                                                                             9,990.96             1,791.78           11,782.74          11,782.74              -               7,845.95                           -
328   Collett           Hiram                                                                                                                                6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
329   Collett           Melvin                                                                                                                               6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
330   Collett           William L                                                                                                                            7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
331   Collett-          Vernon L                                                                                                                             6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
332   Colley            Andrew K                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
                                                                                                                                                                                                                                                                                                                        Page 41 of 90




333   Collins           Dana                                                                                                                                 7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
334   Collins           Doug E                                                                                                                               7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
335   Collins           Keith T                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
336   Collins           Travis L                                                                                                                             6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
337   Colvin            Buck C                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
338   Combs             Bobby J                                                                                                                              6,145.56             1,312.00            7,457.56           7,457.56              -               4,965.88                           -
339   Combs             Charles                                                                                                                              6,145.56             1,312.00            7,457.56           7,457.56              -               4,965.88                           -
340   Combs             Joshua A                                                                                                                            11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
341   Combs             Kevin Lee                                                                                                                            6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
342   Combs             Terry Carl                                                                                                                           6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
343   Combs             Timothy R                                                                                                                            7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
344   Conley            Jimmy K                                                                                                                              6,145.56             1,312.00            7,457.56           7,457.56              -               4,965.88                           -
                                                                                                                                                                                                                                                                                                     Doc 105 Filed 03/05/21 Entered 03/05/21 13:39:02




345   Connally          Travis L                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
346   Connelly          Paul A                                                                                                                               8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
347   Conway            Nicholas S                                                                                                                           8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
348   Cook              Michael G                                                                                                                            7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
349   Cook              Randall                                                                                                                              6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
350   Cook              Shane M                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
351   Cook              Shawn C                                                                                                                              7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
352   Cook{D18}         Shawn B                                                                                                                             11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
353   Cooley            Annastaria L                                                                                                                         7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
354   Coolley           Joel J                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
                                                                                                                                                                                                                                                                                                                             Desc Main




355   Cooper            Allen                                                                                                                                7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
356   Cooper            Paul M                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
357   Cooper            Tony E                                                                                                                               7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
358   Coots             Brandon                                                                                                                              7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
359   Coots             Brian                                                                                                                                7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
360   Coots             Carl J                                                                                                                               6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
                                                                                                                                                                                                                                       Gen Unsecured     Priority Allowed
                                                                                                                                                                                                                                         Allowed       Bankruptcy WARN &       Gen Unsecured Allowed
                                                            Exhibit B - Amended Schedule 1                                                   Page 6 of 22                                                           Priority Allowed    Bankruptcy     Wage Claims Net of Bankruptcy WARN & Wage
                                                                              Wage          44 Hourly Days                         Sixty Days’ Pay &   Allowed Bankruptcy   Allowed Bankruptcy Allowed Bankruptcy Bankruptcy WARN &    WARN & Wage     Class Counsel’s Fees Claims Net of Class Counsel’s
             Last Name        First Name   Address   City    State Zip Code   Type   Wage   60 Salary Days   Per Capita Benefits       Benefits            WARN Claim           Wage Claim     WARN & Wage Claims    Wage Claims          Claims           & Expenses                   Fees
361   Coots              Glenn A                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
362   Coots              Jeromy L                                                                                                                             7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
363   Coots              Joshua J                                                                                                                             6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
364   Coots              Randall                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
365   Coots              Rickie D                                                                                                                            11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
366   Cope               Darrell W                                                                                                                            6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
367   Cope               Robert R                                                                                                                             7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
368   Copeland           Cleeche' S                                                                                                                           7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
369   Cordill            David Lee                                                                                                                            7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
370   Cordill            James                                                                                                                                6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
371   Cordingly          Ty L                                                                                                                                 8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
372   Cornett            Cameron M                                                                                                                            6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
373   COrnett            Christopher A                                                                                                                        6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
374   Cornett            Jeremy G                                                                                                                             7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
375   Cornett            Lonnie W                                                                                                                             5,617.56             1,152.00            6,769.56           6,769.56              -               4,507.75                           -
376   Cornett            Michael W                                                                                                                            7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
                                                                                                                                                                                                                                                                                                                              Case 3:19-ap-03002




377   Cornett            Terry D                                                                                                                              7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
378   Cornett Jr         Lloyd                                                                                                                                7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
379   Cornette           Collin                                                                                                                               7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
380   Cornwell Jr        Albert B                                                                                                                             7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
381   Cossette           Joshua A                                                                                                                             8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
382   Costello           Melvin S                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
383   Couch              Jerry M                                                                                                                              6,039.96             1,280.00            7,319.96           7,319.96              -               4,874.25                           -
384   Couch              Jimmy                                                                                                                                6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
385   Couch              Paul D                                                                                                                               6,990.36             1,568.00            8,558.36           8,558.36              -               5,698.89                           -
386   Couch              Steven                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
387   Countiss           Stephen G                                                                                                                           11,815.96             2,191.78           14,007.74          13,650.00           357.74             9,089.33                        238.49
388   Counts             Justin D                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
389   Cox                Eric T                                                                                                                               7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
390   Cox                Garry K                                                                                                                              7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
391   Cox                Scotty M                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
                                                                                                                                                                                                                                                                                                             Document




392   Cress              John C                                                                                                                               7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
393   Crosby             Freeman E                                                                                                                            7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
394   Cullum             Brandon M                                                                                                                            6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
395   Dagnan             Michael Chris                                                                                                                        6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
396   Daly               Patrick W                                                                                                                            8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
397   Damron             Chad R                                                                                                                              13,815.96             2,630.14           16,446.10          13,650.00         2,796.10             9,089.33                      1,864.07
398   Damron             Richard D                                                                                                                           13,827.86             2,632.75           16,460.61          13,650.00         2,810.61             9,089.33                      1,873.74
399   Damron             William B                                                                                                                            8,815.96             1,534.25           10,350.21          10,350.21              -               6,892.05                           -
400   Damron Jr          Eddie R                                                                                                                             10,315.96             1,863.01           12,178.97          12,178.97              -               8,109.80                           -
401   Daniel             Steven J                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
402   Daniels            Andy J                                                                                                                               7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
403   Daniels            Chris                                                                                                                                7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
404   Daniels            Larry R                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
                                                                                                                                                                                                                                                                                                                         Page 42 of 90




405   Daniels            Randy L                                                                                                                              7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
406   Daniels            Shawn F                                                                                                                             11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
407   Daniels            Timothy B                                                                                                                            7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
408   Daniels            William H                                                                                                                           11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
409   Darrow             Kimberly K                                                                                                                           8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
410   Daugherty          Kelly D                                                                                                                              6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
411   Davidson           Ryan M                                                                                                                               7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
412   Davis              Charles A                                                                                                                            6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
413   Davis              Damon O                                                                                                                             12,315.96             2,301.37           14,617.33          13,650.00           967.33             9,089.33                        644.89
414   Davis              Dustin S                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
415   Davis              James A                                                                                                                              6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
416   Davis              James R                                                                                                                              7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
                                                                                                                                                                                                                                                                                                      Doc 105 Filed 03/05/21 Entered 03/05/21 13:39:02




417   Davis              Jason M                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
418   Davis              Jerry W                                                                                                                              6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
419   Davis              John C                                                                                                                               6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
420   Davis              Joseph B                                                                                                                             6,990.36             1,568.00            8,558.36           8,558.36              -               5,698.89                           -
421   Davis              Robert L                                                                                                                             7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
422   Davis              Vincent E                                                                                                                            8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
423   Day                Allen Ray                                                                                                                            5,617.56             1,152.00            6,769.56           6,769.56              -               4,507.75                           -
424   Day                Dillon M                                                                                                                             6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
425   Dean               Danny                                                                                                                                6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
426   Dean               Pleas Jeff                                                                                                                           6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
                                                                                                                                                                                                                                                                                                                              Desc Main




427   Dean Jr            Tony J                                                                                                                               7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
428   DeCent             Rod O                                                                                                                                8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
429   Decker             William D                                                                                                                            8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
430   Deel               Jason R                                                                                                                              7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
431   Deel               Michael A                                                                                                                            6,990.36             1,568.00            8,558.36           8,558.36              -               5,698.89                           -
432   Deel               Travis Lee                                                                                                                           6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
                                                                                                                                                                                                                                      Gen Unsecured     Priority Allowed
                                                                                                                                                                                                                                        Allowed       Bankruptcy WARN &       Gen Unsecured Allowed
                                                           Exhibit B - Amended Schedule 1                                                   Page 7 of 22                                                           Priority Allowed    Bankruptcy     Wage Claims Net of Bankruptcy WARN & Wage
                                                                             Wage          44 Hourly Days                         Sixty Days’ Pay &   Allowed Bankruptcy   Allowed Bankruptcy Allowed Bankruptcy Bankruptcy WARN &    WARN & Wage     Class Counsel’s Fees Claims Net of Class Counsel’s
            Last Name        First Name   Address   City    State Zip Code   Type   Wage   60 Salary Days   Per Capita Benefits       Benefits            WARN Claim           Wage Claim     WARN & Wage Claims    Wage Claims          Claims           & Expenses                   Fees
433   Deel Jr           Kenny V                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
434   Deel Jr           Lindsey                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
435   Dehner            Chad H                                                                                                                               8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
436   DeLa Torre        James P                                                                                                                             11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
437   Dempsey           Anthony C                                                                                                                            7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
438   Dewey             Fredrick A                                                                                                                           8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
439   Dietsche          John P                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
440   Dillie            Jason E                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
441   Dillinger         Danielle M                                                                                                                          11,917.96             2,214.14           14,132.10          13,650.00           482.10             9,089.33                        321.40
442   Dingus            Marvin C                                                                                                                             6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
443   Dixon             Arvil                                                                                                                                7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
444   Dixon             Derick S                                                                                                                             7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
445   Dixon             Jimmy K                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
446   Dixon             Silas C                                                                                                                              6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
447   Dixon             Zack                                                                                                                                 7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
448   Doan              John A                                                                                                                               6,039.96             1,280.00            7,319.96           7,319.96              -               4,874.25                           -
                                                                                                                                                                                                                                                                                                                             Case 3:19-ap-03002




449   Dobyns            Jason S                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
450   Dodrill           Scot D                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
451   Dollarhyde        Brandon R                                                                                                                            7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
452   Donner            Jeffrey H                                                                                                                            8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
453   Dorn              Stanley L                                                                                                                            8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
454   Dotson            Joshua Clyde                                                                                                                         7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
455   Dotson            Robert James                                                                                                                         6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
456   Dow               Kerry F                                                                                                                              7,815.96             1,315.07            9,131.03           9,131.03              -               6,080.22                           -
457   Doyle             David B                                                                                                                              7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
458   Dudley            Jarik M                                                                                                                              8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
459   Duff              Kenneth C                                                                                                                            7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
460   Dunbar            Joshua D                                                                                                                             8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
461   Duncan            Jacob V                                                                                                                              7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
462   Duncan            Scott E                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
463   Duncan Jr         Gary D                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
                                                                                                                                                                                                                                                                                                            Document




464   Dunn              Anthony D                                                                                                                            7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
465   Duty              Kevin                                                                                                                                7,940.76             1,856.00            9,796.76           9,796.76              -               6,523.52                           -
466   Dye               Joe W                                                                                                                                6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
467   Dye               Ricky Jordan S                                                                                                                       6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
468   Dye               Ronnie Kevin                                                                                                                         6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
469   Ealy              Harmon D                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
470   Eddy              Keela A                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
471   Edens             Glenis E                                                                                                                             6,990.36             1,568.00            8,558.36           8,558.36              -               5,698.89                           -
472   Edens             Jared M                                                                                                                              6,990.36             1,568.00            8,558.36           8,558.36              -               5,698.89                           -
473   Edmondson         Mychal T                                                                                                                             8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
474   Edwards           Timothy Kas                                                                                                                          6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
475   Eich              Nathan C                                                                                                                             8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
476   Eldridge          Benjamin M                                                                                                                           7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
                                                                                                                                                                                                                                                                                                                        Page 43 of 90




477   Eldridge          Bobby R                                                                                                                              7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
478   Eldridge          Carl R                                                                                                                               6,990.36             1,568.00            8,558.36           8,558.36              -               5,698.89                           -
479   Eldridge          Chuck A                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
480   Eldridge          Dustin R                                                                                                                             7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
481   Eldridge          Jeremiah B                                                                                                                           7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
482   Eldridge          Jimmy L                                                                                                                              6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
483   Eldridge          Jonathan                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
484   Eldridge          Kevin D                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
485   Eldridge          Michael G                                                                                                                            6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
486   Eldridge          Timothy W                                                                                                                            6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
487   Eldridge Jr       Gregory D                                                                                                                            7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
488   Elliott           Earl G                                                                                                                               8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
                                                                                                                                                                                                                                                                                                     Doc 105 Filed 03/05/21 Entered 03/05/21 13:39:02




489   Elliott           George D                                                                                                                             7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
490   Elliott           Robert A                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
491   Ellis             Brandon L                                                                                                                            8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
492   Ellis             Travis D                                                                                                                            11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
493   Elswick           Brady Clark                                                                                                                          6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
494   Elswick           Evan G                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
495   Engelbrecht       David L                                                                                                                              8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
496   Engelhaupt        Thomas L                                                                                                                             8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
497   England           Burl                                                                                                                                 7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
498   Englebert         Chance L                                                                                                                             7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
                                                                                                                                                                                                                                                                                                                             Desc Main




499   Erickson          Kenneth W                                                                                                                            8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
500   Eskew             Chad T                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
501   Estep             Chuckie R                                                                                                                            6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
502   Estep             Denny R                                                                                                                              6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
503   Estep             Dustin                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
504   Estep             Ethan J                                                                                                                              7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
                                                                                                                                                                                                                                      Gen Unsecured     Priority Allowed
                                                                                                                                                                                                                                        Allowed       Bankruptcy WARN &       Gen Unsecured Allowed
                                                           Exhibit B - Amended Schedule 1                                                   Page 8 of 22                                                           Priority Allowed    Bankruptcy     Wage Claims Net of Bankruptcy WARN & Wage
                                                                             Wage          44 Hourly Days                         Sixty Days’ Pay &   Allowed Bankruptcy   Allowed Bankruptcy Allowed Bankruptcy Bankruptcy WARN &    WARN & Wage     Class Counsel’s Fees Claims Net of Class Counsel’s
            Last Name        First Name   Address   City    State Zip Code   Type   Wage   60 Salary Days   Per Capita Benefits       Benefits            WARN Claim           Wage Claim     WARN & Wage Claims    Wage Claims          Claims           & Expenses                   Fees
505   Estep             Jonathan D                                                                                                                           7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
506   Estep             Jonathan P                                                                                                                          10,015.96             1,797.26           11,813.22          11,813.22              -               7,866.25                           -
507   Estep             Oliver J                                                                                                                             7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
508   Evans             Jeffrey W                                                                                                                           12,115.96             2,257.53           14,373.49          13,650.00           723.49             9,089.33                        482.33
509   Evans             Josh W                                                                                                                               6,779.16             1,504.00            8,283.16           8,283.16              -               5,515.63                           -
510   Evans             Kenneth D                                                                                                                           12,915.96             2,432.88           15,348.84          13,650.00         1,698.84             9,089.33                      1,132.56
511   Evans             Richard Dale                                                                                                                         6,251.16             1,344.00            7,595.16           7,595.16              -               5,057.50                           -
512   Ewald             Joshua D                                                                                                                             7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
513   Ewing             Ross A                                                                                                                              12,115.96             2,257.53           14,373.49          13,650.00           723.49             9,089.33                        482.33
514   Fannon            Billy D                                                                                                                              7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
515   Farler            Robbie D                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
516   Farley            Christopher R                                                                                                                        7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
517   Farley            James R                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
518   Farley            Michael W                                                                                                                            8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
519   Farmer            Dustin C                                                                                                                             6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
520   Farmer            Rocky D                                                                                                                             11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
                                                                                                                                                                                                                                                                                                                             Case 3:19-ap-03002




521   Faustich          Michael R                                                                                                                            7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
522   Fee               David R                                                                                                                              7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
523   Fehlberg          Reed A                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
524   Feltner           Freeman C                                                                                                                            7,412.76             1,696.00            9,108.76           9,108.76              -               6,065.39                           -
525   Feltner           Timothy HW                                                                                                                           7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
526   Fenner            Clancy J                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
527   Ferguson          William                                                                                                                              6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
528   Fields            Bobby                                                                                                                                8,815.96             1,534.25           10,350.21          10,350.21              -               6,892.05                           -
529   Fields            John W                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
530   Fields            Joshua L                                                                                                                            11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
531   Fields            Randy B                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
532   Filhart           Michael A                                                                                                                            8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
533   Finley            Timothy W                                                                                                                            6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
534   Fischer           Darwin G                                                                                                                             8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
535   Fisher            Timothy E                                                                                                                            8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
                                                                                                                                                                                                                                                                                                            Document




536   Fleenor           Roger L                                                                                                                              7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
537   Fleenor           Tommy L                                                                                                                              7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
538   Fleming           Brandon J                                                                                                                            6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
539   Fleming           Josh S                                                                                                                              12,115.96             2,257.53           14,373.49          13,650.00           723.49             9,089.33                        482.33
540   Fleming           Russell                                                                                                                             12,115.96             2,257.53           14,373.49          13,650.00           723.49             9,089.33                        482.33
541   Fletcher          Roger                                                                                                                                6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
542   Fletcher          Stevie A                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
543   Flores-Gonzalez   Eligio                                                                                                                               8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
544   Fogle             Gene W                                                                                                                               8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
545   Foster            James D                                                                                                                              6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
546   Foster            William J                                                                                                                            9,815.96             1,753.42           11,569.38          11,569.38              -               7,703.88                           -
547   Fouts             Bradley W                                                                                                                            7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
548   Fox               Joseph Lee                                                                                                                           6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
                                                                                                                                                                                                                                                                                                                        Page 44 of 90




549   Francis           William D                                                                                                                            7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
550   Freeman           Danny W                                                                                                                             10,504.16             1,904.26           12,408.42          12,408.42              -               8,262.58                           -
551   Freeman           Phillip G                                                                                                                            7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
552   Freeman           Timothy S                                                                                                                            6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
553   French            Michael                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
554   Frey              Courtney B                                                                                                                           7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
555   Fritz             Deanna M                                                                                                                             8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
556   Frye              Jamie P                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
557   Frye              Jamison L                                                                                                                            7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
558   Fugate            Quinton Lee                                                                                                                         10,315.96             1,863.01           12,178.97          12,178.97              -               8,109.80                           -
559   Fugate            Robert B                                                                                                                             6,145.56             1,312.00            7,457.56           7,457.56              -               4,965.88                           -
560   Fuller            Jeffrey W                                                                                                                            6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
                                                                                                                                                                                                                                                                                                     Doc 105 Filed 03/05/21 Entered 03/05/21 13:39:02




561   Fuller            Jeremiah D                                                                                                                           7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
562   Gales             Douglas E                                                                                                                            8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
563   Gamble            Joshua W                                                                                                                             6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
564   Gammon            Colton A                                                                                                                             7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
565   Gammon            Kevin A                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
566   Gammon            Travis R                                                                                                                             8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
567   Garcia            Consuello T                                                                                                                          8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
568   Garcia            Joseph A                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
569   Garcia            Paul M                                                                                                                               6,251.16             1,344.00            7,595.16           7,595.16              -               5,057.50                           -
570   Garner            Michael R                                                                                                                            8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
                                                                                                                                                                                                                                                                                                                             Desc Main




571   Garrett           Joseph P                                                                                                                             7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
572   Garrett           Josh L                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
573   Garrett           Keith L                                                                                                                             11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
574   Garrett           Michael T                                                                                                                            7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
575   Garrette          Michael J                                                                                                                            6,039.96             1,280.00            7,319.96           7,319.96              -               4,874.25                           -
576   Garry             Michael P                                                                                                                            8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
                                                                                                                                                                                                                                        Gen Unsecured     Priority Allowed
                                                                                                                                                                                                                                          Allowed       Bankruptcy WARN &       Gen Unsecured Allowed
                                                             Exhibit B - Amended Schedule 1                                                   Page 9 of 22                                                           Priority Allowed    Bankruptcy     Wage Claims Net of Bankruptcy WARN & Wage
                                                                               Wage          44 Hourly Days                         Sixty Days’ Pay &   Allowed Bankruptcy   Allowed Bankruptcy Allowed Bankruptcy Bankruptcy WARN &    WARN & Wage     Class Counsel’s Fees Claims Net of Class Counsel’s
            Last Name        First Name     Address   City    State Zip Code   Type   Wage   60 Salary Days   Per Capita Benefits       Benefits            WARN Claim           Wage Claim     WARN & Wage Claims    Wage Claims          Claims           & Expenses                   Fees
577   Gass              Perry A                                                                                                                                8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                            -
578   Gaylor            Daniel P                                                                                                                               6,145.56             1,312.00            7,457.56           7,457.56              -               4,965.88                            -
579   Gedrose           Travis M                                                                                                                               8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                            -
580   Gibson            Benjamin                                                                                                                               6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                            -
581   Gibson            Damien K                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                            -
582   Gibson            RB                                                                                                                                     7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                            -
583   Gibson            Robert A                                                                                                                               6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                            -
584   Gilbert           Joesph A                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                            -
585   Gilliam           James M                                                                                                                                7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                            -
586   Gilliam           Robert L                                                                                                                               6,990.36             1,568.00            8,558.36           8,558.36              -               5,698.89                            -
587   Gillispie         Eric                                                                                                                                   6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                            -
588   Glatt             Robert J                                                                                                                              11,253.56             2,068.52           13,322.08          13,322.08              -               8,870.98                            -
589   Glenn             Jennifer L                                                                                                                             8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                            -
590   Glick             Travis A                                                                                                                               8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                            -
591   Goins             Charles R                                                                                                                              7,412.76             1,696.00            9,108.76           9,108.76              -               6,065.39                            -
592   Goins             Hank R                                                                                                                                10,233.76             1,845.00           12,078.76          12,078.76              -               8,043.07                            -
                                                                                                                                                                                                                                                                                                                                 Case 3:19-ap-03002




593   Golay             Jerith D                                                                                                                               8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                            -
594   Golden            Charles S                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                            -
595   Gollaway          Daniel W                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                            -
596   Gomez             Ronald J                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                            -
597   Gooden            Justin C                                                                                                                               7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                            -
598   Goodin            Justin W                                                                                                                              11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                            -
599   Grant             Gary W                                                                                                                                 7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                            -
600   Gray              Bill T                                                                                                                                 7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                            -
601   Greear            Robert W                                                                                                                               8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                            -
602   Green             Michael D                                                                                                                              5,617.56             1,152.00            6,769.56           6,769.56              -               4,507.75                            -
603   Grendahl          Lori K                                                                                                                                 8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                            -
604   Griffin           Billy                                                                                                                                  7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                            -
605   Griffin           Daniel P                                                                                                                               6,145.56             1,312.00            7,457.56           7,457.56              -               4,965.88                            -
606   Griffin           Heather L                                                                                                                              8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                            -
607   Griffith          Austin J                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                            -
                                                                                                                                                                                                                                                                                                                Document




608   Griffith III      Earl W                                                                                                                                 6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                            -
609   Grigsby           Kenneth L                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                            -
610   Grills            Billy S                                                                                                                                7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                            -
611   Grizzel           Mathew D                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                            -
612   Gross             Charles B                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                            -
613   Gross             Edmond E                                                                                                                               6,145.56             1,312.00            7,457.56           7,457.56              -               4,965.88                            -
614   Gross             Michael D                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                            -
615   Guffey            Brandon D                                                                                                                              7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                            -
616   Guffey            Zachary T                                                                                                                              8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                            -
617   Gulley            Tyler B                                                                                                                                7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                            -
618   Gunderson         Jeffery J                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                            -
619   Gunn              Stephen Randa                                                                                                                          6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                            -
620   Gustafson         Arlyn J                                                                                                                                8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                            -
                                                                                                                                                                                                                                                                                                                            Page 45 of 90




621   Guthrie           Bradley Gene                                                                                                                           6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                            -
622   Guthrie           Justin                                                                                                                                 7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                            -
623   Guzman Mejia      Jose A                                                                                                                                 8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                            -
624   Hacker            Jamie D                                                                                                                                7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                            -
625   Hacker            Wayne                                                                                                                                  7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                            -
626   Hagy              Andrew Mark                                                                                                                            6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                            -
627   Hakert            Bob R                                                                                                                                  8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                            -
628   Halcomb           Lance                                                                                                                                  7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                            -
629   Halcomb           Randy C                                                                                                                                5,617.56             1,152.00            6,769.56           6,769.56              -               4,507.75                            -
630   Halcomb           Sean M                                                                                                                                 6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                            -
631   Haley             Annette                                                                                                                                7,065.96             1,150.68            8,216.64           8,216.64              -               5,471.34                            -
632   Haley             Evan M                                                                                                                                 4,033.56               672.00            4,705.56           4,705.56              -               3,133.36                            -
                                                                                                                                                                                                                                                                                                         Doc 105 Filed 03/05/21 Entered 03/05/21 13:39:02




633   Hall              Cas J                                                                                                                                  6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                            -
634   Hall              Christopher D                                                                                                                          7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                            -
635   Hall              Christopher Grant                                                                                                                      6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                            -
636   Hall              Derrick M                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                            -
637   Hall              Derrick R                                                                                                                              7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                            -
638   Hall              James C                                                                                                                                7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                            -
639   Hall              Jimmy D                                                                                                                                7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                            -
640   Hall              Joey S                                                                                                                                 6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                            -
641   Hall              John Shawn                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                            -
642   Hall              Richard B                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                            -
                                                                                                                                                                                                                                                                                                                                 Desc Main




643   Hall              Russell D                                                                                                                              6,145.56             1,312.00            7,457.56           7,457.56              -               4,965.88                            -
644   Hall              Timothy W                                                                                                                              7,412.76             1,696.00            9,108.76           9,108.76              -               6,065.39                            -
645   Halverson         Oscar E                                                                                                                                8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                            -
646   Hamilton          Bradley R                                                                                                                              6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                            -
647   Hammonds          Jeffery C                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                            -
648   Hampton           Cody J                                                                                                                                 6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                            -
                                                                                                                                                                                                                                      Gen Unsecured     Priority Allowed
                                                                                                                                                                                                                                        Allowed       Bankruptcy WARN &       Gen Unsecured Allowed
                                                          Exhibit B - Amended Schedule 1                                                  Page 10 of 22                                                            Priority Allowed    Bankruptcy     Wage Claims Net of Bankruptcy WARN & Wage
                                                                             Wage          44 Hourly Days                         Sixty Days’ Pay &   Allowed Bankruptcy   Allowed Bankruptcy Allowed Bankruptcy Bankruptcy WARN &    WARN & Wage     Class Counsel’s Fees Claims Net of Class Counsel’s
            Last Name       First Name   Address   City     State Zip Code   Type   Wage   60 Salary Days   Per Capita Benefits       Benefits            WARN Claim           Wage Claim     WARN & Wage Claims    Wage Claims          Claims           & Expenses                   Fees
649   Hampton{D7}       Tommy J                                                                                                                              7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
650   Haney             Trevor L                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
651   Hansen            Marlys M                                                                                                                             7,527.26             1,251.79            8,779.05           8,779.05              -               5,845.84                           -
652   Hansen            Paul E                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
653   Hanson            Dewain P                                                                                                                             7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
654   Hanson            Eric K                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
655   Hantak            Charles F                                                                                                                            8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
656   Hardy             Lawrence T                                                                                                                           7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
657   Harris            Bobby K                                                                                                                              4,983.96               960.00            5,943.96           5,943.96              -               3,958.00                           -
658   Harris            Eldon R                                                                                                                              7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
659   Harris            James D                                                                                                                              8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
660   Harris            Jared D                                                                                                                              7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
661   Harris            Kevin W                                                                                                                             14,315.96             2,739.73           17,055.69          13,650.00         3,405.69             9,089.33                      2,270.46
662   Harris            Leroy                                                                                                                                6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
663   Harris            Michael B                                                                                                                            6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
664   Harris            Ricky A                                                                                                                              6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
                                                                                                                                                                                                                                                                                                                             Case 3:19-ap-03002




665   Harris            Steven D                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
666   Harris Jr         Mack A                                                                                                                               7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
667   Harrison          Brandon C                                                                                                                            5,617.56             1,152.00            6,769.56           6,769.56              -               4,507.75                           -
668   Harrison          Charles R                                                                                                                           11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
669   Harrod            Richard L                                                                                                                           12,551.66             2,353.03           14,904.69          13,650.00         1,254.69             9,089.33                        836.46
670   Hartsoch          James C                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
671   Harvey            Dan L                                                                                                                                8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
672   Hatcher           Kennard A                                                                                                                            6,356.76             1,376.00            7,732.76           7,732.76              -               5,149.13                           -
673   Hatfield          Brandon Jason                                                                                                                        7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
674   Hatfield          Jimmy L                                                                                                                              7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
675   Hatfield          Joseph D                                                                                                                             6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
676   Hatton            Billy                                                                                                                                6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
677   Hatzenbuhler      Codi L                                                                                                                               8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
678   Hawley            Darla R                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
679   Haynes            Mendall B                                                                                                                            5,406.36             1,088.00            6,494.36           6,494.36              -               4,324.50                           -
                                                                                                                                                                                                                                                                                                            Document




680   Haynes            Tyler A                                                                                                                              6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
681   Haynes            William L                                                                                                                            8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
682   Hays              Lee A                                                                                                                                8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
683   Head              Robert                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
684   Helbert           Jeffrey                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
685   Helgoe            Orlin B                                                                                                                              8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
686   Helm              James C                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
687   Helton            Brandon J                                                                                                                            7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
688   Helton            Jacob D                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
689   Helton            Ronald L                                                                                                                             7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
690   Helton            Scottie                                                                                                                              6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
691   Helton            Walter H                                                                                                                            12,115.96             2,257.53           14,373.49          13,650.00           723.49             9,089.33                        482.33
692   Helton Jr         Gary L                                                                                                                               6,145.56             1,312.00            7,457.56           7,457.56              -               4,965.88                           -
                                                                                                                                                                                                                                                                                                                        Page 46 of 90




693   Helwig            Daniel P                                                                                                                            10,615.96             1,928.77           12,544.73          12,544.73              -               8,353.35                           -
694   Hensley           Calan                                                                                                                                6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
695   Hensley           Camron G                                                                                                                             7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
696   Hensley           Charlie L                                                                                                                            8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
697   Hensley           Glen M                                                                                                                               7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
698   Hensley           Gregory A                                                                                                                            6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
699   Hensley           Robert J                                                                                                                             8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
700   Hensley II        Charles E                                                                                                                            7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
701   Hernandez         John A                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
702   Herther           Shane C                                                                                                                              8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
703   Hess              Jerry W                                                                                                                              6,356.76             1,376.00            7,732.76           7,732.76              -               5,149.13                           -
704   Hess              Mark E                                                                                                                               6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
                                                                                                                                                                                                                                                                                                     Doc 105 Filed 03/05/21 Entered 03/05/21 13:39:02




705   Hess              Shannon Wayne                                                                                                                        6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
706   Heying            Kelly D                                                                                                                              8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
707   Hickey            Jerry                                                                                                                                6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
708   Hicks             Richard                                                                                                                              7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
709   Hieb              Carey L                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
710   Hildebrandt       Detlef J                                                                                                                            10,615.96             1,928.77           12,544.73          12,544.73              -               8,353.35                           -
711   Hileman           Teddy A                                                                                                                              7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
712   Hill              Jeffery R                                                                                                                            6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
713   Hodge             Darrell E                                                                                                                            6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
714   Hodson            Catherine K                                                                                                                          8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
                                                                                                                                                                                                                                                                                                                             Desc Main




715   Hoffman           Clint R                                                                                                                              8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
716   Hoffman           Jake E                                                                                                                              10,215.96             1,841.10           12,057.06          12,057.06              -               8,028.62                           -
717   Hofmeister        John S                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
718   Hogg              Zachary L                                                                                                                            7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
719   Holbrook          Clifton S                                                                                                                            7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
720   Holbrook          Josh                                                                                                                                12,115.96             2,257.53           14,373.49          13,650.00           723.49             9,089.33                        482.33
                                                                                                                                                                                                                                       Gen Unsecured     Priority Allowed
                                                                                                                                                                                                                                         Allowed       Bankruptcy WARN &       Gen Unsecured Allowed
                                                           Exhibit B - Amended Schedule 1                                                  Page 11 of 22                                                            Priority Allowed    Bankruptcy     Wage Claims Net of Bankruptcy WARN & Wage
                                                                              Wage          44 Hourly Days                         Sixty Days’ Pay &   Allowed Bankruptcy   Allowed Bankruptcy Allowed Bankruptcy Bankruptcy WARN &    WARN & Wage     Class Counsel’s Fees Claims Net of Class Counsel’s
            Last Name        First Name   Address   City     State Zip Code   Type   Wage   60 Salary Days   Per Capita Benefits       Benefits            WARN Claim           Wage Claim     WARN & Wage Claims    Wage Claims          Claims           & Expenses                   Fees
721   Holdway           Travis D                                                                                                                              6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
722   Holland           George M                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
723   Holland           Jimmy Lee                                                                                                                             7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
724   Holland           Mark J                                                                                                                                7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
725   Hollifield        Samuel D                                                                                                                              6,145.56             1,312.00            7,457.56           7,457.56              -               4,965.88                           -
726   Holman            Leslie                                                                                                                                6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
727   Holzer            Steven D                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
728   Homan             Patrick R                                                                                                                            10,615.96             1,928.77           12,544.73          12,544.73              -               8,353.35                           -
729   Honaker           Barry                                                                                                                                 7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
730   Honaker           Bradley                                                                                                                               7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
731   Honaker           Christopher G                                                                                                                         7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
732   Honaker           Marcus J                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
733   Hooks             Tandie R                                                                                                                              7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
734   Hoover            Rodney N                                                                                                                              7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
735   Hopkins           Brad L                                                                                                                                6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
736   Hoppes            Eric C                                                                                                                                8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
                                                                                                                                                                                                                                                                                                                              Case 3:19-ap-03002




737   Horn              Bobby Joe                                                                                                                             5,617.56             1,152.00            6,769.56           6,769.56              -               4,507.75                           -
738   Horn              Dave Thoma                                                                                                                            6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
739   Hoskins           Bige A                                                                                                                                6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
740   Hoskins           James W                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
741   Hoskins           Kenneth R                                                                                                                            10,635.96             1,933.15           12,569.11          12,569.11              -               8,369.58                           -
742   Hoskins           Phillip S                                                                                                                             7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
743   Hoskins           Robert C                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
744   Hoskins           Tony R                                                                                                                                7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
745   Hoskins           William A                                                                                                                             6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
746   Hounshell         Walter W                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
747   Hovdenes          Richard P                                                                                                                             8,815.96             1,534.25           10,350.21          10,350.21              -               6,892.05                           -
748   Howard            Brandon S                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
749   Howard            Dale L                                                                                                                                8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
750   Howard            Eugene H                                                                                                                              9,990.96             1,791.78           11,782.74          11,782.74              -               7,845.95                           -
751   Howard            Gavin B                                                                                                                               6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
                                                                                                                                                                                                                                                                                                             Document




752   Howard            Jason P                                                                                                                               7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
753   Howard            John L                                                                                                                               11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
754   Howard            Keegan L                                                                                                                              7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
755   Howard            Ryan M                                                                                                                                6,145.56             1,312.00            7,457.56           7,457.56              -               4,965.88                           -
756   Howard            Wilburn N                                                                                                                            13,351.96             2,528.44           15,880.40          13,650.00         2,230.40             9,089.33                      1,486.93
757   Howard Jr         Josh                                                                                                                                 10,982.96             2,009.21           12,992.17          12,992.17              -               8,651.29                           -
758   Howell            Roy M                                                                                                                                 6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
759   Hubbard           Bobby J                                                                                                                              11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
760   Hubbell           Charles A                                                                                                                             8,359.16             1,434.13            9,793.29           9,793.29              -               6,521.21                           -
761   Hubbs             Michael A                                                                                                                            10,015.96             1,797.26           11,813.22          11,813.22              -               7,866.25                           -
762   Hubbs             Michael C                                                                                                                             6,990.36             1,568.00            8,558.36           8,558.36              -               5,698.89                           -
763   Huckins           Anthony P                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
764   Hudson            Jeffrey Paul                                                                                                                          7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
                                                                                                                                                                                                                                                                                                                         Page 47 of 90




765   Hudson            Johnathan                                                                                                                             5,617.56             1,152.00            6,769.56           6,769.56              -               4,507.75                           -
766   Hudson            Ryan J                                                                                                                                8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
767   Hughes            Aaron                                                                                                                                 7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
768   Hughes            Mark D                                                                                                                                6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
769   Hullinger         Corey E                                                                                                                               8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
770   Humphrey          Donald L                                                                                                                              8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
771   Hunt              Tyrell P                                                                                                                              7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
772   Hunting           Jerel C                                                                                                                               7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
773   Huntley           Glen L                                                                                                                                8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
774   Hurd              Lin G                                                                                                                                 8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
775   Hurley            Derek L                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
776   Huskey            Howard P                                                                                                                              7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
                                                                                                                                                                                                                                                                                                      Doc 105 Filed 03/05/21 Entered 03/05/21 13:39:02




777   Huskinson         Lynne                                                                                                                                 8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
778   Hylton            Avery                                                                                                                                 7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
779   Irvin II          Claude Wesle                                                                                                                          7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
780   Isenberger        Robert E                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
781   Isom              Wesley S                                                                                                                              7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
782   Ison'             Regina                                                                                                                                8,315.96             1,424.66            9,740.62           9,740.62              -               6,486.14                           -
783   Jackson           Chris                                                                                                                                 6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
784   Jackson           David P                                                                                                                               7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
785   Jackson           Hubert M                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
786   Jarrell           Jonathan T                                                                                                                            4,983.96               960.00            5,943.96           5,943.96              -               3,958.00                           -
                                                                                                                                                                                                                                                                                                                              Desc Main




787   Javaid            Fahad                                                                                                                                12,321.96             2,302.68           14,624.64          13,650.00           974.64             9,089.33                        649.76
788   Jenkins           James Mark                                                                                                                            6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
789   Jensen            Summer R                                                                                                                              7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
790   Jessee            Dakota Mason                                                                                                                          6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
791   Jessee            Paul S                                                                                                                                6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
792   Jewell            Rufus                                                                                                                                11,315.96             2,082.19           13,398.15          13,398.15              -               8,921.63                           -
                                                                                                                                                                                                                                       Gen Unsecured     Priority Allowed
                                                                                                                                                                                                                                         Allowed       Bankruptcy WARN &       Gen Unsecured Allowed
                                                           Exhibit B - Amended Schedule 1                                                  Page 12 of 22                                                            Priority Allowed    Bankruptcy     Wage Claims Net of Bankruptcy WARN & Wage
                                                                              Wage          44 Hourly Days                         Sixty Days’ Pay &   Allowed Bankruptcy   Allowed Bankruptcy Allowed Bankruptcy Bankruptcy WARN &    WARN & Wage     Class Counsel’s Fees Claims Net of Class Counsel’s
             Last Name       First Name   Address   City     State Zip Code   Type   Wage   60 Salary Days   Per Capita Benefits       Benefits            WARN Claim           Wage Claim     WARN & Wage Claims    Wage Claims          Claims           & Expenses                   Fees
793   Jodozi             Kristine K                                                                                                                           6,415.96             1,008.22            7,424.18           7,424.18              -               4,943.65                            -
794   Johansen           Lauren R                                                                                                                             7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                            -
795   Johnson            Christopher S                                                                                                                       10,315.96             1,863.01           12,178.97          12,178.97              -               8,109.80                            -
796   Johnson            Clifford O                                                                                                                           8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                            -
797   Johnson            Duane E                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                            -
798   Johnson            Eales A                                                                                                                              7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                            -
799   Johnson            James MW                                                                                                                             6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                            -
800   Johnson            Jamie H                                                                                                                             11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                            -
801   Johnson            Johnny F                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                            -
802   Johnson            Kyle Wayne                                                                                                                           6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                            -
803   Johnson            Michael                                                                                                                              7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                            -
804   Johnson            Patrick M                                                                                                                            7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                            -
805   Johnson            Steven E                                                                                                                             7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                            -
806   Johnson            Timothy W                                                                                                                            7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                            -
807   Johnson            Tyler H                                                                                                                              7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                            -
808   Jonas              Gary                                                                                                                                 7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                            -
                                                                                                                                                                                                                                                                                                                                Case 3:19-ap-03002




809   Jones              Berry Delno                                                                                                                          7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                            -
810   Jones              Brandon Monro                                                                                                                        6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                            -
811   Jones              David L                                                                                                                              7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                            -
812   Jones              Jacob A                                                                                                                              6,251.16             1,344.00            7,595.16           7,595.16              -               5,057.50                            -
813   Jones              John T                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                            -
814   Jones              Jonathan P                                                                                                                           6,990.36             1,568.00            8,558.36           8,558.36              -               5,698.89                            -
815   Jones              Joseph                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                            -
816   Jones              Kenny R                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                            -
817   Jones              Tracey J                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                            -
818   Jones              William C                                                                                                                            6,615.96             1,052.05            7,668.01           7,668.01              -               5,106.01                            -
819   Jones              William G                                                                                                                            7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                            -
820   Juarez             Israel J                                                                                                                             8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                            -
821   Justice            Dustin S                                                                                                                             6,356.76             1,376.00            7,732.76           7,732.76              -               5,149.13                            -
822   Justice            Mickey                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                            -
823   Justus             Donavan N                                                                                                                            5,617.56             1,152.00            6,769.56           6,769.56              -               4,507.75                            -
                                                                                                                                                                                                                                                                                                               Document




824   Justus             Jimmy B                                                                                                                              6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                            -
825   Justus Jr          Samuel                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                            -
826   Kanash             Gregory A                                                                                                                            8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                            -
827   Kasparek           Michael J                                                                                                                            8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                            -
828   Keen               Brian D                                                                                                                              6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                            -
829   Keen               Jessie M                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                            -
830   Keen               Nickolus                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                            -
831   Keen               Ricky B                                                                                                                              7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                            -
832   KEENE              DAMIAN S                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                            -
833   Kegley             Curtis                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                            -
834   Kegley             Samuel D                                                                                                                             7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                            -
835   Kelley             Brian J                                                                                                                              8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                            -
836   Kelly              Darrell                                                                                                                              6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                            -
                                                                                                                                                                                                                                                                                                                           Page 48 of 90




837   Kelly              Gary                                                                                                                                 7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                            -
838   Kelly              Joshua L                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                            -
839   Kelly              Kenneth E                                                                                                                            6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                            -
840   Kelly              Lee Roy                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                            -
841   Kelly              Shawn E                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                            -
842   Kelly Jr           Roger D                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                            -
843   Kemerling          William B                                                                                                                            8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                            -
844   Kennedy            John R                                                                                                                               6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                            -
845   Kenyon             Albert H                                                                                                                            10,615.96             1,928.77           12,544.73          12,544.73              -               8,353.35                            -
846   Kenyon             Tyrel S                                                                                                                              8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                            -
847   Kilburn            Michael D                                                                                                                            7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                            -
848   Kilburn            Phillip                                                                                                                              7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                            -
                                                                                                                                                                                                                                                                                                        Doc 105 Filed 03/05/21 Entered 03/05/21 13:39:02




849   Kilgore            Melvin A                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                            -
850   Kimbley            Jesse L                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                            -
851   Kincaid            Christopher M                                                                                                                        6,990.36             1,568.00            8,558.36           8,558.36              -               5,698.89                            -
852   Kincaid            Jacob S                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                            -
853   King               Steven J                                                                                                                             8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                            -
854   King II            Billy Joe                                                                                                                            7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                            -
855   Kingsbury          Ernest L                                                                                                                             8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                            -
856   Kipp               Shawn E                                                                                                                              8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                            -
857   Kiser              Josh J                                                                                                                               7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                            -
858   Kiser              William I                                                                                                                            8,815.96             1,534.25           10,350.21          10,350.21              -               6,892.05                            -
                                                                                                                                                                                                                                                                                                                                Desc Main




859   Kiser {P12}        Robert G                                                                                                                             6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                            -
860   Kizer              Dana                                                                                                                                 6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                            -
861   Kline              Paul A                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                            -
862   Kline              Thomas L                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                            -
863   Knutson            Nichole L                                                                                                                            8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                            -
864   Koepke             Richard P                                                                                                                            8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                            -
                                                                                                                                                                                                                                       Gen Unsecured     Priority Allowed
                                                                                                                                                                                                                                         Allowed       Bankruptcy WARN &       Gen Unsecured Allowed
                                                           Exhibit B - Amended Schedule 1                                                  Page 13 of 22                                                            Priority Allowed    Bankruptcy     Wage Claims Net of Bankruptcy WARN & Wage
                                                                              Wage          44 Hourly Days                         Sixty Days’ Pay &   Allowed Bankruptcy   Allowed Bankruptcy Allowed Bankruptcy Bankruptcy WARN &    WARN & Wage     Class Counsel’s Fees Claims Net of Class Counsel’s
             Last Name       First Name   Address   City     State Zip Code   Type   Wage   60 Salary Days   Per Capita Benefits       Benefits            WARN Claim           Wage Claim     WARN & Wage Claims    Wage Claims          Claims           & Expenses                   Fees
865   Koester            Lori M                                                                                                                               8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
866   Korinek            Kelly J                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
867   Kornemann          Kelly J                                                                                                                              8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
868   Kottke             Garth I                                                                                                                              7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
869   Krahenbuhl         George W                                                                                                                             6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
870   Kramer             Tommy M                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
871   Kratz              LeaAnn S                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
872   Lambert            James E                                                                                                                              6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
873   Lane               Steven T                                                                                                                             5,617.56             1,152.00            6,769.56           6,769.56              -               4,507.75                           -
874   Lane               Travis W                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
875   Langford           Brian                                                                                                                                6,990.36             1,568.00            8,558.36           8,558.36              -               5,698.89                           -
876   Lankford           Matthew M                                                                                                                            6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
877   LaVallie           Shaelynn B                                                                                                                           8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
878   Lawrence           Dewey Lee                                                                                                                            6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
879   Lawson             Austin D                                                                                                                             7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
880   Lawson             Jason                                                                                                                                7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
                                                                                                                                                                                                                                                                                                                              Case 3:19-ap-03002




881   Lawson             Michael                                                                                                                             11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
882   Layne              Davie D                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
883   Leair              David M                                                                                                                              8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
884   Lee                Bill                                                                                                                                 6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
885   Lefevers           Joseph C                                                                                                                            11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
886   Lemaster           Mark A                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
887   Leonard            Joseph A                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
888   Leslie             Zacharia G                                                                                                                           8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
889   Lester             Clinton Lee                                                                                                                         11,165.96             2,049.32           13,215.28          13,215.28              -               8,799.86                           -
890   Lester             Randall T                                                                                                                            7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
891   Lewis              Anthony A                                                                                                                            7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
892   Lewis              Bernard L                                                                                                                           11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
893   Lewis              Christopher G                                                                                                                        7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
894   Lewis              Gary L                                                                                                                              10,015.96             1,797.26           11,813.22          11,813.22              -               7,866.25                           -
895   Lewis              James M                                                                                                                              7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
                                                                                                                                                                                                                                                                                                             Document




896   Lewis              James S                                                                                                                              7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
897   Lewis              Michael J                                                                                                                            6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
898   Lewis              Steven H                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
899   Lewis              Timothy E                                                                                                                           12,115.96             2,257.53           14,373.49          13,650.00           723.49             9,089.33                        482.33
900   Lewis (Huff)       William A                                                                                                                            7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
901   Lien               Terrance L                                                                                                                           8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
902   Lindgren           Reid A                                                                                                                               8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
903   Lindon             Christopher A                                                                                                                        7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
904   Lingo              Shawn D                                                                                                                              7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
905   Linkous            Levi R                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
906   Lish               Kandi S                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
907   Little             Harlin D                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
908   Little             Kevin                                                                                                                                7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
                                                                                                                                                                                                                                                                                                                         Page 49 of 90




909   Livingston         Jeremy W                                                                                                                             7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
910   Lockston           Kevin Cody                                                                                                                          10,315.96             1,863.01           12,178.97          12,178.97              -               8,109.80                           -
911   Long               Noah C                                                                                                                               5,617.56             1,152.00            6,769.56           6,769.56              -               4,507.75                           -
912   Loughlin           Arden L                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
913   Lounsberry         Aaron W                                                                                                                              7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
914   Lowe               Daniel C                                                                                                                             6,990.36             1,568.00            8,558.36           8,558.36              -               5,698.89                           -
915   Lowe               Kevin E                                                                                                                              7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
916   Lowe               Tobbie D                                                                                                                            11,315.96             2,082.19           13,398.15          13,398.15              -               8,921.63                           -
917   Lukert             Davy J                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
918   Lundy              Jonathan G                                                                                                                          11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
919   Lunsford           Michael A                                                                                                                            6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
920   Lyman              Ian J                                                                                                                                8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
                                                                                                                                                                                                                                                                                                      Doc 105 Filed 03/05/21 Entered 03/05/21 13:39:02




921   Lyman              Trinity L                                                                                                                            8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
922   Lynch              Thomas D                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
923   MacDonald          Richard J                                                                                                                            8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
924   Madden             Lee                                                                                                                                 11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
925   Madden             Thomas Lee                                                                                                                           6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
926   Madden             Tim                                                                                                                                  7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
927   Maddin             Jason D                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
928   Madon              Kameron Adam                                                                                                                         7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
929   Madsen             William D                                                                                                                            8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
930   Maggard            Danny L                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
                                                                                                                                                                                                                                                                                                                              Desc Main




931   Maggard            Douglas Andy                                                                                                                         7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
932   Maggard            Jonathan M                                                                                                                           6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
933   Maggard            Mark A                                                                                                                               6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
934   Maggard            Nathan D                                                                                                                             7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
935   Maggard            Toby                                                                                                                                 6,145.56             1,312.00            7,457.56           7,457.56              -               4,965.88                           -
936   Mai                Michael A                                                                                                                            8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
                                                                                                                                                                                                                                        Gen Unsecured     Priority Allowed
                                                                                                                                                                                                                                          Allowed       Bankruptcy WARN &       Gen Unsecured Allowed
                                                            Exhibit B - Amended Schedule 1                                                  Page 14 of 22                                                            Priority Allowed    Bankruptcy     Wage Claims Net of Bankruptcy WARN & Wage
                                                                               Wage          44 Hourly Days                         Sixty Days’ Pay &   Allowed Bankruptcy   Allowed Bankruptcy Allowed Bankruptcy Bankruptcy WARN &    WARN & Wage     Class Counsel’s Fees Claims Net of Class Counsel’s
             Last Name        First Name   Address   City     State Zip Code   Type   Wage   60 Salary Days   Per Capita Benefits       Benefits            WARN Claim           Wage Claim     WARN & Wage Claims    Wage Claims          Claims           & Expenses                   Fees
 937   Maki              Chase W                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
 938   Malone            Walter O                                                                                                                              6,990.36             1,568.00            8,558.36           8,558.36              -               5,698.89                           -
 939   Maness            Ryan Casey                                                                                                                            6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
940    Manke             Stephen R                                                                                                                             7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
941    Mankin            Kelly H                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
942    Marowelli         Tyler J                                                                                                                              11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
943    Marshall          William E                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
944    Martin            Leonard T                                                                                                                            12,246.26             2,286.09           14,532.35          13,650.00           882.35             9,089.33                        588.23
945    Mason             Dusten A                                                                                                                             11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
946    Massengale        Michael S                                                                                                                            11,117.86             2,038.77           13,156.63          13,156.63              -               8,760.81                           -
947    Massey            Shaun M                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
948    Matney            Kelby K                                                                                                                               6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
949    Matthews          Christopher D                                                                                                                         7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
950    Mayzsak           Randy J                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
951    McClanahan        Jonathan Scott                                                                                                                        7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
952    McClure           Tammy L                                                                                                                               7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
                                                                                                                                                                                                                                                                                                                               Case 3:19-ap-03002




953    McCollum          Lance J                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
954    McCowan           Brandon J                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
955    McCowan           Christopher W                                                                                                                        11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
956    McCoy             Brandon J                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
 957   McCoy             Clark B                                                                                                                              15,815.96             3,068.49           18,884.45          13,650.00         5,234.45             9,089.33                      3,489.63
958    McCoy             Lester B                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
959    McCoy             Michael S                                                                                                                             7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
960    McCray            Roger D                                                                                                                               7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
961    McCreary          Daniel S                                                                                                                              6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
962    McDaniel          Coleman                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
963    McElwain          Travis W                                                                                                                              7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
964    McFarland         William T                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
965    McGlothlin        Danny W                                                                                                                              11,815.96             2,191.78           14,007.74          13,650.00           357.74             9,089.33                        238.49
 966   McIntosh          Robert D                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
 967   McKee             Connie L                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
                                                                                                                                                                                                                                                                                                              Document




968    McKinney Jr       Bernard E                                                                                                                             5,617.56             1,152.00            6,769.56           6,769.56              -               4,507.75                           -
969    McKinsey          Joshua                                                                                                                                8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
970    McKinsey          Triston R                                                                                                                             8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
971    McKnight          Adam T                                                                                                                                7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
972    McKnight          Joshua L                                                                                                                              7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
973    McKnight          Roger W                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
974    McLaughlin        Sean C                                                                                                                                8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
975    McMackin          Christopher J                                                                                                                         8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
976    Meade             Chris D                                                                                                                               7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
977    Meade             Larry B                                                                                                                               7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
 978   Meade             William A                                                                                                                            11,815.96             2,191.78           14,007.74          13,650.00           357.74             9,089.33                        238.49
 979   Meadows           Timothy A                                                                                                                             7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
 980   Means             William D                                                                                                                             8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
                                                                                                                                                                                                                                                                                                                          Page 50 of 90




981    Meek              Randy J                                                                                                                               8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
982    Mefford           Gregory S                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
983    Melton            Jacob Lee                                                                                                                             7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
984    Merritt           Toby J                                                                                                                                8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
985    Metcalfe          Lowell G                                                                                                                              6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
986    Michael           Garrett T                                                                                                                             7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
987    Michels           Brian T                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
988    Middleton         Henry L                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
989    Middleton         Jeff                                                                                                                                  7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
990    Middleton         Michael B                                                                                                                             7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
 991   Middleton (P15)   James B                                                                                                                               8,784.87             1,527.43           10,312.30          10,312.30              -               6,866.81                           -
 992   Middleton Jr      Billy G                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
                                                                                                                                                                                                                                                                                                       Doc 105 Filed 03/05/21 Entered 03/05/21 13:39:02




 993   Middleton JR      Gregory A                                                                                                                             7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
994    Miles             William R                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
995    Miller            Eric D                                                                                                                                8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
996    Miller            Kolter G                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
997    Miller            Matthew A                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
998    Miller            Nicky J                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
999    Miller            Ronnie L                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1000   Miller            Tanya M                                                                                                                               7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
1001   Milliken          Ross R                                                                                                                                7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
1002   Mills             Bryan K                                                                                                                              10,467.96             1,896.33           12,364.29          12,364.29              -               8,233.20                           -
                                                                                                                                                                                                                                                                                                                               Desc Main




1003   Miniard           Jimmy L                                                                                                                               7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1004   Miniard           Joseph                                                                                                                               12,115.96             2,257.53           14,373.49          13,650.00           723.49             9,089.33                        482.33
1005   Miracle           Casey A                                                                                                                              10,315.96             1,863.01           12,178.97          12,178.97              -               8,109.80                           -
1006   Miracle           James                                                                                                                                 6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1007   Miracle           Kevin                                                                                                                                 6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1008   Mitchell          Frank E                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
                                                                                                                                                                                                                                       Gen Unsecured     Priority Allowed
                                                                                                                                                                                                                                         Allowed       Bankruptcy WARN &       Gen Unsecured Allowed
                                                           Exhibit B - Amended Schedule 1                                                  Page 15 of 22                                                            Priority Allowed    Bankruptcy     Wage Claims Net of Bankruptcy WARN & Wage
                                                                              Wage          44 Hourly Days                         Sixty Days’ Pay &   Allowed Bankruptcy   Allowed Bankruptcy Allowed Bankruptcy Bankruptcy WARN &    WARN & Wage     Class Counsel’s Fees Claims Net of Class Counsel’s
            Last Name        First Name   Address   City     State Zip Code   Type   Wage   60 Salary Days   Per Capita Benefits       Benefits            WARN Claim           Wage Claim     WARN & Wage Claims    Wage Claims          Claims           & Expenses                   Fees
1009   Mitchell         Jeremy E                                                                                                                              7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
1010   Mitchell         Jimmy B                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1011   Mitchell         Shawn R                                                                                                                              12,315.96             2,301.37           14,617.33          13,650.00           967.33             9,089.33                        644.89
1012   Mitchell         Thad E                                                                                                                                8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1013   Mitchem          Matthew C                                                                                                                             6,990.36             1,568.00            8,558.36           8,558.36              -               5,698.89                           -
1014   Mitcheum         John L                                                                                                                                6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1015   Moffitt          Anthony P                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1016   Moffitt          David L                                                                                                                               8,181.36             1,395.16            9,576.52           9,576.52              -               6,376.86                           -
1017   Moore            Allen S                                                                                                                               7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
1018   Moore            Billy J                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1019   Moore            David M                                                                                                                              10,015.96             1,797.26           11,813.22          11,813.22              -               7,866.25                           -
1020   Moore            Jesse J                                                                                                                               6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
1021   Moore            Justin C                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1022   Morales          Erik R                                                                                                                                7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1023   Morelock         John E                                                                                                                                6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1024   Morgan           Dewayne D                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
                                                                                                                                                                                                                                                                                                                              Case 3:19-ap-03002




1025   Morgan           Howard J                                                                                                                              7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1026   Morgan           Ken                                                                                                                                   6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1027   Morgan           Larry J                                                                                                                               7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1028   Moses Jr         Michael D                                                                                                                             6,990.36             1,568.00            8,558.36           8,558.36              -               5,698.89                           -
1029   Mosley           Aaron M                                                                                                                               7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1030   Mounts           Kenneth P                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1031   Mullins          Auty A                                                                                                                                7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1032   Mullins          Cody                                                                                                                                  6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
1033   Mullins          Destry W                                                                                                                              6,145.56             1,312.00            7,457.56           7,457.56              -               4,965.88                           -
1034   Mullins          James C                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1035   Mullins          Johnathan L                                                                                                                           6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1036   Mullins          Joshua B                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1037   Mullins          Nathan D                                                                                                                              7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
1038   Mullins          Sammy R                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1039   Mullins          Tim R                                                                                                                                 6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
                                                                                                                                                                                                                                                                                                             Document




1040   Mullins          Zachary S                                                                                                                             6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1041   Munoz            Matthew J                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1042   Music            Colton J                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1043   Myers            Michael A                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1044   Myers            Sheila M                                                                                                                              8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
1045   Nannemann        Trent J                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1046   Napier           Brian                                                                                                                                 6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1047   Napier           Clarence P                                                                                                                            6,145.56             1,312.00            7,457.56           7,457.56              -               4,965.88                           -
1048   Napier           Terry W                                                                                                                               6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
1049   Neal             Charles E                                                                                                                             6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1050   Neff Jr          Larry W                                                                                                                               8,815.96             1,534.25           10,350.21          10,350.21              -               6,892.05                           -
1051   Nelson           Annalies K                                                                                                                            7,815.96             1,315.07            9,131.03           9,131.03              -               6,080.22                           -
1052   Nelson           Wesley E                                                                                                                              6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
                                                                                                                                                                                                                                                                                                                         Page 51 of 90




1053   Ness             Alexandria N                                                                                                                          7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
1054   Newman           Justin J                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1055   Newsome          Jonathan                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1056   Nichols          Blake                                                                                                                                 6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1057   Nichols          Crystal A                                                                                                                             8,198.46             1,398.90            9,597.36           9,597.36              -               6,390.74                           -
1058   Nichols          Ernest D                                                                                                                              8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1059   Nichols          Jason A                                                                                                                               6,315.96               986.30            7,302.26           7,302.26              -               4,862.47                           -
1060   Nichols          Jesse W                                                                                                                               7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
1061   Nichols          Jordan S                                                                                                                              8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
1062   Niday            Michael                                                                                                                               6,145.56             1,312.00            7,457.56           7,457.56              -               4,965.88                           -
1063   Niday            Michael C                                                                                                                             7,412.76             1,696.00            9,108.76           9,108.76              -               6,065.39                           -
1064   Noe              Benjamin M                                                                                                                            6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
                                                                                                                                                                                                                                                                                                      Doc 105 Filed 03/05/21 Entered 03/05/21 13:39:02




1065   Noe              Billy J                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1066   Noe              Johnathon M                                                                                                                           7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
1067   Nolte            Robert B                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1068   Nordhougen       Michael B                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1069   Norris           Greg                                                                                                                                  6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1070   Norskog          Tyler W                                                                                                                               7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
1071   Nuzum            Justin W                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1072   Oehlert          Shawn M                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1073   Oehlert          Vicky K                                                                                                                               8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1074   Ogden            Tristen M                                                                                                                             8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
                                                                                                                                                                                                                                                                                                                              Desc Main




1075   Oliver           Daniel L                                                                                                                              8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1076   Oliver           Jeremy W                                                                                                                              7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
1077   Oliver           Sarah A                                                                                                                               7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
1078   Olson            Anthony M                                                                                                                            12,892.36             2,427.70           15,320.06          13,650.00         1,670.06             9,089.33                      1,113.37
1079   Olson            David K                                                                                                                              14,011.86             2,673.07           16,684.93          13,650.00         3,034.93             9,089.33                      2,023.29
1080   O'Neal           Ryan K                                                                                                                                7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
                                                                                                                                                                                                                                        Gen Unsecured     Priority Allowed
                                                                                                                                                                                                                                          Allowed       Bankruptcy WARN &       Gen Unsecured Allowed
                                                            Exhibit B - Amended Schedule 1                                                  Page 16 of 22                                                            Priority Allowed    Bankruptcy     Wage Claims Net of Bankruptcy WARN & Wage
                                                                               Wage          44 Hourly Days                         Sixty Days’ Pay &   Allowed Bankruptcy   Allowed Bankruptcy Allowed Bankruptcy Bankruptcy WARN &    WARN & Wage     Class Counsel’s Fees Claims Net of Class Counsel’s
             Last Name        First Name   Address   City     State Zip Code   Type   Wage   60 Salary Days   Per Capita Benefits       Benefits            WARN Claim           Wage Claim     WARN & Wage Claims    Wage Claims          Claims           & Expenses                   Fees
1081   Orchard           Christopher W                                                                                                                         8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
1082   Osborne           Clyde P                                                                                                                               6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
1083   Osborne           Terry W                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1084   Osborne           Tony R                                                                                                                                6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1085   Osborne           William B                                                                                                                             6,990.36             1,568.00            8,558.36           8,558.36              -               5,698.89                           -
1086   Osbourne          Jamie L                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1087   Ottema            Miranda K                                                                                                                             7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
1088   Otten             Robert W                                                                                                                              7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
1089   Owens             Bobby R                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1090   Owens             Randall S                                                                                                                             8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1091   Owens             Stephen T                                                                                                                             6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
1092   Pacholewski       Michael D                                                                                                                             7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1093   Pack              John E                                                                                                                               10,815.96             1,972.60           12,788.56          12,788.56              -               8,515.71                           -
1094   Pack              Michael J                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1095   Paragon Jr        Roy                                                                                                                                   7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1096   Parker            Derek W                                                                                                                               7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
                                                                                                                                                                                                                                                                                                                               Case 3:19-ap-03002




1097   Parker            John W                                                                                                                               10,815.96             1,972.60           12,788.56          12,788.56              -               8,515.71                           -
1098   Parks             Michael B                                                                                                                            11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
1099   Parrish           Daniel K                                                                                                                              8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1100   Parsons           Cale J                                                                                                                               11,851.94             2,199.67           14,051.61          13,650.00           401.61             9,089.33                        267.74
1101   Parsons           Grant L                                                                                                                               8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1102   Paschall          Karl L                                                                                                                                8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
1103   Patterson         Annette S                                                                                                                             7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
1104   Patterson         Chase W                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1105   Paulson           Shari J                                                                                                                               7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
1106   Payne             Lee M                                                                                                                                 7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1107   Peace             Christopher A                                                                                                                        12,015.96             2,235.62           14,251.58          13,650.00           601.58             9,089.33                        401.05
1108   Peak              Jonathan H                                                                                                                            7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1109   Peak              Thomas C                                                                                                                              7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1110   Pederson          Kenneth R                                                                                                                             7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
1111   Pendergrass       Kevin                                                                                                                                 6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
                                                                                                                                                                                                                                                                                                              Document




1112   Penix             Roger M                                                                                                                               7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1113   Pennington        Andrew K                                                                                                                             11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
1114   Pennington        Darrell                                                                                                                               7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1115   Pennington        Elmer Lee                                                                                                                             6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
1116   Pennington        Tim                                                                                                                                   7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1117   Perez             Homero                                                                                                                               11,066.96             2,027.62           13,094.58          13,094.58              -               8,719.49                           -
1118   Perkins           Devan A                                                                                                                              11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
1119   Perkins           James N                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1120   Permelia          Brian M                                                                                                                               6,145.56             1,312.00            7,457.56           7,457.56              -               4,965.88                           -
1121   Peters            Marshall S                                                                                                                            8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1122   Petersen          Miles S                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1123   Peterson          Michael B                                                                                                                            12,115.96             2,257.53           14,373.49          13,650.00           723.49             9,089.33                        482.33
1124   Peterson-Worden   Melissa A                                                                                                                             7,015.96             1,139.73            8,155.69           8,155.69              -               5,430.75                           -
                                                                                                                                                                                                                                                                                                                          Page 52 of 90




1125   Pfenning          Henry S                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1126   Phillips          Carlos David                                                                                                                          6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1127   Philpot           Gregory D                                                                                                                             6,990.36             1,568.00            8,558.36           8,558.36              -               5,698.89                           -
1128   Phipps            Arvil J                                                                                                                               6,990.36             1,568.00            8,558.36           8,558.36              -               5,698.89                           -
1129   Phipps            Franklin D                                                                                                                            7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1130   Pierce            Holly J                                                                                                                               9,837.96             1,758.25           11,596.21          11,596.21              -               7,721.75                           -
1131   Pierson           Brandon                                                                                                                               6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1132   Pierson           Josh N                                                                                                                                7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1133   Pike              Joshua L                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1134   Pilcher           Casey R                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1135   Pilcher           Christopher C                                                                                                                         8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1136   Pimm              Aaron A                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
                                                                                                                                                                                                                                                                                                       Doc 105 Filed 03/05/21 Entered 03/05/21 13:39:02




1137   Plough            Jacob K                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1138   Polly             James P                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1139   Polly             Michael B                                                                                                                            11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
1140   Poppleton         Dennis T                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1141   Porter            Christina K                                                                                                                           7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
1142   Porter            Galen L                                                                                                                               7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
1143   Posey Jr          Ronald                                                                                                                                7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
1144   Potter            George                                                                                                                                6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
1145   Potter            Jeffery L                                                                                                                             7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1146   Potter            Shawn A                                                                                                                               8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
                                                                                                                                                                                                                                                                                                                               Desc Main




1147   Powers            Adam S                                                                                                                                6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1148   Powers            Jason M                                                                                                                              10,146.86             1,825.95           11,972.81          11,972.81              -               7,972.52                           -
1149   Powers            Jerry                                                                                                                                 6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1150   Prater            Kenneth                                                                                                                               6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1151   Pratt             Gregory K                                                                                                                             7,412.76             1,696.00            9,108.76           9,108.76              -               6,065.39                           -
1152   Pratt             Vernon T                                                                                                                              7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
                                                                                                                                                                                                                                        Gen Unsecured     Priority Allowed
                                                                                                                                                                                                                                          Allowed       Bankruptcy WARN &       Gen Unsecured Allowed
                                                            Exhibit B - Amended Schedule 1                                                  Page 17 of 22                                                            Priority Allowed    Bankruptcy     Wage Claims Net of Bankruptcy WARN & Wage
                                                                               Wage          44 Hourly Days                         Sixty Days’ Pay &   Allowed Bankruptcy   Allowed Bankruptcy Allowed Bankruptcy Bankruptcy WARN &    WARN & Wage     Class Counsel’s Fees Claims Net of Class Counsel’s
             Last Name        First Name   Address   City     State Zip Code   Type   Wage   60 Salary Days   Per Capita Benefits       Benefits            WARN Claim           Wage Claim     WARN & Wage Claims    Wage Claims          Claims           & Expenses                   Fees
1153   Pratt{D11}        David Lee                                                                                                                             7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1154   Pratt{D8}         David L                                                                                                                               7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1155   Preiss            Scott A                                                                                                                               8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1156   Presley           Ethan A                                                                                                                               7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1157   Price             Bill R                                                                                                                                7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1158   Price             Charles E                                                                                                                            11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
1159   Price             Emily G                                                                                                                               7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
1160   Price             Rolland E                                                                                                                             7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
1161   Pridemore         Jonathan E                                                                                                                           11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
1162   Pridemore         Jonathan Tyler                                                                                                                        5,406.36             1,088.00            6,494.36           6,494.36              -               4,324.50                           -
1163   Profitt           Alex                                                                                                                                  6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
1164   Puckett           Brandon L                                                                                                                             5,617.56             1,152.00            6,769.56           6,769.56              -               4,507.75                           -
1165   Puckett           Chris                                                                                                                                 6,039.96             1,280.00            7,319.96           7,319.96              -               4,874.25                           -
1166   Queen             Scott D                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1167   Quillen           Steve D                                                                                                                              12,715.96             2,389.04           15,105.00          13,650.00         1,455.00             9,089.33                        970.00
1168   Quillen           Steven P                                                                                                                              6,815.96             1,095.89            7,911.85           7,911.85              -               5,268.38                           -
                                                                                                                                                                                                                                                                                                                               Case 3:19-ap-03002




1169   Radensleben       Shane M                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1170   Raleigh           Brent C                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1171   Raleigh           Darrell                                                                                                                               7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1172   Raleigh           Richard P                                                                                                                             6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
1173   Ramey             Taylor D                                                                                                                              6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
1174   Ramirez           Dillon R                                                                                                                              7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
1175   Ramsey            Jordan J                                                                                                                              4,983.96               960.00            5,943.96           5,943.96              -               3,958.00                           -
1176   Randolph          Adam Harle                                                                                                                            6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
1177   Rasnake           Marty D                                                                                                                               7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
1178   Ratliff           Goebel L                                                                                                                             11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
1179   Ratliff           Kenneth H                                                                                                                             6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
1180   Ratliff           Toby G                                                                                                                                6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1181   Ratliff           William R                                                                                                                             7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
1182   Ray III           Johnny E                                                                                                                              7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1183   Rea               Darlene K                                                                                                                             7,015.96             1,139.73            8,155.69           8,155.69              -               5,430.75                           -
                                                                                                                                                                                                                                                                                                              Document




1184   Reed              Brandon K                                                                                                                             6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
1185   Reed              Clarence James                                                                                                                        7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1186   Reeder            Franklin T                                                                                                                            7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1187   Reichard          James W                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1188   Reister           Justin C                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1189   Renz              Brian E                                                                                                                               6,251.16             1,344.00            7,595.16           7,595.16              -               5,057.50                           -
1190   Reynolds          Alan W                                                                                                                                6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1191   Reynolds          Clinton D                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1192   Reynolds          Nancy L                                                                                                                               8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1193   Rheuff            Seth T                                                                                                                                8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1194   Richard           Byron P                                                                                                                               8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1195   Richardson        Steven E                                                                                                                              7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
1196   Riddle            Anthony D                                                                                                                             7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
                                                                                                                                                                                                                                                                                                                          Page 53 of 90




1197   Rife              Cecil Todd                                                                                                                            6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1198   Rife              Christopher A                                                                                                                         6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
1199   Rightly           Christian W                                                                                                                           7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
1200   Riley             John Dalto                                                                                                                            6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
1201   Rinker            Gary D                                                                                                                                8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1202   Ripley            Kenton W                                                                                                                              7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
1203   Ritchie Jr        Bronson                                                                                                                               6,145.56             1,312.00            7,457.56           7,457.56              -               4,965.88                           -
1204   Roark             Roger K                                                                                                                               7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1205   Robbins           Paul N                                                                                                                                7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1206   Roberts           Jimmy D                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1207   Roberts           Michael R                                                                                                                             8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1208   Roberts           Rickey A                                                                                                                              7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
                                                                                                                                                                                                                                                                                                       Doc 105 Filed 03/05/21 Entered 03/05/21 13:39:02




1209   Roberts           Timothy B                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1210   Robinson          Aaron                                                                                                                                 6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1211   Rogers            Donovan L                                                                                                                             7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
1212   Rogers            Scotty lynn                                                                                                                           6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1213   Rogers            Thomas A                                                                                                                              8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
1214   Rogi              Joseph                                                                                                                                6,251.16             1,344.00            7,595.16           7,595.16              -               5,057.50                           -
1215   Rohrbach          Heather N                                                                                                                             8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
1216   Romo              Joshua J                                                                                                                              8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
1217   Rorrer            Kevin W                                                                                                                               6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1218   Rose              Jarred R                                                                                                                              6,039.96             1,280.00            7,319.96           7,319.96              -               4,874.25                           -
                                                                                                                                                                                                                                                                                                                               Desc Main




1219   Rose              Joel D                                                                                                                                7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
1220   Ross              Daniel E                                                                                                                              6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
1221   Roth              Russell A                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1222   Rott              Jeffrey J                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1223   Rouse             James                                                                                                                                 6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
1224   Rouse             Scott N                                                                                                                               7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
                                                                                                                                                                                                                                          Gen Unsecured     Priority Allowed
                                                                                                                                                                                                                                            Allowed       Bankruptcy WARN &       Gen Unsecured Allowed
                                                              Exhibit B - Amended Schedule 1                                                  Page 18 of 22                                                            Priority Allowed    Bankruptcy     Wage Claims Net of Bankruptcy WARN & Wage
                                                                                 Wage          44 Hourly Days                         Sixty Days’ Pay &   Allowed Bankruptcy   Allowed Bankruptcy Allowed Bankruptcy Bankruptcy WARN &    WARN & Wage     Class Counsel’s Fees Claims Net of Class Counsel’s
             Last Name          First Name   Address   City     State Zip Code   Type   Wage   60 Salary Days   Per Capita Benefits       Benefits            WARN Claim           Wage Claim     WARN & Wage Claims    Wage Claims          Claims           & Expenses                   Fees
1225   Roush               Gretchen L                                                                                                                            8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1226   Roush               Jeffrey A                                                                                                                             8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
1227   Rowan               Donald Ray                                                                                                                           11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
1228   Rowe                Chris M                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1229   Rowe                George A                                                                                                                              6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1230   Rowley              Bud W                                                                                                                                 7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
1231   Runion              Timothy D                                                                                                                            10,315.96             1,863.01           12,178.97          12,178.97              -               8,109.80                           -
1232   Rutherford          Rickey                                                                                                                                7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1233   Saavedra            Nicholas A                                                                                                                            7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
1234   Sachse              Peter W                                                                                                                               8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1235   Safford             Aaron R                                                                                                                               7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
1236   Salley              Jacob                                                                                                                                 7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1237   Salmon              Tory G                                                                                                                                8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
1238   Salyer              Charles B                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1239   Sanburn             Erin K                                                                                                                                8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1240   Sanders             Joey K                                                                                                                                6,145.56             1,312.00            7,457.56           7,457.56              -               4,965.88                           -
                                                                                                                                                                                                                                                                                                                                 Case 3:19-ap-03002




1241   Sanfilippo          Shana M                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1242   Sargent             James M                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1243   Sather              LeRoy N                                                                                                                               8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
1244   Sayers              William E                                                                                                                             6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1245   Saylor              Brandon M                                                                                                                             7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
1246   Saylor              Derrick                                                                                                                              10,015.96             1,797.26           11,813.22          11,813.22              -               7,866.25                           -
1247   Saylor              Jimmy D                                                                                                                               7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
1248   Saylor              Joshua K                                                                                                                              7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1249   Saylor              Rufus A                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1250   Saylor              Tony J                                                                                                                                6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1251   Saylor              Travis L                                                                                                                              7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1252   Saylor              Wade A                                                                                                                                7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1253   Scammell            Christopher                                                                                                                           7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1254   Schanck             Henry R                                                                                                                               8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
1255   Schatz              Dakotah C                                                                                                                             8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
                                                                                                                                                                                                                                                                                                                Document




1256   Schirmer            Michael S                                                                                                                             8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1257   Schmidt             Cary E                                                                                                                                8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1258   Schmitt             Sheila M                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1259   Schnaible           Timothy L                                                                                                                             7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
1260   Schneider           Dwayne E                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1261   Schommer            Zachary H                                                                                                                             7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
1262   Schutt              Jefferson L                                                                                                                           8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1263   Seals               Dennis                                                                                                                                7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1264   Seals Jr(LM)        Gregory J                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1265   Seals{SALARY D29}   Gregory J                                                                                                                            12,215.96             2,279.45           14,495.41          13,650.00           845.41             9,089.33                        563.61
1266   Semler              James D                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1267   Senters             Tracy Q                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1268   Septka              Casey C                                                                                                                               7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
                                                                                                                                                                                                                                                                                                                            Page 54 of 90




1269   Sexton              Bobby S                                                                                                                               7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1270   Sexton              Chris M                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1271   Sharrett III        Owen A                                                                                                                                7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1272   Shell               Zachary L                                                                                                                             5,617.56             1,152.00            6,769.56           6,769.56              -               4,507.75                           -
1273   Shelton             Jacob N                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1274   Shepherd            Arnold                                                                                                                                7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
1275   Shepherd            Billy                                                                                                                                 6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1276   Shepherd            David M                                                                                                                               7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1277   Shepherd            Rueben A                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1278   Shepherd {D18}      David A                                                                                                                              11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
1279   Shields             Eddie R                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1280   Shields             Jeremiah J                                                                                                                            8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
                                                                                                                                                                                                                                                                                                         Doc 105 Filed 03/05/21 Entered 03/05/21 13:39:02




1281   Shirks              Shawn R                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1282   Short               Daniel B                                                                                                                             11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
1283   Short               Stacy L                                                                                                                               6,315.96               986.30            7,302.26           7,302.26              -               4,862.47                           -
1284   Shortridge          Jason S                                                                                                                              11,815.96             2,191.78           14,007.74          13,650.00           357.74             9,089.33                        238.49
1285   Shortridge          John P                                                                                                                                6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1286   Shortridge          Joshua P                                                                                                                              6,145.56             1,312.00            7,457.56           7,457.56              -               4,965.88                           -
1287   Shortridge Jr       Perry F                                                                                                                               7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1288   Shoun               Miles B                                                                                                                               8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1289   Siler               Terry L                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1290   Siler Jr            Terry Lee                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
                                                                                                                                                                                                                                                                                                                                 Desc Main




1291   Simerly             Matthew D                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1292   Simpson             Freddie W                                                                                                                             7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
1293   Simpson             Gregory                                                                                                                              11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
1294   Simpson             Keith                                                                                                                                11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
1295   Simpson             Waylon S                                                                                                                              7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
1296   Sipe                Daniel L                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
                                                                                                                                                                                                                                          Gen Unsecured     Priority Allowed
                                                                                                                                                                                                                                            Allowed       Bankruptcy WARN &       Gen Unsecured Allowed
                                                              Exhibit B - Amended Schedule 1                                                  Page 19 of 22                                                            Priority Allowed    Bankruptcy     Wage Claims Net of Bankruptcy WARN & Wage
                                                                                 Wage          44 Hourly Days                         Sixty Days’ Pay &   Allowed Bankruptcy   Allowed Bankruptcy Allowed Bankruptcy Bankruptcy WARN &    WARN & Wage     Class Counsel’s Fees Claims Net of Class Counsel’s
              Last Name         First Name   Address   City     State Zip Code   Type   Wage   60 Salary Days   Per Capita Benefits       Benefits            WARN Claim           Wage Claim     WARN & Wage Claims    Wage Claims          Claims           & Expenses                   Fees
1297   Sizemore           Billy K                                                                                                                                6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1298   Sizemore           Glenn E                                                                                                                                7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1299   Sizemore           Timothy Lee                                                                                                                            7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
1300   Skidmore           Keith                                                                                                                                  7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1301   Skinner            Kyle R                                                                                                                                 8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
1302   Slone              Justin P                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1303   Slone              Kevin Lee                                                                                                                             12,315.96             2,301.37           14,617.33          13,650.00           967.33             9,089.33                        644.89
1304   Slone              Steve W                                                                                                                                8,455.96             1,455.34            9,911.30           9,911.30              -               6,599.79                           -
1305   Sluss              Billy R                                                                                                                                7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1306   Sluss              Charles M                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1307   Smallwood          Bradley Kevin                                                                                                                         12,115.96             2,257.53           14,373.49          13,650.00           723.49             9,089.33                        482.33
1308   Smith              Breona R                                                                                                                               7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
1309   Smith              Donald C                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1310   Smith              Jeffery D                                                                                                                              7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1311   Smith              Jeffrey S                                                                                                                              6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
1312   Smith              John K                                                                                                                                 7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
                                                                                                                                                                                                                                                                                                                                 Case 3:19-ap-03002




1313   Smith              Logan J                                                                                                                                8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1314   Smith              Michael L                                                                                                                              7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1315   Smith              Nathaniel                                                                                                                              7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1316   Smith              Richard L                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1317   Smith              Ricky                                                                                                                                  6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1318   Smith              Robert L                                                                                                                               7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1319   Smith              Shane Elam                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1320   Smith              Shawn Travi                                                                                                                            7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1321   Smith              Thomas J                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1322   Smith              Timothy S                                                                                                                              6,990.36             1,568.00            8,558.36           8,558.36              -               5,698.89                           -
1323   Smith (Huff)       Robert D                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1324   Snodgrass          Blake E                                                                                                                                6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
1325   Snodgrass          Robert T                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1326   Snodgrass          Steven B                                                                                                                               6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1327   Solem              Shayne L                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
                                                                                                                                                                                                                                                                                                                Document




1328   Somers             Matthew J                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1329   Sowders            Paul F                                                                                                                                 6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1330   Spain              Joshua A                                                                                                                               7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
1331   Spaur              Brian D                                                                                                                                8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1332   Spears             Ethan J                                                                                                                                6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
1333   Spears             Jimmy D                                                                                                                                7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1334   Spears             Nicholas C                                                                                                                             6,831.96             1,520.00            8,351.96           8,351.96              -               5,561.45                           -
1335   Spears Jr          Jackie                                                                                                                                 7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1336   Spomer             Gary D                                                                                                                                 8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1337   Sprayberry         Joy L                                                                                                                                  8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1338   Stacy              Bueford H                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1339   Stacy              John                                                                                                                                   7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1340   Stacy              Larry Micha                                                                                                                            6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
                                                                                                                                                                                                                                                                                                                            Page 55 of 90




1341   Stacy              Nathaniel D                                                                                                                            7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1342   Stacy              Ryan B                                                                                                                                 5,617.56             1,152.00            6,769.56           6,769.56              -               4,507.75                           -
1343   Stacy              Sidney W                                                                                                                              11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
1344   Stacy              William L                                                                                                                             12,215.96             2,279.45           14,495.41          13,650.00           845.41             9,089.33                        563.61
1345   Stacy Jr           Leroy                                                                                                                                  6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1346   Stallard           Ronald D                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1347   Stamey             Cody A                                                                                                                                 7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1348   Stamper            Richard                                                                                                                                7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1349   Standifur          Joseph L                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1350   Stanford           Kristopher                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1351   Stanley            Charlie D                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1352   Stanley            Jason E                                                                                                                                6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
                                                                                                                                                                                                                                                                                                         Doc 105 Filed 03/05/21 Entered 03/05/21 13:39:02




1353   Stanley            Johnathon N                                                                                                                            6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
1354   Stanley            Printess Willi                                                                                                                         6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
1355   Stanton            William H                                                                                                                              6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1356   Stapleton          Robert Allen                                                                                                                           6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1357   Starr              Mark J                                                                                                                                 8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1358   Steele             Michael E                                                                                                                              7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1359   Steele             Tony                                                                                                                                   7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1360   Stepp              Carson R                                                                                                                               6,990.36             1,568.00            8,558.36           8,558.36              -               5,698.89                           -
1361   Stevens            Bobby                                                                                                                                  7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1362   Stewart            Jacob Rober                                                                                                                            5,617.56             1,152.00            6,769.56           6,769.56              -               4,507.75                           -
                                                                                                                                                                                                                                                                                                                                 Desc Main




1363   Stewart            Jason R                                                                                                                                6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1364   Stewart            Jonathan L                                                                                                                             7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1365   Stewart            Larry J                                                                                                                                7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1366   Stewart            MIchael J                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1367   Stewart            Tony R                                                                                                                                 6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1368   Stewart            William C                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
                                                                                                                                                                                                                                        Gen Unsecured     Priority Allowed
                                                                                                                                                                                                                                          Allowed       Bankruptcy WARN &       Gen Unsecured Allowed
                                                            Exhibit B - Amended Schedule 1                                                  Page 20 of 22                                                            Priority Allowed    Bankruptcy     Wage Claims Net of Bankruptcy WARN & Wage
                                                                               Wage          44 Hourly Days                         Sixty Days’ Pay &   Allowed Bankruptcy   Allowed Bankruptcy Allowed Bankruptcy Bankruptcy WARN &    WARN & Wage     Class Counsel’s Fees Claims Net of Class Counsel’s
             Last Name        First Name   Address   City     State Zip Code   Type   Wage   60 Salary Days   Per Capita Benefits       Benefits            WARN Claim           Wage Claim     WARN & Wage Claims    Wage Claims          Claims           & Expenses                   Fees
1369   Stewart Jr        Danny W                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1370   Stidham           David R                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1371   Stidham           Matthew W                                                                                                                             7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1372   Stiltner          Carl K                                                                                                                                6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
1373   Stiltner          Jeffrey S                                                                                                                             7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
1374   Stiltner          Phillip D                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1375   Stiltner          Steven S                                                                                                                             11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
1376   Stiltner Jr       Timothy W                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1377   Stilwell          Aaron E                                                                                                                               6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1378   Stinson           Cody L                                                                                                                                5,723.16             1,184.00            6,907.16           6,907.16              -               4,599.38                           -
1379   Stone             James D                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1380   Stover            Jacob R                                                                                                                               6,356.76             1,376.00            7,732.76           7,732.76              -               5,149.13                           -
1381   Strande           Vikki L                                                                                                                              13,431.36             2,545.84           15,977.20          13,650.00         2,327.20             9,089.33                      1,551.47
1382   Stranger          Christopher L                                                                                                                         6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1383   Street            Bradley                                                                                                                               6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1384   Street            David A                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
                                                                                                                                                                                                                                                                                                                               Case 3:19-ap-03002




1385   Strouth           Jeffery D                                                                                                                             7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1386   Sturgeon          Jeffery G                                                                                                                             6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
1387   Sturgill          Bradley D                                                                                                                             7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1388   Sturgill          Brian                                                                                                                                 6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1389   Sturgill          Christopher A                                                                                                                         7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1390   Sturgill          Daniel R                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1391   Sturgill          Joshua K                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1392   Sturgill          Rodney D                                                                                                                              7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1393   Sturgill          Shawn C                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1394   Sullivan          Macky                                                                                                                                 7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1395   Suppes            Michael L                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1396   Suppes            Vonda K                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1397   Suttles           David W                                                                                                                               6,145.56             1,312.00            7,457.56           7,457.56              -               4,965.88                           -
1398   Swanner           Garry J                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1399   Sword             Jason B                                                                                                                               9,315.96             1,643.84           10,959.80          10,959.80              -               7,297.97                           -
                                                                                                                                                                                                                                                                                                              Document




1400   Tabor             Joshua C                                                                                                                              7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1401   Tackett           Brian K                                                                                                                               6,145.56             1,312.00            7,457.56           7,457.56              -               4,965.88                           -
1402   Tackett           Michael Shad                                                                                                                          7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1403   Tackett           Randy L                                                                                                                              12,515.96             2,345.21           14,861.17          13,650.00         1,211.17             9,089.33                        807.45
1404   Tarter            Wynn S                                                                                                                               10,776.96             1,964.05           12,741.01          12,741.01              -               8,484.05                           -
1405   Taylor            Christopher B                                                                                                                         7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
1406   Taylor            Danny R                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1407   Taylor            James S                                                                                                                               7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
1408   Taylor            Jimmy D                                                                                                                               7,729.56             1,792.00            9,521.56           9,521.56              -               6,340.27                           -
1409   Taylor            Kenny A                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1410   Taylor            Mark D                                                                                                                               10,015.96             1,797.26           11,813.22          11,813.22              -               7,866.25                           -
1411   Terrazas          Anthony B                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1412   Terry             Stephen M                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
                                                                                                                                                                                                                                                                                                                          Page 56 of 90




1413   Thacker           Billy R                                                                                                                               7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1414   Thacker           Matthew                                                                                                                               6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1415   Thomas            Charles D                                                                                                                             7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1416   Thomas            Dakota R                                                                                                                              6,356.76             1,376.00            7,732.76           7,732.76              -               5,149.13                           -
1417   Thomas            Dwight D                                                                                                                             12,115.96             2,257.53           14,373.49          13,650.00           723.49             9,089.33                        482.33
1418   Thomas            Matthew D                                                                                                                             6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
1419   Thomas            Sandra A                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1420   Thomas            Shaun T                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1421   Thomas            Timothy D                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1422   Thomas            Travis L                                                                                                                              6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1423   Thomas (D7)       Jimmy W                                                                                                                              11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
1424   Thompson          Stephen D                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
                                                                                                                                                                                                                                                                                                       Doc 105 Filed 03/05/21 Entered 03/05/21 13:39:02




1425   Thybo             Rhonda D                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1426   Tiller            Jeffrey N                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1427   Timm              Karla J                                                                                                                               8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
1428   Tincher           Ronald J                                                                                                                             12,815.96             2,410.96           15,226.92          13,650.00         1,576.92             9,089.33                      1,051.28
1429   Tolaver           Sean G                                                                                                                                6,145.56             1,312.00            7,457.56           7,457.56              -               4,965.88                           -
1430   Tolliver          Mark M                                                                                                                                6,039.96             1,280.00            7,319.96           7,319.96              -               4,874.25                           -
1431   Tolliver          Mcclellan L                                                                                                                           6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1432   Tomlinson         John B                                                                                                                               11,615.96             2,147.95           13,763.91          13,650.00           113.91             9,089.33                         75.94
1433   Tousignant        Scott R                                                                                                                               7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
1434   Townsend          Steven A                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
                                                                                                                                                                                                                                                                                                                               Desc Main




1435   Tremblay          Kristopher                                                                                                                            6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
1436   Trent             Bobby                                                                                                                                 6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
1437   Tritt             Rodney L                                                                                                                              7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
1438   Trompke           Richard D                                                                                                                             8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1439   Trotter           Stacy A                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1440   Trusty            Kelly                                                                                                                                 6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
                                                                                                                                                                                                                                         Gen Unsecured     Priority Allowed
                                                                                                                                                                                                                                           Allowed       Bankruptcy WARN &       Gen Unsecured Allowed
                                                             Exhibit B - Amended Schedule 1                                                  Page 21 of 22                                                            Priority Allowed    Bankruptcy     Wage Claims Net of Bankruptcy WARN & Wage
                                                                                Wage          44 Hourly Days                         Sixty Days’ Pay &   Allowed Bankruptcy   Allowed Bankruptcy Allowed Bankruptcy Bankruptcy WARN &    WARN & Wage     Class Counsel’s Fees Claims Net of Class Counsel’s
              Last Name        First Name   Address   City     State Zip Code   Type   Wage   60 Salary Days   Per Capita Benefits       Benefits            WARN Claim           Wage Claim     WARN & Wage Claims    Wage Claims          Claims           & Expenses                   Fees
1441   Tubbs              John D                                                                                                                                8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1442   Turner             Gardner M                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1443   Turner             Gary R                                                                                                                                6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1444   Turner             Gregory A                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1445   Turner             James Ray                                                                                                                             7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1446   Turner             Larry W                                                                                                                              11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
1447   Turner             Mark A                                                                                                                                7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1448   Turner             Micky                                                                                                                                 7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1449   Turner             Tyler R                                                                                                                               8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1450   Turner{D9}         David                                                                                                                                 7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1451   Underwood          Richard W                                                                                                                             6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1452   Van Horn           Barbara J                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1453   Vance              Bryson Wayne                                                                                                                          5,617.56             1,152.00            6,769.56           6,769.56              -               4,507.75                           -
1454   Vance              Estil W                                                                                                                               7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1455   Vandergrift        Rusty L                                                                                                                               8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1456   Vannatter          Austin D                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
                                                                                                                                                                                                                                                                                                                                Case 3:19-ap-03002




1457   Vannatter          Tommy D                                                                                                                              12,115.96             2,257.53           14,373.49          13,650.00           723.49             9,089.33                        482.33
1458   Vanover            Joseph Wayne                                                                                                                          6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1459   Varney             Mark R                                                                                                                                6,673.56             1,472.00            8,145.56           8,145.56              -               5,424.01                           -
1460   Vaughn             David                                                                                                                                11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
1461   Vaughn             Eric E                                                                                                                                8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1462   Vetter             Bryan A                                                                                                                               7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
1463   Viergutz           Vern G                                                                                                                                8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1464   Viers              Christopher D                                                                                                                        12,715.96             2,389.04           15,105.00          13,650.00         1,455.00             9,089.33                        970.00
1465   Vokenroth          Deborah L                                                                                                                             7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
1466   Vokenroth          Rudi T                                                                                                                                7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
1467   Vonada             Matthew D                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1468   Waldner            Samantha E                                                                                                                            7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
1469   Waldron            Rodney J                                                                                                                              7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1470   Walker             Jamie L                                                                                                                               6,315.96               986.30            7,302.26           7,302.26              -               4,862.47                           -
1471   Walker             Louis M                                                                                                                               8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
                                                                                                                                                                                                                                                                                                               Document




1472   Walker             Michael S                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1473   Walker             Nathan A                                                                                                                              7,201.56             1,632.00            8,833.56           8,833.56              -               5,882.14                           -
1474   Walker             Ryan R                                                                                                                               13,417.06             2,542.71           15,959.77          13,650.00         2,309.77             9,089.33                      1,539.85
1475   Walker Jr          Michael D                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1476   Walker{D21}        Russell N                                                                                                                             7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1477   Wallett            Rory A                                                                                                                                8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1478   Walls              Derick Lee                                                                                                                            7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
1479   Walters            Jack M                                                                                                                                8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1480   Walton             Kerry W                                                                                                                              11,815.96             2,191.78           14,007.74          13,650.00           357.74             9,089.33                        238.49
1481   Warax              David W                                                                                                                               8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1482   Ward               James E                                                                                                                              11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
1483   Warman             Max B                                                                                                                                 4,615.96               613.70            5,229.66           5,229.66              -               3,482.35                           -
1484   Wasserburger       Jeremiah H                                                                                                                            8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
                                                                                                                                                                                                                                                                                                                           Page 57 of 90




1485   Watts              Austin Blake                                                                                                                          6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
1486   Watts              Joseph T                                                                                                                              6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1487   Watts'             Dennis                                                                                                                                8,315.96             1,424.66            9,740.62           9,740.62              -               6,486.14                           -
1488   Weaver             Steven R                                                                                                                              8,815.96             1,534.25           10,350.21          10,350.21              -               6,892.05                           -
1489   Webb               Cody S                                                                                                                                7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
1490   Webb               Jack R                                                                                                                                7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
1491   Webb               Perry L                                                                                                                               7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1492   Webber             Daniel B                                                                                                                              8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1493   Wegner             Justin R                                                                                                                              8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1494   Wells Jr           Jackie R                                                                                                                              7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
1495   West               Donald G                                                                                                                              7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
1496   West               Kristen A                                                                                                                             8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
                                                                                                                                                                                                                                                                                                        Doc 105 Filed 03/05/21 Entered 03/05/21 13:39:02




1497   Whitaker           Allen L                                                                                                                               5,617.56             1,152.00            6,769.56           6,769.56              -               4,507.75                           -
1498   Whitaker           Gary Wayne                                                                                                                            6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1499   White              April Lynn C                                                                                                                          8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1500   White              Derek A                                                                                                                               7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1501   White              Jecybelle C                                                                                                                           8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1502   White              Jeffery W                                                                                                                             7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1503   White              Vaughn K                                                                                                                             11,045.76             2,022.97           13,068.73          13,068.73              -               8,702.27                           -
1504   Whited             Paul David                                                                                                                            7,307.16             1,664.00            8,971.16           8,971.16              -               5,973.76                           -
1505   Whitehead          Danny A                                                                                                                               6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1506   Whitehead          Donavon A                                                                                                                             6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
                                                                                                                                                                                                                                                                                                                                Desc Main




1507   Whitley            Charles                                                                                                                               6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1508   Wiard              Michael C                                                                                                                             8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1509   Widener            Lenice D                                                                                                                             11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
1510   Wiechert           Kameron M                                                                                                                             8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1511   Wiitala            Chad W                                                                                                                                8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
1512   Wiitala-Lindgren   Carrie L                                                                                                                              6,377.76               999.85            7,377.61           7,377.61              -               4,912.64                           -
                                                                                                                                                                                                                                             Gen Unsecured     Priority Allowed
                                                                                                                                                                                                                                               Allowed       Bankruptcy WARN &       Gen Unsecured Allowed
                                                            Exhibit B - Amended Schedule 1                                                       Page 22 of 22                                                            Priority Allowed    Bankruptcy     Wage Claims Net of Bankruptcy WARN & Wage
                                                                               Wage               44 Hourly Days                         Sixty Days’ Pay &   Allowed Bankruptcy   Allowed Bankruptcy Allowed Bankruptcy Bankruptcy WARN &    WARN & Wage     Class Counsel’s Fees Claims Net of Class Counsel’s
              Last Name       First Name   Address   City     State Zip Code   Type   Wage        60 Salary Days   Per Capita Benefits       Benefits            WARN Claim           Wage Claim     WARN & Wage Claims    Wage Claims          Claims           & Expenses                   Fees
1513   Wik                Jon E                                                                                                                                     8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1514   Wilder             Brandon D                                                                                                                                 7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1515   Willbanks          Ronald J                                                                                                                                  7,273.37             1,653.76            8,927.13           8,927.13              -               5,944.44                           -
1516   Williams           Dwayne                                                                                                                                    8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1517   Williams           Gary R                                                                                                                                   12,682.96             2,381.81           15,064.77          13,650.00         1,414.77             9,089.33                        943.18
1518   Williams           Jacob T                                                                                                                                   8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1519   Williams           James D                                                                                                                                  10,015.96             1,797.26           11,813.22          11,813.22              -               7,866.25                           -
1520   Williams           James L                                                                                                                                   6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
1521   Williams           Thomas A                                                                                                                                  6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
1522   Williams{P7}       Gary C                                                                                                                                    6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1523   Williamson         Josiah A                                                                                                                                  6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1524   Willig             Jeffery                                                                                                                                   6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
1525   Willis             Kelly Dean                                                                                                                                7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1526   Willrodt           Andreas                                                                                                                                  11,104.09             2,035.75           13,139.84          13,139.84              -               8,749.63                           -
1527   Wilson             Jeffery W                                                                                                                                 7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1528   Wilson             Richard C                                                                                                                                 7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
                                                                                                                                                                                                                                                                                                                                    Case 3:19-ap-03002




1529   Wilson             William J                                                                                                                                 7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1530   Wilson             Zachary H                                                                                                                                 7,095.96             1,600.00            8,695.96           8,695.96              -               5,790.51                           -
1531   Wimber             Ryan H                                                                                                                                    8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1532   Wineteer           Tara D                                                                                                                                    8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1533   Wintermute         Brian E                                                                                                                                   7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
1534   Wise               John E                                                                                                                                    8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1535   Witt               Steven A                                                                                                                                  6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1536   Woods              Deonandre D                                                                                                                               7,849.94             1,828.48            9,678.42           9,678.42              -               6,444.72                           -
1537   Woodward           Luke C                                                                                                                                    7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1538   Woolwine II        Eugene A                                                                                                                                  7,201.56             1,632.00            8,833.56           8,833.56              -               5,882.14                           -
1539   Wooton             Benjamin R                                                                                                                               11,115.96             2,038.36           13,154.32          13,154.32              -               8,759.27                           -
1540   Wooton             James W                                                                                                                                   7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1541   Worden             Chad D                                                                                                                                    8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1542   Worley             Anthony D                                                                                                                                 7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1543   Worley             Bobby Ray                                                                                                                                 6,884.76             1,536.00            8,420.76           8,420.76              -               5,607.26                           -
                                                                                                                                                                                                                                                                                                                   Document




1544   Wright             Donald N                                                                                                                                 12,715.96             2,389.04           15,105.00          13,650.00         1,455.00             9,089.33                        970.00
1545   Wulf               Darin G                                                                                                                                   8,867.93             2,136.96           11,004.89          11,004.89              -               7,327.99                           -
1546   Wyatt              Charles D                                                                                                                                 7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1547   Wynn               Kyle W                                                                                                                                    7,518.36             1,728.00            9,246.36           9,246.36              -               6,157.01                           -
1548   Wynn               Myerl R                                                                                                                                   6,462.36             1,408.00            7,870.36           7,870.36              -               5,240.76                           -
1549   Wynn               Timothy J                                                                                                                                 5,617.56             1,152.00            6,769.56           6,769.56              -               4,507.75                           -
1550   Yates              Casey S                                                                                                                                   8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1551   Yates              David M                                                                                                                                   6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1552   Yates              Scotty B                                                                                                                                 11,165.96             2,049.32           13,215.28          13,215.28              -               8,799.86                           -
1553   Yeary              Kevin W                                                                                                                                   8,815.96             1,534.25           10,350.21          10,350.21              -               6,892.05                           -
1554   Yonts              Jimmy                                                                                                                                     6,145.56             1,312.00            7,457.56           7,457.56              -               4,965.88                           -
1555   Young              Gary W                                                                                                                                    6,567.96             1,440.00            8,007.96           8,007.96              -               5,332.38                           -
1556   Young              Michelle L                                                                                                                                8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
                                                                                                                                                                                                                                                                                                                               Page 58 of 90




1557   Zachery            Michael E                                                                                                                                 7,835.16             1,824.00            9,659.16           9,659.16              -               6,431.89                           -
1558   Zahrowski          Chad A                                                                                                                                    8,149.85             1,919.36           10,069.21          10,069.21              -               6,704.94                           -
1559   Zarecky            Daniel L                                                                                                                                  8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1560   Ziegler            Travis D                                                                                                                                  8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -
1561   Zufelt             Brian M                                                                                                                                   8,443.42             2,008.32           10,451.74          10,451.74              -               6,959.66                           -


                                                                                                                                                               12,298,601.77         2,711,494.11      15,010,095.88      14,927,398.72        82,697.16         9,939,934.48                     55,131.44



                                                                                                                                                                       Gross Cash Payment                125,000.00
                                                                                                                                                     Class Representative Service Payments                30,000.00
                                                                                                                                                                       Class Counsel s Fees               31,666.67
                                                                                                                                                                                                                                                                                                            Doc 105 Filed 03/05/21 Entered 03/05/21 13:39:02




                                                                                                                                                                  Class Counsel s Expenses                63,335.33
                                                                                                                                                         Remaining Class Counsel Expenses                 11,664.67

                                                                                                                           Priority Allowed Bankruptcy WARN & Wage Claims                             14,927,398.72
                                                                                                                                                         Class Counsel s Fees                          4,975,799.57
                                                                                                                                                    Class Counsel s Expenses                              11,664.67
                                                                                       Priority Allowed Bankruptcy WARN & Wage Claims Net of Class Counsel s Fees & Expenses                           9,939,934.48

                                                                                                                     Gen Unsecured Allowed Bankruptcy WARN & Wage Claims                                   82,697.16
                                                                                                                                                        Class Counsel s Fees                               27,565.72
                                                                                                                                                                                                                                                                                                                                    Desc Main




                                                                                             Gen Unsecured Allowed Bankruptcy WARN & Wage Claims Net of Class Counsel s Fees                               55,131.44
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                                     Exhibit A
                         Form of Preliminary Settlement Order
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                             UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF WEST VIRGINIA


  In re:
                                                           Chapter 11
  BLACKJEWEL, L.L.C., et al.                               Case No. 19-bk-30289
                                        Debtors            (Jointly Administered)
  --------------------------------------------------------
  DAVID ENGELBRECHT, JOSIAH
  WILLIAMSON, GREGORY MEFFORD on behalf
  of themselves and all others similarly situated,         Adversary Proceeding
                                                           No. 3:19-ap-03002
                                        Plaintiffs,

  v.

  BLACKJEWEL, L.L.C.,


                                        Defendants.
  --------------------------------------------------------


  In re:
                                                           Chapter 11
  BLACKJEWEL, L.L.C., et al.                               Case No. 19-bk-30289
                                        Debtors            (Jointly Administered)
  --------------------------------------------------------
  SHAWN ABNER, JACOB HELTON, AND BILLY
  HATTON on behalf of themselves and all others
  similarly situated,                                      Adversary Proceeding
                                                           No. 3:19-ap-03003
                                        Plaintiffs,
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  v.

  BLACKJEWEL, L.L.C., REVELATION
  ENERGY, LLC, LEXINGTON COAL CO., LLC,
  JEFF HOOPS, SR., JEFFERS A. HOOPS, II,

                                        Defendants.
  --------------------------------------------------------

      ORDER PURSUANT TO SECTION 105 OF THE BANKRUPTCY CODE AND
    BANKRUPTCY RULES 7023 AND 9019 (I) PRELIMINARILY APPROVING THE
    SETTLEMENT, (II) CERTIFYING A CLASS OF WARN ACT CLAIMANTS FOR
 SETTLEMENT PURPOSES ONLY, (III) APPOINTING CLASS COUNSEL AND CLASS
 REPRESENTATIVES, (IV) APPROVING THE FORM AND MANNER OF NOTICE TO
      CLASS MEMBERS OF THE CLASS CERTIFICATION AND SETTLEMENT,
  (V) SCHEDULING A FAIRNESS HEARING TO CONSIDER FINAL APPROVAL OF
          THE SETTLEMENT, AND (VI) GRANTING RELATED RELIEF

         Upon the Joint Motion of Plaintiffs David Engelbrecht, Josiah Williamson, Gregory

 Mefford, Shawn Abner, Jacob Helton, and Billy Hatton (the “Plaintiffs”), together with

 Blackjewel, L.L.C. and Revelation Energy, LLC (together, the “Debtors” or “Debtor-Defendants”)

 and Lexington Coal Co., LLC, Jeff Hoops, Sr., and Jeffery A. Hoops, II (the “Non-Debtor

 Defendants” and, collectively with the Debtor-Defendants, the “Defendants” and, together with

 the Plaintiffs, the “Parties”), by and through their respective counsel, pursuant to Section 105 of

 the Bankruptcy Code and Bankruptcy Rules 9019 and 7023 for the entry of an Order (1) approving

 the Settlement, Release and Allowance of Claim Agreement (the “Settlement Agreement”);

 (2) preliminarily approving the Settlement Agreement pursuant to Bankruptcy Rule 7023;

 (3) certifying the WARN Class for settlement purposes only, including the appointment of

 Lankenau & Miller, LLP, The Gardner Firm, P.C., Petsonk PLLC, Mountain State Justice, Inc.

 and Pillersdorf Law Office as Class Counsel and David Engelbrecht, Josiah Williamson, Gregory

 Mefford, Shawn Abner, Jacob Helton, and Billy Hatton, as Class Representatives; (4) approving

 the form and manner of notice of the Settlement to the members of the Class (the “Class Notice”);



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 (5) scheduling a fairness hearing to consider final approval of the Settlement Agreement (the

 “Fairness Hearing”); (6) finally approving the Settlement Agreement following the fairness

 hearing (the “Final Settlement Order”); and (7) granting related relief (the “Joint Motion”);1 and

 the Court having considered the Joint Motion and any opposition thereto; and the Court having

 found that proper and sufficient notice of the Joint Motion has been given and that no further notice

 of the Joint Motion is required except as set forth herein; and that, based on the range of possible

 outcomes and the cost, delay, and uncertainty associated with further litigation, the Settlement

 Agreement is reasonable and preliminary approval of the Settlement Agreement is warranted and

 in the best interest of the Estates;

         IT IS HEREBY ORDERED THAT:

         1.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334.

         2.       This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

         3.       The Settlement is preliminarily approved, subject to final approval at the Fairness

     Hearing.

         4.        The Class is certified pursuant to Rule 23 of the Federal Rules of Civil Procedure,

     as applicable through Rule 7023 of the Federal Rules of Bankruptcy Procedure, and is

     comprised of all persons who were employed by the Debtors at facilities located in the Eastern

     Division and the Western Division and who ceased working for the Debtors on or after July 1,

     2019 solely, and who do not file a timely request to opt out of the Class. For the avoidance of

     doubt, the Class excludes the Debtors’ employees who were brought back to work by the

     Debtors between the dates of July 1, 2019 and November 4, 2019, a list of which is attached

     to the Settlement as Exhibit C.


 1
  All terms not otherwise defined herein shall have the meaning ascribed to them in the Joint Motion or the Settlement
 Agreement, as applicable.

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       5.      David Engelbrecht, Josiah Williamson, Gregory Mefford, Shawn Abner, Jacob

    Helton, and Billy Hatton are appointed as Class Representatives.

       6.      Lankenau & Miller, LLP, The Gardner Firm, P.C., Petsonk PLLC, Mountain State

    Justice, Inc. and Pillersdorf Law Office are appointed Class Counsel pursuant to Civil Rule

    23(c)(1)(B).

       7.      The Class Notice, substantially in the form annexed to the Settlement as Exhibit D,

    meets the requirements of Fed. R. Civ. P. 23(c)(2)(B) and is hereby approved.

       8.      Notice to the Class Members identified in Amended Schedule 1 attached to the

    Settlement Agreement by first class mail; postage prepaid, at their last known address is

    reasonable and the best notice practicable under the circumstances and constitutes due and

    sufficient notice to all potential Class Members in full compliance with the notice requirements

    of Fed. R. Civ. P. 23 and such mailing shall be made by Class Counsel within five (5) business

    days following entry of this Order.

       9.      Notwithstanding anything herein or in any pleadings relating to the Settlement,

    nothing herein or therein shall be deemed to constitute a release by the Debtors or any of their

    affiliates, or their Estates, of any claims whatsoever which such parties may have against the

    Non-Debtor Defendants or any third parties. Nothing herein or therein shall be deemed to

    constitute a release by the Non-Debtor Defendants or any of their affiliates of any claims

    whatsoever which such parties may have against the Debtors or any third parties.

       10.     Any Class Members who wish to file an objection to the proposed Settlement or

    exercise their right to opt-out of the Class must do so in accordance with the deadlines and

    instructions set out in the Class Notice. Any such opt-outs or objections must be received by




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    the entities listed in the Class Notice no later than thirty (30) days following the date of mailing

    of the Class Notice.

           11.   The final Fairness Hearing regarding the Settlement Agreement is scheduled to be

    held on _____________, 2021 at _____ _.m. prevailing Eastern Time. The final Fairness

    Hearing may be continued from time to time by the Court without further notice other than the

    announcement of the adjourned date(s) at the final Fairness Hearing or any continued hearing.

           12.   The Court shall retain jurisdiction over all matters arising pursuant to or related to

    the relief granted by this Order.

 Presented By:


 Joe M. Supple (W.Va. Bar No. 8013)
 SUPPLE LAW OFFICE, PLLC
 801 Viand Street
 Point Pleasant, WV 25550
 304-675-6249
 joe.supple@supplelawoffice.com

 - and –

 /s/ Stephen D. Lerner
 Stephen D. Lerner
 Nava Hazan
 Travis A. McRoberts
 SQUIRE PATTON BOGGS (US) LLP
 201 E. Fourth Street, Suite 1900
 Cincinnati, Ohio 45202
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 Co-Counsel for the Debtors and
 Debtors-in-Possession



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                                     Exhibit B
                           Form of Final Settlement Order
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                            UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF WEST VIRGINIA


  In re:
                                                             Chapter 11
  BLACKJEWEL, L.L.C., et al.                                 Case No. 19-bk-30289
                                        Debtors              (Jointly Administered)
  --------------------------------------------------------
  DAVID ENGELBRECHT, JOSIAH
  WILLIAMSON, GREGORY MEFFORD on behalf
  of themselves and all others similarly situated,         Adversary Proceeding
                                                           No. 3:19-ap-03002
                                        Plaintiffs,

  v.

  BLACKJEWEL, L.L.C.,


                                        Defendants.
  --------------------------------------------------------


  In re:
                                                             Chapter 11
  BLACKJEWEL, L.L.C., et al.                                 Case No. 19-bk-30289
                                        Debtors              (Jointly Administered)
  --------------------------------------------------------
  SHAWN ABNER, JACOB HELTON, AND BILLY
  HATTON on behalf of themselves and all others
  similarly situated,                                      Adversary Proceeding
                                                           No. 3:19-ap-03003
                                        Plaintiffs,
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  v.

  BLACKJEWEL, L.L.C., REVELATION
  ENERGY, LLC, LEXINGTON COAL CO., LLC,
  JEFF HOOPS, SR., JEFFERS A. HOOPS, II,

                                        Defendants.
  --------------------------------------------------------


   FINAL ORDER APPROVING SETTLEMENT UNDER FEDERAL RULE OF CIVIL
      PROCEDURES 23 AND FEDERAL BANKRUPTCY RULES 7023 AND 9019

         UPON the Order dated __________, 2021 [Dkt. No. __] (the “Preliminary Settlement

 Order”) preliminarily approving the Joint Motion of Plaintiffs David Engelbrecht, Josiah

 Williamson, Gregory Mefford, Shawn Abner, Jacob Helton, and Billy Hatton (the “Plaintiffs”),

 together with Blackjewel, L.L.C. and Revelation Energy, LLC (the “Debtors” or “Debtor-

 Defendants”) and Lexington Coal Co., LLC, Jeff Hoops, Sr., and Jeffery A. Hoops, II (the “Non-

 Debtor Defendants” and, collectively with the Debtor-Defendants, the “Defendants” and,

 together with the Plaintiffs, the “Parties”), by and through their respective counsel, pursuant to

 Section 105 of the Bankruptcy Code and Bankruptcy Rules 9019 and 7023 for the entry of an

 Order (1) approving the Settlement, Release and Allowance of Claim Agreement (the

 “Settlement Agreement”); (2) preliminarily approving the Settlement Agreement pursuant to

 Bankruptcy Rule 7023; (3) certifying the WARN Class for settlement purposes only, including

 the appointment of Lankenau & Miller, LLP, The Gardner Firm, P.C., Petsonk PLLC, Mountain

 State Justice, Inc. and Pillersdorf Law Office as Class Counsel and David Engelbrecht, Josiah

 Williamson, Gregory Mefford, Shawn Abner, Jacob Helton, and Billy Hatton as Class

 Representatives; (4) approving the form and manner of notice of the Settlement to the members

 of the Class (the “Class Notice”); (5) scheduling a fairness hearing to consider final approval of

 the Settlement Agreement (the “Fairness Hearing”); (6) finally approving the Settlement
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 Agreement following the fairness hearing (the “Final Settlement Order”); and (7) granting

 related relief (the “Joint Motion”);1 the Court having reviewed the Joint Motion and any

 objections thereto, and being fully advised; the Court finding that: (a) the Court has jurisdiction

 over this matter pursuant to 28 U.S.C. § 1334, (b) this is a core proceeding pursuant to 28 U.S.C.

 § 157(b)(2), (c) notice of the Joint Motion and the hearing thereon was sufficient under the

 circumstances, and (d) the Court having reviewed the terms of the Settlement; and the Court

 having determined that the legal and factual bases set forth in the Joint Motion establish just

 cause for the relief granted herein; the Court having determined that the relief sought in the Joint

 Motion is in the best interest of the Estates; and after due deliberations and sufficient cause

 appearing therefore,

 IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

           1.    The Joint Motion is GRANTED in its entirety.

           2.    All objections to the Joint Motion or the relief requested in the Joint Motion, if

 any, that have not been withdrawn, waived or settled, and all reservations of rights in such

 objections, if any, shall be and hereby are, OVERRULED in all respects on the merits and

 denied.

           3.    The Settlement Agreement, a true and correct copy of which is attached as Exhibit

 A, is approved in all respects as being fair, reasonable, adequate and falling within the range of

 reasonableness.

           4.    The Settlement shall become binding upon the Parties and the Class, as set forth

 in the Settlement.




 1
  All terms not otherwise defined herein shall have the meaning ascribed to them in the Joint Motion or the
 Settlement Agreement, as applicable.
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        5.      Notwithstanding anything herein or in any pleadings relating to the Settlement,

 nothing herein or therein shall be deemed to constitute a release by the Debtors or any of their

 affiliates, or their Estates, of any claims whatsoever which such parties may have against the

 Non-Debtor Defendants or any third parties. Nothing herein or therein shall be deemed to

 constitute a release by the Non-Debtor Defendants or any of their affiliates of any claims

 whatsoever which such parties may have against the Debtors or any third parties.

        6.      The entry of this Order is without prejudice to the relief granted in the Preliminary

 Settlement Order, and entry of this Order shall not serve to extend or stay the time of filing any

 appeal regarding any of the relief granted in the Preliminary Settlement Order.

        7.      The Parties are hereby authorized and empowered to take such steps and

 perform such acts as may be necessary to carry out the terms of this Order and the Settlement

 Agreement.

        8.      Upon the Effective Date and except for the rights expressly arising out of,

 provided for, or reserved in the Settlement, the Class Members (excluding Opt-Outs), fully and

 forever release and discharge the Released Parties of and from the Released Claims. Further,

 upon the Effective Date, as defined in the Settlement, all Released Claims shall be deemed

 waived and any Released Claims that have been scheduled on behalf of, or filed by, any Class

 Members in the Bankruptcy Case are disallowed in their entirety and shall be deemed expunged

 from the applicable schedule(s) or claims register(s) without the need for any further action.

 Notwithstanding the foregoing, any Class Members’ claims (or any DOL claims on their behalf)

 for benefits pursuant to Section 502(a)(1)(B) of ERISA under either (1) the Blackjewel LLC

 401(k) Plan (the “Blackjewel LLC 401(k) Plan”) or (2) the Self-Insured Health Plan that was in

 place until August 31, 2019, shall be excluded from the scope of the Released Claims, as defined

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 in the Settlement, and shall not be deemed released, satisfied or expunged by operation of the

 Settlement Agreement. The Debtors retain the right to respond to such claims on an individual

 basis with respect to, for example, their amount, validity and priority status. Nothing in the

 Settlement Agreement shall be construed to limit any rights, if any, that the Non-Debtor

 Defendants may now have to defend and/or address any claims for benefits that may be asserted

 against them under either the Blackjewel LLC 401(k) Plan or under the Self-Insured Health Plan

           9.    This Court shall retain jurisdiction over all matters arising from or related to

 the interpretation and/or implementation of this Order.

           10.   This Order is effective immediately upon entry.

 Presented By:


 Joe M. Supple (W.Va. Bar No. 8013)
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 801 Viand Street
 Point Pleasant, WV 25550
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 - and –

 /s/ Stephen D. Lerner
 Stephen D. Lerner
 Nava Hazan
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 Co-Counsel for the Debtors and
 Debtors-in-Possession
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                                   EXHIBIT C
                                Excluded Employees
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                                                                                     Wage            Per Capita
                   Employee             Address           City    State   Zip Code   Type     Wage    Benefits
1    Adkins, Angela M
2    Amstadt, Robert S
3    Anderson, Sheldon
4    Avery, Jerry S
5    Back, Tabitha N
6    Baird, Justin E
7    Baker, Andrew W
8    Baker, Daniel P
9    Berger, Walter M
10   Berry', Clifford
11   Blankenship SR {D18}, Mark A
12   Bonsness, Chad A
13   Branham, Johnny
14   Brisko, Randy W
15   Brosa, Jeff K
16   Brown, David A
17   Bullion, David D
18   Burns, David M
19   Callahan, Raymond M
20   Case, Joseph C
21   Caudill, Jason
22   Caudill, Randall B
23   Christopherson, Justin C
24   Clark, Toby
25   Cole SR {D18}, Wilburn J
26   Collier, Will
27   Collins, James Sam
28   Covington, Dustin
29   Creech, David W
30   Creech, Paul D
31   Culey, Bret C
32   Cundy, Scott E
33   Damron, Brad A
34   Davies, Marvin M
35   Dean, Jerry L
36   Dempsey, Michael S
37   DesLauriers, John L
38   Dillinger, Phillip J
39   Dotson, Jimmy A
40   Dotson, Justin O
41   Douglas, Dillon R
42   Duvall, John L
43   Ealy, Corey W
44   Ehrhard, Shaun R
45   Elder, Brandy M
46   Farmer, Steven
47   Fisk, Christopher J
48   Fox, Kenneth D
49   Freeman, Jennifer M
50   Frye, Eric T
51   Fuller, Marty A
52   Gatlin, Kellen L
53   Gatlin, Martin L
54   Gilbert, Forrest D
55   Gilbert, Michael P
56   Goff, Cory J
57   Goins, James K
58   Gray, Jacob T
59   Griffith, Gary L
60   Gross, Roy L
61   Guffey, Kelly S
62   Gulley, Steven J
63   Halfpop, Douglas E
64   Haluzak, Roger M
65   Hanson, Timothy A
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                                                                                 Wage            Per Capita
                    Employee        Address           City    State   Zip Code   Type     Wage    Benefits
 66   Harris, James E
 67   Harrison, Steven
 68   Harvey, Joseph W
 69   Hatfield, Robie L
 70   Hatzenbuhler, Phillip R
 71   Hayden, Jesse L
 72   Haynes, Lauren
 73   Herrmann, Carol A
 74   Hetrick II', Donald P
 75   Hibbs, Lonnie L
 76   Hoff, Jordan L
 77   Hogan, Jason M
 78   Hoskins, Vernon
 79   Housley, Jerry W
 80   Hunter, Caroline
 81   Hylton, Daniel R
 82   Inscore, David S
 83   Ison, David A
 84   Jennings, Michael C
 85   Jensen, James K
 86   Johnson, Joshua J
 87   Johnson, Michael A
 88   Joseph, Jeremie
 89   Kapinus, Joseph J
 90   Kellebrew, Karsen L
 91   Kercher, Scott A
 92   Kesler, Drew R
 93   Kinnan, Casey M
 94   Kiser, Timothy H
 95   Kline, Alan W
 96   Kohl, Benjamin J
 97   Kottraba, Timothy S
 98   Lambert, Larry L
 99   Landreth, Steven N
100   Laub, Alec M
101   Lawson, Lawrence
102   Lee, Roggie O
103   Lester, Jessee
104   Lewis, Patrick A
105   Lewis, Steven D
106   Little, Jonathan R
107   Lloyd, Tony D
108   Long, Gary Dalto
109   Long, Gary W
110   Lusk, Chadwick J
111   Lynch, John S
112   Lynn, Colin J
113   Macdonald, Charlie E
114   Maggard, Scott A
115   Mahaney, Jaima
116   Marion, William S
117   Martell, Thomas J
118   Martin, James D
119   Martin, Ralph
120   Marty, Stephanie L
121   Matda, Frank R
122   Mayer, Victor J
123   McBrayer, Amy L
124   McClure, Grant L
125   Melzer, Arlen J
126   Middleton, Robbie C
127   Miller, George C
128   Miller, Gerald J
129   Mitchell, Charles D
130   Moore, Charles K
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                                                                                 Wage            Per Capita
                   Employee         Address           City    State   Zip Code   Type     Wage    Benefits
131   Moore, Douglas M
132   Moore, Jimmy D
133   Morfeld, William A
134   Morgan, Lonnie D
135   Music, Kevin L
136   Nelson, Andrew D
137   Nelson, Dale D
138   Newton, Roy J
139   Nordin, Bruce A
140   Norris, Wade J
141   North, Marshall
142   Okray, Tammy K
143   Oliver, Jerry D
144   Orr, David S
145   Osborne, David W
146   Overbay, Stephen T
147   Palmer, Kyron A
148   Patterson, David P
149   Patton, Brian A
150   Payne, Emilee
151   Perez, Eric B
152   Pilcher, Michael L
153   Pilon, Jeoffrey J
154   Prince, Jonathan W
155   Ranum, Patrick K
156   Reed, Jeremiah R
157   Reynolds, Paul E
158   Richardson, John A
159   Richter, Ronald M
160   Riggle, Susan L
161   Robinson, Kimberly E
162   Rohrich, Mark A
163   Rokusek, Mark A
164   Ross, Adam W
165   Rothleutner, Eric M
166   Runyon, David E
167   Sansom, Herman L
168   Schmidt, Dustin R
169   Schmitt, Lyle J
170   Scott, James C
171   Scribner, Brian L
172   Shepherd, Stasha S
173   Sidener, Timothy W
174   Sisson, Dwayne E
175   Sisson, Vance D
176   Slone, Christopher L
177   Slusher, David
178   Smith, Daniel L
179   Smith, Samuel L
180   Stenberg, Ryan C
181   Stephens, Garret W
182   Stiltner, Christopher T
183   Swan, Jesse L
184   Taylor, Kevin M
185   Thornsberry, Ian A
186   Thrall, Mark A
187   Trancynger, Steve D
188   Travis, Craig E
189   Troxell, Jeffery L
190   Turner, David P
191   Turner, Timothy S
192   Underwood, Bernard A
193   Vanbibber, Gary W
194   Vandivort, Cody W
195   VanHorn, James M
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                                                                                  Wage            Per Capita
                  Employee           Address           City    State   Zip Code   Type     Wage    Benefits
196   Wade, Michael Prest
197   Warfield, Craig J
198   Warner, Raymond S
199   Watts {G&A}{, Randall
200   White, Mark P
201   Whitehead, Carson
202   Wiard, Christine A
203   Woods, Buster J
204   Yates, Jackie
205   Zimmerman, Christopher C
206   Zipperian, Eric S
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                                    Exhibit D
                                   Class Notice
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                             UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF WEST VIRGINIA


  In re:
                                                           Chapter 11
  BLACKJEWEL, L.L.C., et al.                               Case No. 19-bk-30289
                                        Debtors            (Jointly Administered)
  --------------------------------------------------------
  DAVID ENGELBRECHT, JOSIAH
  WILLIAMSON, GREGORY MEFFORD on behalf
  of themselves and all others similarly situated,         Adversary Proceeding
                                                           No. 3:19-ap-03002
                                        Plaintiffs,

  v.

  BLACKJEWEL, L.L.C.,


                                        Defendants.
  --------------------------------------------------------


  In re:
                                                           Chapter 11
  BLACKJEWEL, L.L.C., et al.                               Case No. 19-bk-30289
                                        Debtors            (Jointly Administered)
  --------------------------------------------------------
  SHAWN ABNER, JACOB HELTON, AND BILLY
  HATTON on behalf of themselves and all others
  similarly situated,                                      Adversary Proceeding
                                                           No. 3:19-ap-03003
                                        Plaintiffs,

  v.

  BLACKJEWEL, L.L.C., REVELATION
  ENERGY, LLC, LEXINGTON COAL CO., LLC,
  JEFF HOOPS, SR., JEFFERS A. HOOPS, II,

                                        Defendants.
  --------------------------------------------------------




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                             NOTICE TO CLASS OF
     (A) THE CERTIFICATION OF THE CLASS FOR SETTLEMENT PURPOSES ONLY;
     (B) THE PROPOSED SETTLEMENT OF THE WARN ACTION; (C) A DESCRIPTION
         OF THE PROPOSED SETTLEMENT; (D) THE DATE OF THE BANKRUPTCY
        COURT HEARING FOR FINAL APPROVAL OF THE SETTLEMENT; (E) THE
      RIGHT OF EACH MEMBER OF THE CLASS TO OBJECT TO THE SETTLEMENT,
       AND TO APPEAR AT THE HEARING AT WHICH THE BANKRUPTCY COURT
      WILL CONSIDER THE FINAL APPROVAL OF THE SETTLEMENT; AND (F) THE
               RIGHT OF CLASS MEMBERS TO OPT-OUT OF THE CLASS

 TO:        All persons who were employed by the Debtors, as defined below, at facilities located in
            the Central Appalachian Coal Basin in West Virginia, Virginia and Kentucky (the “Eastern
            Division”) and in the Powder River Basin in Wyoming (the “Western Division”) who
            ceased working for the Debtors on or after July 1, 2019 solely, and who do not file a timely
            request to opt-out (the “Class”).

                                                  BACKGROUND

            The Plaintiffs David Engelbrecht, Josiah Williamson, Gregory Mefford, Shawn Abner,
      Jacob Helton, and Billy Hatton (collectively, the “Plaintiffs” or “Class Representatives”) filed a
      complaint (the “WARN Action”) against Blackjewel, L.L.C. and Revelation Energy, LLC
      (together, the “Debtors” or “Debtor-Defendants”) and Lexington Coal Co., LLC, Jeff Hoops, Sr.
      and Jeffery A. Hoops, II (together, the “Non-Debtor Defendants,” and collectively with the
      Debtor-Defendants, the “Defendants”), for allegedly failing to provide sixty (60) days’ advance
      written notice as required by the Worker Adjustment and Retraining Act, 29 U.S.C. §§ 2101, et
      seq. (the “WARN Act”), before ordering alleged mass layoffs and/or plant closings on or about
      July 1, 2019 and thereafter, and for wage and hour and other employment and employee benefits-
      related claims. The Defendants and Plaintiffs are collectively referred to herein as the “Parties,”
      or, as to each, a “Party.”

            The claims set forth in the WARN Action are disputed by the Defendants. However,
      following a Court ordered-mediation and extended settlement negotiations, conducted in good
      faith and at arms’ length, the Parties reached agreement on a compromise that will resolve the
      WARN Action titled Settlement, Release and Allowance of Claim Agreement (the “Settlement”
      or “Settlement Agreement”)1 under which the benefits described below will be provided to the
      members of the Class. All Parties, including Class Counsel (as defined below), believe the
      Settlement is fair and reasonable and that continued litigation of the WARN Action would be
      complicated, protracted and expensive and would further deplete the Debtors’ resources.

                             THE PROPOSED SETTLEMENT AGREEMENT

           The terms of the Settlement are embodied in a settlement agreement entered into between
      the Parties. The following description of the proposed Settlement, which was preliminarily
      approved by the Court on January 21, 2021, is only a summary. In the event of any discrepancy
      between this summary and the terms of the Settlement Agreement, the terms of the Settlement
 1
     Unless otherwise defined herein, capitalized terms shall have the meanings given to them in the Settlement.

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  Agreement shall control. The Settlement Agreement shall become effective only if it is finally
  approved by the Bankruptcy Court. You may secure a copy of the complete Settlement
  Agreement from Class Counsel, Mary Olsen, at (251) 415-4978 or at the address shown for her
  below. The relevant terms of the Settlement may be summarized as follows:

         SUMMARY OF THE TERMS OF THE SETTLEMENT AGREEMENT

       The Parties have agreed to certification of a class (the “Class”), for settlement purposes
  only, comprised of all persons who were employed by the Debtors at facilities located in the
  Eastern Division and the Western Division and who ceased working for the Debtors on or after
  July 1, 2019 solely, and who do not file a timely request to opt out of the Class. The Class is
  represented by David Engelbrecht, Josiah Williamson, Gregory Mefford, Shawn Abner, Jacob
  Helton, and Billy Hatton (the “Class Representatives”) and Lankenau & Miller, LLP, The
  Gardner Firm, P.C., Petsonk PLLC, Mountain State Justice, Inc. and Pillersdorf Law Office are
  counsel to the Class (“Class Counsel”).

        Upon the Effective Date of the Settlement Agreement and in exchange for a full release of
  any claims under the WARN Act and other claims asserted in the WARN Action, as specifically
  described in the Settlement, (i) the Debtor-Defendants have agreed that the Class Members will
  be granted a) an allowed priority claim jointly and severally against the Debtors, pursuant to 11
  U.S.C. § 507(a)(4) and (a)(5) of the Bankruptcy Code, equal to sixty percent (60%) of sixty (60)
  days’ of wages and benefits for each Class Member, in the aggregate amount of $12,298,601.77,
  and an allowed priority wage claim under 11 U.S.C. § 507(a)(4) of the Bankruptcy Code in the
  aggregate amount of $2,711,494.11 for up to eight (8) days of pay for each Class member in
  resolution of their wage claims (together, the “Allowed Bankruptcy WARN and Wage Claims”),
  which amount shall be subject to a statutory cap in the amount of $13,650.00 per employee
  pursuant to 11 U.S.C. § 507(a)(4) of the Bankruptcy Code and (ii) the Non-Debtor Defendants
  have agreed to make a cash payment of $125,000, which will be distributed from a Qualified
  Settlement Fund established by the Class Counsel in accordance with the terms of the Settlement
  Agreement. Pursuant to the Settlement, if approved, the Allowed Bankruptcy WARN and Wage
  Claims is an allowed claim. As further explained below, it does not mean that such claim will
  be paid in full and payment may or may not occur depending on numerous factors and
  circumstances in the Bankruptcy Case.

        Any Class Members’ claims, or any claims filed by the United States Department of Labor
  on their behalf, for benefits pursuant to Section 502(a)(1)(B) of ERISA under either (1) the
  Blackjewel LLC 401(k) Plan or (2) the Self-Insured Health Plan that was in place until August
  31, 2019, are not included in the scope of the Released Claims, as defined in the Settlement, and
  shall not be deemed released, satisfied or expunged by operation of the Settlement Agreement.

       The distributions from the Debtors’ estates (the “Estates”) on account of the Allowed
  Bankruptcy WARN and Wage Claims (the “Estates Distribution Payments”) will be made by
  the Debtors in accordance with the priority scheme established by the Bankruptcy Code to a
  qualified settlement fund to be established by Class Counsel in conformity with Internal Revenue
  Code § 468B (the “Qualified Settlement Fund”) pursuant to written instructions to be provided
  by Class Counsel. The Class acknowledges that the Allowed Bankruptcy WARN and Wage

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  Claims is an allowed claim to be paid in accordance with the priority scheme established
  by the Bankruptcy Code and that such claim may or may not be paid depending on the
  distributions available to creditors of the Debtors’ Estates and may not be paid or funded
  in full.

        The Cash Payment shall be made via wire transfer by the Non-Debtor Defendants within
  five (5) business days of the Effective Date to the Qualified Settlement Fund pursuant to written
  instructions to be provided by Class Counsel. The name of the Qualified Settlement Fund shall
  be Engelbrecht v. Blackjewel QSF, and Class Counsel or the Administrator of the Qualified
  Settlement Fund shall provide the Debtors and the Non-Debtor Defendants with a W-9 form for
  the Qualified Settlement Fund to enable the Estates Distribution Payments and the Cash
  Payment, respectively to the Qualified Settlement Fund.

        Class Counsel shall act as the trustee of the Qualified Settlement Fund. Class Counsel shall
  cause each Class Member’s distribution to be paid from the Qualified Settlement Fund, and shall
  transmit distributions via first class U.S. Mail to the Class Members at their last known address
  as indicated on Amended Schedule 1 to the Settlement Agreement (or to such other address as
  the Class Members may indicate to Class Counsel or which Class Counsel may locate), in
  accordance with applicable law. By accepting his or her portion of the Qualified Settlement Fund,
  each Class Member agrees that he or she will be solely responsible for any and all tax liabilities
  stemming from the payment of his or her claim under the Settlement Agreement. The Parties
  agree that the Estates Distribution Payments shall be the only payments to be made by the Debtors
  under the Settlement Agreement and that the Cash Payment shall be the only payment to be made
  by the Non-Debtor Defendants under the Settlement Agreement. Under no circumstances shall
  the Estates or Non-Debtor Defendants be required under the Settlement to pay any sums or other
  consideration in addition to the Estates Distribution Payments or Cash Payment for any purpose
  whatsoever.

        In the event the amount of the Estates Distribution Payments is sufficient to make a full
  payment on the Allowed Bankruptcy WARN and Wage Claims, the total amount distributed to
  each Class Member on the Allowed Bankruptcy WARN and Wage Claims shall equal the
  amount listed on Amended Schedule 1 to the Settlement Agreement for those claims. In the
  event the amount of the Allowed Bankruptcy WARN and Wage Claims is greater than the
  Estates Distribution Payments, the Class Members’ distributions shall be reduced on a pro rata
  basis so all Class Members receive an equal percentage of the Estates Distribution Payments.
  For the avoidance of doubt, the Class Counsel’s Fees, Class Counsel’s Expenses and the Class
  Representative Service Payments are payable solely out of the Qualified Settlement Fund,
  consistent with the terms of the Settlement Agreement, and such fees, expenses and payments
  are included in the amount of the Allowed Bankruptcy WARN and Wage Claims as set forth in
  Amended Schedule 1 to the Settlement Agreement and not in addition to such amount.

        The Class Representatives shall receive an aggregate one-time payment from the first
  distribution from the Qualified Settlement Fund of $30,000, to be allocated as follows: $5,000
  each to David Engelbrecht, Josiah Williamson, Gregory Mefford, Shawn Abner, Jacob Helton,
  and Billy Hatton for their service in this matter (together, the “Class Representative Service
  Payments”). Class Counsel shall distribute this payment to the Class Representatives, in addition


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     to each Class Representative’s individualized disbursements on account of the Settlement
     payments contemplated therein.2 Class Counsel’s Fees will not be deducted from the Class
     Representative Service Payments.

           Class Counsel is entitled to attorneys’ fees (“Class Counsel’s Fees”) in the amount of one-
     third (1/3) of each distribution on the Estates Distribution Payments and Cash Payment, net of
     the one-time $30,000 aggregate payment for Class Representative Service Payments. In
     addition, Class Counsel is entitled to its litigation expenses (including costs associated with the
     production and mailing of the Class Notice and the administration of the Settlement, estimated
     to be approximately $75,000) (“Class Counsel’s Expenses”). Class Counsel’s Fees and Class
     Counsel’s Expenses, as well as the Representative Service Payments, shall be paid exclusively
     by the Qualified Settlement Fund. Class Counsel’s Fees and Class Counsel’s Expenses shall be
     payment in full for Class Counsel’s work and expenses in connection with this matter.

     CLASS COUNSEL’S RECOMMENDATION AND YOUR PROJECTED RECOVERY

           Class Counsel recommends the Settlement, believing that it is fair, reasonable and adequate
     to the Class.

           The projected net dollar amount which you would receive under the Settlement (the
     “Projected Payment”), assuming that the Allowed Bankruptcy WARN and Wage Claims are
     paid in full, which may or may not occur depending on numerous factors and circumstances in
     the Bankruptcy Case, is shown on Exhibit A, hereto.

          RELEASE OF CLAIMS AND EFFECT OF APPROVAL OF SETTLEMENT
                                AGREEMENT

                  Upon the Effective Date, all Released Claims against the Released Parties,
     including any and all individual claims asserted by Class Members against the Debtors
     related to the claims set forth in the WARN Action shall be deemed satisfied and expunged,
     without need for further court order, and the Class Members agree that any Released
     Claims that have been scheduled on behalf of, or filed by, any Class Members in the
     Bankruptcy Case are disallowed in their entirety and shall be deemed expunged from the
     applicable schedule(s) or claims register(s) without need for further court order. Payment
     on account of such claims shall be limited solely to the Estates Distribution Payments and Cash
     Payment. Notwithstanding the foregoing, any Class Members’ claims, or any claims filed by
     the United States Department of Labor on their behalf, for benefits pursuant to Section
     502(a)(1)(B) of ERISA under either (1) the Blackjewel LLC 401(k) Plan or (2) the Self-Insured
     Health Plan that was in place until August 31, 2019, are not included in the scope of the Released
     Claims, as defined in the Settlement, and shall not be deemed released, satisfied or expunged by
     operation of the Settlement Agreement.

          Proofs of claim filed by individuals who choose to timely opt-out of the WARN Class shall
     be unaffected by the release contained in the Settlement.
 2
  For avoidance of doubt, the Class Representative Service Payments shall have no affect on the priority amounts
 available to the Class Representatives for their individualized Allowed Bankruptcy WARN and Wage Claims.

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                             HOW TO OBJECT OR OPT-OUT

       If you are satisfied with the proposed Settlement and your projected Payment Amount
  (assuming full funding of the Allowed Bankruptcy WARN and Wage Claims which may or may
  not occur) as shown on Exhibit A, you need to do nothing and you will receive your share of
  any distributions made from the Qualified Settlement Fund.

        If, on the other hand, you believe that the proposed Settlement is unfair or inadequate
  or believe that it should not be approved, you may object by mailing, via first class U.S.
  Mail, a written statement bearing the caption of this action (shown on the first page of this
  Notice) with the basis for your objection, to the Clerk of the United States Bankruptcy
  Court for the Southern District of West Virginia, 300 Virginia Street East, Room 2400,
  Charleston, West Virginia 25301, and by sending copies of that statement, also by first
  class U.S. Mail, to: 1) Mary E. Olsen, The Gardner Firm, P.C., 182 St. Francis Street, Suite
  103, Mobile, Alabama 36602; and 2) Nava Hazan, Squire Patton Boggs (US) LLP, 1211
  Avenue of the Americas, Floor 26th, New York, New York 10036. Objections must be
  mailed so as to be received no later than February 26, 2021, and must include your name,
  address, and telephone number, together with a statement of whether you wish to be heard
  personally or by counsel at the final hearing at which the Parties will be requesting binding
  Bankruptcy Court approval of the Settlement.

       You may also appear in person or by counsel at the final hearing described below.

       If you choose not to be bound by this Settlement and do not wish to share in any of
  the benefits described herein, you may opt-out of the Class by filling out the attached “Opt-
  Out Form,” and signing and mailing that form by first class U.S. Mail, to: Class Counsel,
  Attn: Mary E. Olsen, Esq., The Gardner Firm, P.C., 182 St. Francis Street, Suite 103,
  Mobile, Alabama 36602. The “Opt-Out Form” form must be received no later than
  February 26, 2021. All requests for exclusion received after that date will not be effective,
  and any person who sends a late request will be a member of the Class.

                     FINAL HEARING TO APPROVE SETTLEMENT

       The hearing for final consideration and approval of the Settlement is scheduled to take
  place on March 3, 2021, at 9:30 a.m. (EDT) at the Robert C. Byrd U.S. Courthouse, 300 Virginia
  Street East, Charleston, West Virginia 25301, before the Honorable Benjamin A. Kahn. That
  hearing may be adjourned without further notice. If you wish to determine if the hearing is
  adjourned, you may contact Mary E. Olsen at the address shown above.

                                  OTHER INFORMATION

       All requests for more information, including a copy of the Settlement should be directed to
  Ms. Olsen. Her contact information is as follows: Mary E. Olsen, Esq., The Gardner Firm, P.C.,
  182 St. Francis Street, Suite 103 Mobile, AL 36602; email: molsen@thegardnerfirm.com;
  phone: (251) 415-4978.

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        While the Bankruptcy Court has approved the sending of this Notice, it has not taken any
  position as to the respective claims or defenses asserted by the Parties in the WARN Action.

 PLEASE DO NOT WRITE TO OR CALL THE COURT CONCERNING THIS MATTER




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    David Engelbrecht, Josiah Williamson and Gregory Mefford, on their own behalf and on
  behalf of all other persons similarly situated v. Blackjewel, LLC; Adversary Proceeding No.
  19-ap-3002 and Shawn Abner, Jacob Helton and Billy Hatton individually and on behalf of
   others similarly situated v. Blackjewel, LLC, Revelation Energy, LLC, Lexington Coal Co.,
      LLC, Jeff Hoops, Sr., Jeffery A. Hoops, II, Adversary Proceeding No. 19-ap-03003



                                       OPT-OUT FORM

        I, the undersigned, have read the foregoing Settlement Class Notice and understand its
 contents.

        I DO NOT want to participate in the above WARN Action and DO NOT wish to receive
 any benefits from or be bound by the Settlement described herein.




 SIGNATURE                                           ADDRESS


 NAME (printed or typed)                             CITY, STATE and ZIP CODE


 DATE                                                TELEPHONE


 EMAIL ADDRESS


 If you do NOT wish to participate, send this completed form to:

 THE GARDNER FIRM, P.C.
 182 St. Francis Street, Suite 103
 Mobile, Alabama 36602
 Attention: Mary E. Olsen, Esq.




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                                       EXHIBIT A




             «AddressBlock»




    Projected Payment After the Deduction of Service
                                                         $«____________» [priority]
   Payments, Class Counsel’s Fees, and Class Counsel’s
  Expenses, and Assuming That the Allowed Bankruptcy
                                                         $«____________» [general
    WARN and Wage Claims Are Fully Funded, Which
                                                                unsecured]
     May or May Not Occur Depending on Numerous
    Factors and Circumstances in the Bankruptcy Case




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                                    Exhibit E
                                    Dismissal
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                        UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF WEST VIRGINIA


  In re:
                                                             Chapter 11
  BLACKJEWEL, L.L.C., et al.                                 Case No. 19-bk-30289
                                        Debtors              (Jointly Administered)
  --------------------------------------------------------
  DAVID ENGELBRECHT, JOSIAH
  WILLIAMSON, GREGORY MEFFORD on behalf
  of themselves and all others similarly situated,         Adversary Proceeding
                                                           No. 3:19-ap-03002
                                        Plaintiffs,

  v.

  BLACKJEWEL, L.L.C.,


                                        Defendants.
  --------------------------------------------------------


  In re:
                                                             Chapter 11
  BLACKJEWEL, L.L.C., et al.                                 Case No. 19-bk-30289
                                        Debtors              (Jointly Administered)
  --------------------------------------------------------
  SHAWN ABNER, JACOB HELTON, AND BILLY
  HATTON on behalf of themselves and all others
  similarly situated,                                      Adversary Proceeding
                                                           No. 3:19-ap-03003
                                        Plaintiffs,


                                                         1
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      v.

      BLACKJEWEL, L.L.C., REVELATION
      ENERGY, LLC, LEXINGTON COAL CO., LLC,
      JEFF HOOPS, SR., JEFFERS A. HOOPS, II,

                                            Defendants.

     --------------------------------------------------------

            JOINT STIPULATION TO VOLUNTARILY DISMISS, WITH PREJUDICE

            Pursuant to F.R.C.P. 41(a)(1)(A)(ii), Plaintiffs David Engelbrecht, Josiah Williamson,

 Gregory Mefford, Shawn Abner, Jacob Helton, and Billy Hatton, on behalf of themselves and

 similarly situated class members (together, the “Plaintiffs”), together with Blackjewel, L.L.C. and

 Revelation Energy, LLC (together, the “Debtors” or “Debtor-Defendants”) and Lexington Coal

 Co., LLC, Jeff Hoops, Sr., and Jeffery A. Hoops, II (the “Non-Debtor Defendants” and,

 collectively with the Debtor-Defendants, the “Defendants” and, together with the Plaintiffs, the

 “Parties”) by and through their respective counsel, hereby jointly stipulate to the dismissal of the

 complaint and all claims against the Defendants in the above styled case, with prejudice. The

 dismissal of this case and the underlying claims is made pursuant to the Settlement, Release and

 Allowance of Claim Agreement, dated as of January 11, 2021 (the “Settlement Agreement” or

 “Settlement”)1 between the Parties, which was approved by this Court by the Final Settlement

 Order dated [____] 2021, and shall not abate or limit the effectiveness of the Settlement Agreement

 and the Final Settlement Order, including the releases set forth therein.

            Each Party is to bear their own costs and fees.

 Dated: ________________, 2021
                                                         Respectfully submitted,


                                                         THE GARDNER FIRM, P.C.
                                                         /s/ DRAFT


 1   All terms not otherwise defined herein shall have the meaning ascribed to them in the Settlement.

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                                     Counsel for Plaintiffs and the Settlement Class

                                     AND

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                                        3
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                                     Co-Counsel to the Debtors and Debtors-in-
                                     Possession

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                                     Counsel for the Non-Debtor Defendants




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